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                EXHIBIT 7
                                        to

         Defendants’ Motions in Limine
             regarding Damages




                    Baxter Int’l, Inc. v. CareFusion Corp. et al.
                        N.D. Ill. Case No. 1:15-cv-09986
Case: 1:15-cv-09986 Document #: 551-7 Filed: 09/07/23 Page 2 of 76 PageID #:24081
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                                                 UNITED STATES
                                     SECURITIES AND EXCHANGE COMMISSION
                                            Washington, DC 20549
                                                  FORM 10-Q


                  (MARK ONE)
                  /X/ Quarterly Report Pursuant to Section 13 or 15(d) of the
                       Securities Exchange Act of 1934

                  For the quarterly period ended JUNE 30, 1998 or

                  / /    Transition Report Pursuant to Section 13 or 15(d) of
                         the Securities Exchange Act of 1934

                  For the transition period from                               to


   Commission File Number:                        33-26398




                                             ALARIS MEDICAL, INC.

                (Exact name of registrant as specified in its charter)

               Delaware                                                          XX-XXXXXXX

     (State or other jurisdiction of                            (I.R.S. Employer Identification No.)
       incorporation or organization)


                           10221 Wateridge Circle, San Diego, CA                    92121

                 (Address of principal executive offices)                       (Zip Code)

                                                 (619) 458-7000

                 (Registrant's telephone number, including area code)




                   (Former name, former address and former fiscal year,
                             if changed since last report)




  Indicate by check mark whether the registrant: (1) has filed all reports
  required to be filed by Section 13 or 15(d) of the Securities Exchange Act of
  1934 during the preceding 12 months (or for such shorter period that the
  registrant was required to file such reports), and (2) has been subject to such
  filing requirements for the past 90 days.    Yes    /X/        No     / /

  On August 6, 1998, 59,174,039 shares of Registrant's Common Stock were
  outstanding.


                                                  Page 1 of 27

  <PAGE>

                                  ALARIS MEDICAL, INC. AND SUBSIDIARIES


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                                                  FORM 10 - Q
                                               PART 1 - ITEM 1
                                            FINANCIAL INFORMATION

                         ALARIS MEDICAL, INC. AND SUBSIDIARIES
                         CONDENSED CONSOLIDATED BALANCE SHEET
              (DOLLAR AND SHARE AMOUNTS IN THOUSANDS, EXCEPT PER SHARE DATA)


                                                      ASSETS

   <TABLE>
   <CAPTION>
                                                                                 DECEMBER 31,         JUNE 30,
                                                                                    1997                1998

                                                                                                    (UNAUDITED)
   <S>                                                                           <C>                <C>
   Current assets:
     Cash                                                                          $    6,984       $     2,285
     Receivables, net                                                                  83,406            82,274
     Inventories                                                                       61,666            65,619
 https://www.sec.gov/Archiv este dga r/da ta/817161/0001047469-98-031228.txt                                                       3/76



                                                                                                                           CF056967_0003
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  7/23/2020                                      https://www.sec.gov/Archivesledgaridata/817161/00010474B9-98-031228.txt
       Prepaid expenses and other current assets                                     23,260              22,352
                   Total current assets                                            175,316              172,530

    Net investment in sales-type leases, less current
      portion                                                                       30,404               23,473
    Property, plant and equipment, net                                              55,365               56,693
    Other non-current assets                                                        16,279               17,295
    Intangible assets, net                                                         287,933              280,272

                                                                                 $565,297              $550,263



                                    LIABILITIES AND STOCKHOLDERS' EQUITY

    Current liabilities:
     Current portion of long-term debt                                           $ 14,559          $    15,068
     Accounts payable                                                               24,042              23,669
     Accrued expenses and other current liabilities                                 52,668              56,213

                  Total current liabilities                                         91,269              94,950
   Long-term debt                                                                 431,571              417,277
   Other non-current liabilities                                                   10,508                8,034

          Total non-current liabilities                                           442,079              425,311
   Contingent liabilities           and commitments (Note 7)

   Stockholders' equity:
     Common stock, authorized 75,000 shares at $.01 par
       value; issued and outstanding - 59,102 shares and
       59,160 shares at December 31, 1997 and June 30,
       1998, respectively                                                            591                  591
     Capital in excess of par value                                              148,341              148,523
     Accumulated deficit                                                        (111,330)            (113,091)
     Treasury stock                                                               (2,027)              (2,027)
     Equity adjustment for foreign currency translation                           (3,626)              (3,994)

                 Total stockholders' equity                                        31,949               30,002

                                                                                $565,297          $ 550,263



   </TABLE>

                      The accompanying notes are an integral part of these
                          condensed consolidated financial statements


                                                     -3-
   <PAGE>

                            ALARIS MEDICAL, INC. AND SUBSIDIARIES
                 CONDENSED CONSOLIDATED STATEMENT OF OPERATIONS (UNAUDITED)
               (DOLLAR AND SHARE AMOUNTS IN THOUSANDS, EXCEPT PER SHARE DATA)


  <TABLE>
  <CAPTION>
                                                                             THREE MONTHS ENDED JUNE 30,                   SIX MONTHS ENDED
  JUNE 30,



https://www.sec.gov/Archivestedgar/da ta/817161/0001047469-98-031228.txt                                                                      4/76


                                                                                                                               CF056967_0004
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 7/23/2020                                       https://www.sec.gov/Archivesledgaridata/817161/0001047469-98-031228.bd
                                                                                    1997                   1998               1997
   1998


   <S>                                                                         <C>                  <C>                   <C>           <C>
   Sales                                                                        $ 88,072              $ 90,683            $170,067
   $177,654
   Cost of sales                                                                    47,361                 46,499             94,331
   91,353


   Gross margin                                                                     40,711                 44,184             75,736
   86,301


   Selling and marketing expenses                                                   16,414                 17,101             31,909
   34,230
   General and administrative expenses                                               9,681                 9,639              18,935
   19,541
   Research and development expenses                                                 4,123                  4,660              8,191
   9,000
   Purchased in-process research and development                                                            5,534
   5,534
   Integration and other non-recurring charges                                      12,247                                    15,899



        Total operating expenses                                                    42,465                 36,934             74,934
   68,305


    Lease interest income                                                            1,029                  1,060              2,191
    2,222


         (Loss) income from operations                                               (725)                  8,310              2,993
    20,218


   Other income (expenses):
        Interest income                                                                227                     85                385
   147
        Interest expense                                                         (11,002)               (10,639)           (21,695)
   (21,795)
        Other, net                                                                    (302)                  (324)              (400)
   (681)


   Total other expense                                                           (11,077)               (10,878)           (21,710)
   (22,329)


   Loss before income taxes                                                      (11,802)                  (2,568)         (18,717)
   (2,111)
   Benefit from income taxes                                                        (4,800)                  (600)            (7,400)
   (350)


   Net loss                                                                     $ (7,002)              $ (1,968)          $(11,317)
   (1,761)




             Net loss per common share assuming
               no dilution                                                      $     (.12)            $     (.03)        $     (.19)   $
  https://www.sec.gov/Archiv esledgar/da ta/817161/0001047469-98-031228.txt                                                                 5/76



                                                                                                                                 CF056967_0005
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 7/23/2020                                      https://www.sec.gov/Archivesie dga ridat a/817161/0001047469-98-031228.bd
    ( . 03 )




               Net loss per common share assuming
                 dilution                                                       $     (. 12)            $     (.03)         $     (.19)   $
   (.03)




   Weighted average common shares outstanding
    assuming no dilution                                                            58,635                  58,680              58,788
   58,669




   Weighted average common shares outstanding
    assuming dilution                                                               58,635                  58,680              58,788
   58,669




   </TABLE>

                       The accompanying notes are an integral part of these
                           condensed consolidated financial statements

   <PAGE>

                                                    -4-



                                ALARIS MEDICAL, INC. AND SUBSIDIARIES
                       CONDENSED CONSOLIDATED STATEMENT OF CASH FLOWS (UNAUDITED)
                                         (DOLLARS IN THOUSANDS)



  <TABLE>
  <CAPTION>
                                                                            SIX MONTHS ENDED JUNE 30,

                                                                                    1997              1998

  <S>                                                                       <C>                 <C>
  Net cash (used) provided by operating activities                          $(2,776)             $ 25,715

  Cash flows from investing activities:
       Net decrease in restricted cash and
          investments                                                         2,332
       Return of capital by investee                                            148
       Net capital expenditures                                              (9,717)               (10,405)
       Acquisition and license of technology                                                        (6,547)

  Net cash used in investing activities                                      (7,237)              (16,952)

  Cash flows from financing activities:
       Principal payments on long-term debt                                  (3,622)                (8,579)
       Proceeds under revolving credit facility                              10,300                 27,300
       Repayments under revolving credit facility                            (3,000)              (32,250)
       Debt issue costs                                                        (429)
https://www.sec.gov/Archivesfedgar/data/817161/0001047469-98-031228.1xt                                                                   6/76



                                                                                                                                 CF056967_0006
Case: 1:15-cv-09986 Document #: 551-7 Filed: 09/07/23 Page 7 of 76 PageID #:24086
 7/23/2020                                      https://www.sec.gov/Archives/edgar/data/817161/0001047469-98-031228.bd

          Purchase of treasury stock                                              (1,293)
          Proceeds from exercise of stock options                                   161                   107


    Net cash provided by (used in) financing
      activities                                                                  2,117                (13,422)


    Effect of exchange rate changes on cash                                         (176)                  (40)


    Net decrease in cash                                                      (8,072)                   (4,699)
    Cash at beginning of period                                               12,084                     6,984


    Cash at end of period                                                    $ 4,012               $     2,285



    </TABLE>

                       The accompanying notes are an integral part of these
                           condensed consolidated financial statements


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    <PAGE>

                               ALARIS MEDICAL, INC. AND SUBSIDIARIES
                          CONDENSED CONSOLIDATED STATEMENT OF CHANGES IN
                                 STOCKHOLDERS' EQUITY (UNAUDITED)
                              (DOLLAR AND SHARE AMOUNTS IN THOUSANDS)



    <TABLE>
    <CAPTION>

    EQUITY

    ADJUSTMENT
                                                    COMMON STOCK            CAPITAL IN                            TREASURY STOCK     FOR
    FOREIGN
                                                                             EXCESS OF      ACCUMULATED
    CURRENCY
                                                   SHARES      AMOUNT       PAR VALUE         DEFICIT            SHARES    AMOUNT
    TRANSLATION        TOTAL


    <S>                                            <C>         <C>          <C>             <C>                  <C>       <C>       <C>
    <C>
    Balance at December 31, 1997....               59,102        $591        $148,341       $(111,330)            453     $(2,027)
    $(3,626)        $31,949


    Exercise of stock options                            58                          107
    107

    Equity adjustment for foreign
      currency translation
    (368)            (368)


    Other equity                                                                      75
    75

    Net loss for the period                                                                       (1,761)
    (1,761)



    Balance at June 30, 1998                       59,160        $591        $148,523       $(113,091)            453     $(2,027)
    $(3,994)        $30,002

  https://www.sec.gov/Archivestedgar/data/817161/0001047469-98-031228.txt                                                                  7/76


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  7/23/2020                                      https://waw.sec.gov/Archives/edgaridata/817161/0001047469-98-031228.txt




    </TABLE>

                        The accompanying notes are an integral part of these
                            condensed consolidated financial statements


                                                       -6-

    <PAGE>

                      ALARIS MEDICAL, INC. AND SUBSIDIARIES
          NOTES TO CONDENSED CONSOLIDATED FINANCIAL STATEMENTS (UNAUDITED)
          (DOLLARS AND SHARE AMOUNTS IN THOUSANDS, EXCEPT PER SHARE DATA)


   NOTE 1 -- BUSINESS AND STATEMENT OF ACCOUNTING POLICY

    THE COMPANY:
   ALARIS Medical, Inc. ("ALARIS Medical"), formerly Advanced Medical, Inc.,
   operating through its consolidated subsidiaries, designs, manufactures,
   distributes and services intravenous infusion therapy and vital signs
   measurement instruments and related disposables and accessories. On November
   26, 1996, IMED Corporation ("IMED"), then a wholly-owned subsidiary of
   Advanced Medical, Inc., ("Advanced Medical") acquired all of the outstanding
   stock of IVAC Holdings, Inc. ("IVAC Holdings") and its subsidiaries including
   IVAC Medical Systems, Inc. (Note 2). In connection with the acquisition,
   IMED and IVAC Medical Systems, Inc. were merged into IVAC Holdings (the
   "Merger"), which then changed its name to ALARIS Medical Systems, Inc.
   ("ALARIS Medical Systems"). ALARIS Medical and its subsidiaries are
   collectively referred to as the "Company." The acquisition was accounted for
   as a purchase.

  STATEMENT OF ACCOUNTING POLICY:
  The accompanying financial statements have been prepared by the Company
  without audit pursuant to the rules and regulations of the Securities and
  Exchange Commission. Certain information and footnote disclosures normally
  included in financial statements prepared in accordance with generally
  accepted accounting principles have been condensed or omitted pursuant to
  those rules and regulations, although the Company believes that the
  disclosures herein are adequate to make the information not misleading.

  In the opinion of the Company, the accompanying financial statements contain
  all adjustments, consisting of normal recurring adjustments, necessary for a
  fair statement of the Company's financial position as of June 30, 1998, and
  the results of its operations and its cash flows for the six months ended
  June 30, 1997 and 1998.

  USE OF ESTIMATES:
  The preparation of financial statements in conformity with generally accepted
  accounting principles requires management to make estimates and assumptions
  that affect the reported amounts of assets and liabilities at the date of the
  financial statements and the reported amounts of revenues and expenses during
  the period. Actual results could differ from those estimates.

  NET INCOME (LOSS) PER COMMON SHARE:
  The Company's net income (loss) per common share assuming no dilution is
  computed using the weighted average number of common shares outstanding. The
  Company's net income (loss) per common share assuming dilution is computed
  using the weighted average number of common shares outstanding plus dilutive
  potential common shares using the treasury stock method at the average market
  price during the reporting period (Note 6).


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                                                          -7 -
    <PAGE>

   NOTE 2 -- THE MERGER

   On November 26, 1996, IMED acquired all of the outstanding stock of IVAC
   Holdings and its subsidiaries including IVAC Medical Systems, Inc., in
   exchange for $390,000 plus acquired cash of $7,225 less total debt assumed
   aggregating $173,314 plus related expenses. The Merger was financed with
   $204,200 in bank debt and $200,000 in senior subordinated notes. Subsequent
   to the acquisition, IVAC Medical Systems, Inc. and IMED were merged into IVAC
   Holdings, which subsequently changed its name to ALARIS Medical Systems, Inc.

   In connection with the Merger, ALARIS Medical contributed $19,588 to IMED
   (the "Capital Contribution"). The Capital Contribution was funded in part
   through the sale to Decisions Incorporated ("Decisions"), a corporation
   wholly owned by ALARIS Medical's principal stockholder, of 13,333 shares of
   its common stock for aggregate proceeds of $40,000 (the "Decisions
   Contribution"). The balance of the Capital Contribution was funded with
   existing cash balances of ALARIS Medical. The portion of the net proceeds of
   the Decisions Contribution not applied to make the Capital Contribution was
   used by ALARIS Medical to redeem $21,924 principal amount of its 15%
   subordinated debentures due 1999 and fund the redemption of ALARIS Medical's
   outstanding preferred stock. In connection with the Decisions Contribution,
   Decisions exchanged an aggregate of $37,500 in principal amount of
   convertible promissory notes previously issued by ALARIS Medical for 29,416
   shares of ALARIS Medical common stock, including 3,333 shares issued as an
   inducement to convert.

    The acquisition was accounted for as a purchase, whereby the purchase price,
    including related expenses, was allocated to identified assets, including
    intangible assets, purchased research and development and liabilities based
    upon their respective fair values. The excess of the purchase price over the
    value of identified assets and liabilities, in the amount of $132,482, was
    recorded as goodwill and is being amortized over its estimated life of thirty
    years.

    NOTE 3 -- ACQUISITIONS AND LICENSES

    During the second quarter of 1998, the Company acquired the net assets of
    Patient Solutions, Inc. ("PSI") for $5,250. PSI was a wholly-owned subsidiary
    of Invacare Corporation and was focused on the development of an ambulatory
    pump for use in the alternate site market. The transaction was accounted for
    as a purchase with the net assets acquired recorded at their estimated fair
    values. The rights to the pump under development were valued at $4,421 and
    were recorded as a non-recurring charge included in purchased in-process
    research and development. The underlying technology had not reached
    technological feasibility and no alternative use has been identified. The
    Company estimates completing such development by the fourth quarter of 1998.

    Also during the second quarter, the Company licensed technology from Caesarea
    Medical Electronics Limited ("Caesarea") for a pole mounted volumetric
    infusion pump being designed for developing international markets. At the
    time of license, the development of the applications and functionality
    required by the Company had not reached technological feasibility and no
    alternative uses were identified. As a result, the initial license payment
    and related expenses of approximately $1,200 were recorded as purchased
    in-process research and development during the second quarter. Under the
    terms of the license agreement, the Company is obligated to pay additional
    consideration to Caesarea upon timely completion of certain development
    milestones and delivery of specified numbers of assembly kits. The milestones
    require completion by various dates through the first half of 1999 with the
    first significant milestones expected to be met during the third quarter of
    1998. If all such milestones are reached, the additional consideration will
    total approximately $4,000.


  https://www.sec.gov/Archivestedgar/data/817161/0001047469-98-031228.1341                                                        9/76


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    <PAGE>

    On June 24, 1998, the Company entered into an agreement to acquire
    Instromedix, Inc. ("Instromedix") for approximately $51,000 in cash,
    assumption of approximately $5,100 of debt and the payment of approximately
    $1,000 of seller transaction expenses. This acquisition was completed on
    July 17, 1998 and was financed with $30,000 of ALARIS Medical Systems bank
    term debt and proceeds from an ALARIS Medical debt offering. On July 28,
    1998, ALARIS Medical completed the sale of $109,892 of 11-1/8% Senior
    Discount Notes (the "Senior Discount Notes"), due 2008, receiving net
    proceeds of $106,321. Interest accruing on these notes is added to the
    outstanding principal balance through July 31, 2003. Interest accruing
    subsequent to July 31, 2003 is payable in cash semi-annually in arrears on
    February 1 and August 1.

    NOTE 4 -- INVENTORIES

   Inventories comprise the following:

   <TABLE>
   <CAPTION>
                                                                      DECEMBER 31,           JUNE 30,
                                                                         1997                  1998

   <S>                                                                <C>                 <C>
          Raw materials                                                 $ 24,144            $26,570
          Work-in-process                                                  8,363               7,843
          Finished goods                                                  29,159              31,206

                                                                          $ 61,666           $65,619



   NOTE 5 -- COMPREHENSIVE INCOME (LOSS)

  Effective January 1, 1998, the Company adopted Statement of Financial
  Accounting Standards No. 130, "Reporting Comprehensive Income." This
  Statement requires that all items recognized under accounting standards as
  components of comprehensive earnings be reported in an annual financial
  statement that is displayed with the same prominence as other annual
  financial statements. This Statement also requires that an entity classify
  items of other comprehensive earnings by their nature in an annual financial
  statement. For example, other comprehensive earnings may include foreign
  currency translation adjustments, minimum pension liability adjustments, and
  unrealized gains and losses on marketable securities classified as
  available-for-sale. Annual financial statements for prior periods will be
  reclassified, as required. ALARIS Medical's total comprehensive losses were
  as follows:

                                                                     THREE MONTHS ENDED JUNE 30,

                                                                            1997                  1998

  <5>                                                                <C>                    <C>
  Net loss                                                                 $ (7,002)          $(1,968)

  Other comprehensive loss:
       Foreign currency translation adjustments.                            (1,332)                (309)

  Comprehensive loss                                                      $ (8,334)           $(2,277)


  </TABLE>

  <TABLE>
https://www.sec.gov/Archivesfedgar/data/817161/0001047469-98-031228.txt                                                             10/76



                                                                                                                             CF056967_0010
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    <CAPTION>
                                                                       SIX MONTHS ENDED JUNE 30,

                                                                            1997                 1998

    <5>                                                               <C>                  <C>
    Net loss                                                                $(11,317)        $(1,761)

    Other comprehensive loss:
         Foreign currency translation adjustments.                           (2,534)              (368)

    Comprehensive loss                                                      $(13,851)         $(2,129)


    </TABLE>

                                                        -9-
    <PAGE>

    NOTE 6 -- EARNINGS PER SHARE

   In February, 1997 the Financial Accounting Standards Board issued the
   Statement of Financial Accounting Standards No. 128, "Earnings per Share"
   ("SFAS 128") which specifies the computation, presentation, and disclosure
   requirements for earnings per share. The earnings per share information
   contained in these financial statements, including those presented for prior
   periods, conform with SFAS 128.

    <TABLE>
    <CAPTION>
                                                                                              THREE MONTHS ENDED JUNE 30,


                                                                                          1997                               1998


                                                                                 BASIC          DILUTED             BASIC       DILUTED


    <S>                                                                      <C>             <C>               <C>             <C>
    Net loss as reported                                                     $ (7,002)        $(7,002)            $(1,968)
    $(1,968)




    Weighted average common shares outstanding                                   58,635         58,635              58,680           58,680




    Net loss per common share                                                $    (.12)       $ (.12)              $ (.03)           $
    (.03)




    </TABLE>

    <TABLE>
    <CAPTION>
                                                                                                SIX MONTHS ENDED JUNE 30,


                                                                                          1997                               1998


  https://www.sec.gov/Archivesfedgar/data/817161/0001047469-98-031228.txt                                                                11/76



                                                                                                                             CF056967_0011
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                                                                                 BASIC              DILUTED            BASIC       DILUTED


    <S>                                                                      <C>               <C>               <C>             <C>
    Net loss as reported                                                     $(11,317)          $(11,317)           $(1,761)
    $(1,761)




    Weighted average common shares outstanding                                   58,788             58,788            58,669           58,669




   Net loss per common share                                                 $    (.19)         $     (.19)          $ (.03)
   (.03)




    </TABLE>

   Potential common shares are not included in the diluted computation when the
   Company reports a net loss, as they are antidilutive. As a result, net loss
   per common share assuming no dilution and dilution are the same when the
   Company experiences a net loss.

   The Company's 7.25% Debentures were not included in the calculation of
   diluted earnings per share in the three and six months ended June 30, 1997
   and 1998 as they are antidilutive. For both three and six month periods
   ended June 30, the $16,152 of convertible debentures, if converted at an
   exercise price of $18.14 per share, would result in an increase of 890 common
   shares and an increase of $176 and $352 net of taxes, to net income, due to
   the reduction in interest expense. Options outstanding at June 30, 1997 and
   1998 were excluded due to their antidilutive nature. Had such options been
   included, the weighted average shares would have increased by 886 and 1,204
   for the three and six month periods ended June 30, 1997, respectively, and
   increased by 1,807 and 1,687 for the three and six months ended June 30,
   1998, respectively.

   NOTE 7 -- CONTINGENCIES AND LITIGATION

  GOVERNMENT REGULATION AND FIELD CORRECTIONS

  The United States Food and Drug Administration (the "FDA"), pursuant to the
  Federal Food, Drug, and Cosmetic Act (the "FDC Act"), regulates the
  introduction of medical devices into commerce, as well as testing
  manufacturing procedures, labeling, adverse event reporting and
  record-keeping with respect to such

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  <PAGE>

  products. The process of obtaining market clearances from the FDA for new
  products can be time-consuming and expensive and there can be no assurance
  that such clearances will be granted or that FDA review will not involve
  delays adversely affecting the marketing and sale of products. Enforcement
  of the FDC Act depends heavily on administrative interpretation and there can
  be no assurance that interpretations made by the FDA or other regulatory
  bodies will not have a material adverse effect on the business, financial
  condition, results of operations or cash flows. The FDA and state agencies
  routinely inspect the Company to determine whether the Company is in
  compliance with various requirements relating to manufacturing practices,
  testing, quality control, complaint handling, medical device reporting and
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    product labeling. Such inspections can result in such agencies requiring the
    Company to take certain corrective actions for non-complying conditions
    observed during the inspections. A determination that the Company is in
    violation of the FDC Act could lead to the imposition of civil sanctions,
    including fines, recall orders, orders for repair or refund or product
    seizures and criminal sanctions. Since 1994, the Company has on twelve
    occasions removed products from the market that were found not to meet
    acceptable standards. None of such recalls materially interfered with the
    Company's operations and all such product lines, except the Model 599 Series
    infusion pump, were subsequently returned to the market. The Company
    continues, however, to sell administration sets and replacement parts for the
    Model 599 Series infusion pump. In addition, the Company has initiated a
    voluntary safety alert of its Model 597/598 and Model 599 Series infusion
    pumps. Moreover, the Company has initiated a voluntary field correction of
    approximately 50,000 of its Gemini PC-1 and PC-2 infusion pumps because
    failure of specific electrical components on the power regulator printed
    circuit board may result in improper regulation of the battery charge
    voltage, which may cause the battery to overheat. The Company recorded a
    charge of $2,500 to cost of sales for the quarter ended March 31, 1997 on
    account of this voluntary field correction. The Company initiated a
    voluntary field correction of its Signature Edition infusion pumps to correct
    a malfunction of an electronic line filter component (which malfunction may
    occur when a user fails to follow the Company's written cleaning instructions
    and can result in an electrical short). The Company is not aware of the
    occurrence of any injury incidents relating to a malfunction of this type.
    In the third quarter of 1998, the Company will initiate a recall of its
    Gemini PC-4 infusion pumps to correct certain electro-mechanical problems
    which may cause one or more channels of the device to audibly and visibly
    alarm and temporarily cease operation. Although there can be no assurance,
    the Company believes that these voluntary field corrections, along with
    adjustments and corrections that may be made to various Company products from
    time to time as an ordinary part of the business of the Company, will not
    have a material adverse effect on the business, financial condition, results
    of operations or cash flows.

    LITIGATION

    The Company is a defendant in a lawsuit filed in June 1996 by Sherwood
    Medical, Inc. against IVAC Holdings which alleges infringement of two patents
    by reason of certain activities including the sale by IVAC Holdings of
    disposable probe covers for use with the Company's infrared tympanic
    thermometer. The lawsuit seeks injunctive relief, treble damages and the
    recovery of costs and attorney fees. The Company believes it has sufficient
    defenses to all claims, including the defenses of noninfringement and
    invalidity and intends to vigorously defend this action. However, there can
    be no assurance that the Company will successfully defend all claims made by
    Sherwood and the failure of the Company to successfully prevail in this
    lawsuit could have a material adverse effect on the Company's operations,
    financial condition and cash flows.

    The Company is a defendant in a QUI TAM lawsuit filed by a former IMED
    employee in the United States District Court for the Northern District of
    Illinois. On November 15, 1996, an amended complaint was filed which alleges
    fraud in the inducement, breach of employment contract, common law fraud and
    violations of the Federal False Claims Act and Medicare Fraud and Abuse Act.
    To date, the United States has declined to intervene in this action. The
    Company believes it has sufficient defenses to all claims by the plaintiff.

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    However, there can be no assurance that the Company will successfully defend
    all claims made in this lawsuit and the failure of the Company to prevail in
    this lawsuit could have a material adverse effect on the Company's
    operations, financial condition and cash flows.


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    The Company was recently informed that on April 20, 1998, Becton Dickinson
    and Company ("Becton") filed a complaint (the "Complaint") in the United
    States District Court for the District of Utah alleging that the Company's
    SmartSite Needle Free System infringes certain patents licensed to Becton.
    The Complaint has not yet been served on the Company and the Company does not
    know whether or not the Complaint will be timely served. However, if the
    Complaint is timely served, the Company intends to vigorously defend any
    claim brought against it with respect to this matter. There can be no
    assurance that the court would find in the Company's favor if the Complaint
    were to be pursued or that if the court were to find that the Company's
    SmartSite Needle Free System infringes the patents licensed to Becton that
    such finding would not have a material adverse effect on the business,
    financial condition, results of operations or cash flows of the Company.

   UNITED STATES CUSTOMS SERVICE MATTER

   During the years 1988 through 1995, Cal Pacifico acted as the Company's
   United States customs broker and importer of record with respect to the
   importation into the United States of finished products ("Finished Products")
   assembled at the Company's two maquiladora assembly plants in Tijuana,
  Mexico. In May 1995, Cal Pacifico received a pre-penalty notice from the
  United States Customs Service ("Customs") to the effect that Customs intended
   to assess additional duties and substantial penalties against Cal Pacifico
   for its alleged failure, during the years 1988 through 1992, to comply with
   certain documentary requirements regarding the importation of goods on behalf
   of its clients, including the Company. Customs recently assessed additional
  duties with respect to Cal Pacifico's importation of goods on behalf of its
   clients, including the importation of the Company's Finished Products, for
  the years 1993 and 1994, and it is anticipated that Customs will issue a
  pre-penalty notice to Cal Pacifico in respect of these years as well
  (collectively with the amounts referred to in the immediately preceding
  sentence, the "Disputed Amounts"). The Company has been advised by its
  special Customs counsel that, under applicable law, no person, by fraud,
  gross negligence or negligence, may (i) import merchandise into the commerce
  of the United States by means of any material and false document, statement
  or act, or any material omission, or (ii) aid or abet any other person to
  import merchandise in such manner. No proceeding has been initiated by
  Customs against the Company in respect of the matters which are the subject
  of the proceeding against Cal Pacifico. Since Cal Pacifico was the Company's
  United States customs broker and importer of record during each of the
  foregoing years, the Company believes that it is unlikely that Customs will
  assess against the Company any portion of the Disputed Amounts.

  Cal Pacifico is contesting Customs' assessment of the Disputed Amounts. Cal
  Pacifico's challenge to the assessment of the Disputed Amounts is in its
  preliminary stages. Given the present posture of Cal Pacifico's challenge,
  and the inherent uncertainty of contested matters such as this, it is not
  possible for the Company to express an opinion as to the likelihood that Cal
  Pacifico will prevail on its challenge. The Company has not been informed by
  Cal Pacifico or Customs as to the specific amount of the Disputed Amounts.

  Cal Pacifico has advised the Company that, should Cal Pacifico's challenge to
  the assessment of the Disputed Amounts prove to be unsuccessful, it will seek
  recovery from the Company, through arbitration, for any portion of the
  Disputed Amounts which it is required to pay to Customs. As part of the
  settlement agreement which resolved the Company's contract dispute with Cal
  Pacifico during the second quarter of 1997, the Company paid Cal

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  <PAGE>

  Pacifico $550, which is to be applied toward Cal Pacifico's payment of
  Disputed Amounts. The $550 payment by the Company is to be credited toward
  any portion of the Disputed Amounts which the arbitrator determines the
  Company owes to Cal Pacifico. The actual amount so determined by the
  arbitrator may be less or greater than $550. Although the ultimate outcome
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    of such an arbitration proceeding cannot be guaranteed, the Company believes
    that it has meritorious defenses to claims with respect to Disputed Amounts
    which Cal Pacifico might raise against the Company. These defenses would be
    based, among other factors, on the contractual relationship between the
    Company and Cal Pacifico (including a defense with respect to the
    availability of indemnification under the agreements between Cal Pacifico and
    the Company), the conduct of Cal Pacifico with respect to both the Company
    and Customs, and the compliance obligations of Cal Pacifico under applicable
    customs laws. Inasmuch as Cal Pacifico's challenge before Customs is still
    pending and any claim against the Company for indemnification would be based
    on Cal Pacifico's ultimate lack of success in that challenge, and inasmuch as
    any arbitration proceeding by which Cal Pacifico might seek indemnification
    has not been filed nor has Cal Pacifico committed itself to the theories
    under which it might seek indemnification or the recovery of damages from the
    Company, it is not possible for the Company to express an opinion at this
    time as to the likelihood of an unfavorable outcome in such a proceeding.

    OTHER

   The Company is also a defendant in various actions, claims, and legal
   proceedings arising from its normal business operations. Management believes
   they have meritorious defenses and intends to vigorously defend against all
   allegations and claims. As the ultimate outcome of these matters is uncertain,
   no contingent liabilities or provisions have been recorded in the accompanying
   financial statements for such matters. However, in management's opinion, based
   on discussions with legal counsel, liabilities arising from such matters, if
   any, will not have a material adverse effect on consolidated financial position,
   results of operations or cash flows.

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                                               PART I - ITEM 2

                 Management's Discussion and Analysis of Financial Condition
                                    and Results of Operations


    General

    ALARIS Medical is a holding company for ALARIS Medical Systems. ALARIS
    Medical also identifies and evaluates potential acquisitions and investments,
    and performs various corporate functions. As a holding company, ALARIS
    Medical currently has no revenues to fund its operating and interest expense
    and relies on its existing cash and cash generated from operations of ALARIS
    Medical Systems, external borrowings and other external sources of funds to
    meet its obligations. Capitalized terms used but not defined herein have the
    meaning ascribed to them in the Notes to the Condensed Consolidated Financial
    Statements.

   The Company is a leading provider of infusion systems and related
   technologies to the United States hospital market, with the largest installed
   base of pump delivery lines ("channels"). The Company is also a leader in the
   international infusion systems market. The Company's infusion systems, which
   are used to deliver one or more fluids, primarily pharmaceuticals or
   nutritionals, to patients, consist of single and multi-channel infusion pumps
   and controllers, and proprietary and non-proprietary disposable
   administration sets (i.e., plastic tubing and pump interfaces). In addition,
   the Company is a leading provider of patient monitoring products that measure
   and monitor temperature, pulse, pulse oximetry and blood pressure, with the
   largest installed base of hospital thermometry systems in the United States.

    In recent years, the Company's results of operations have been affected by
    the cost containment pressures applicable to health care providers. In
    particular, in order to reduce costs, certain hospitals have adopted a
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    protocol increasing the maximum time between disposable administration set
   changes from every 24 hours to as much as every 72 hours. Notwithstanding
   this change in protocol, unit sales volume of the Company's disposable
   administration sets increased in every year since 1993, primarily as a result
   of the growth in its installed base of infusion pumps. However, uncertainty
   remains with regard to future changes within the healthcare industry. The
   trend towards managed care and economically motivated buyers in the U.S. may
   result in continued pressure on selling prices of products and compression on
   gross margins. The U.S. marketplace is increasingly characterized by
   consolidation among healthcare providers and purchasers of medical products.
   The Company's profitability is affected by the increasing use of Group
   Purchasing Organizations ("GPOs") which are better able to negotiate
   favorable pricing from providers of infusion systems, such as the Company,
   and which police compliance with exclusive buying arrangements for their
   members. These buying arrangements, in certain situations, also may result in
   the GPO requiring removal of the Company's existing infusion pumps. The
   Company expects that such GPOs will become increasingly more common and may
   have an adverse effect on the Company's future profitability.

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   RESULTS OF OPERATIONS

   The following table sets forth, for the periods indicated, selected financial
   information expressed as a percentage of sales:

   <TABLE>
   <CAPTION>

                                                                                    THREE MONTHS ENDED JUNE 30,          SIX    MONTHS
   ENDED JUNE 30,


                                                                                          1997                 1998             1997
  1998


  <5>                                                                             <C>                    <C>            <C>
  <C>
  Sales                                                                                 100.0%                 100.0%          100.0%
  100.0%
  Cost of sales                                                                          53.8                   51.3            55.5
  51.4


  Gross margin                                                                           46.2%                  48.7%           44.5%
  48.6%
  Selling and marketing expenses                                                         18.6                   18.9            18.8
  19.3
  General and administrative expenses                                                    11.0                   10.6            11.1
  11.0
  Research and development expenses                                                        4.7                   5.1             4.8
  5.1
  Purchased in-process research and development                                                                  6.1
  3.1
  Integration and other non-recurring charges                                            13.9                                    9.3

  Lease interest income                                                                   1.2                    1.2             1.3
  1.3


  Income from operations                                                                 (0.8)                  9.2             1.8
  11.4
  Interest expense                                                                      (12.5)                 (11.7)          (12.8)
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   (12.3)
   Other, net                                                                               (.1)                  (.3)
   (.3)


   Loss before income taxes                                                               (13.4)                 (2.8)               (11.0)
   (1.2)
   Benefit from income taxes                                                               (5.4)                  (.6)                (4.3)
   (.2)


   Net loss                                                                               (8.0%)               (2.2%)                 (6.7)
   (1.0)




    Other Data:
         Adjusted EBITDA                                                                  23.3%                 24.3%                22.2%
    23.8%

    </TABLE>

    <TABLE>
    <CAPTION>

                                                                                        THREE MONTHS ENDED JUNE 30,            SIX    MONTHS
    ENDED JUNE 30,


                                                                                           1997                 1998                 1997
    1998


                                                                                              (IN THOUSANDS)                          (IN
    THOUSANDS)
    <S>                                                                           <C>               <C>                  <C>
    <C,
    Adjusted EBITDA (1)                                                            $       20,560         $    22,032      $         37,822
    $ 42,224
    Inventory purchase price allocation adjustment (2)                                                                               (1,607)

    Integration and other non-recurring expense                                          (12,247)                                (15,899)

    Depreciation and amortization (3)                                                     (9,038)             (8,188)            (17,323)
    (16,472)
    Purchased in-process research and development (4)                                                         (5,534)
    (5,534)
    Interest income                                                                           227                   85                  385
    147
    Interest expense                                                                     (11,002)             (10,639)           (21,695)
    (21,795)
    Other, net                                                                              (302)                (324)                (400)
    (681)
    (Provision for) benefit from income taxes                                               4,800                  600                7,400
    350



    Net income (loss)                                                              $      (7,002)         $   (1,968)      $     (11,317)
    $ (1,761)




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   </TABLE>



   (1)       Adjusted EBITDA represents income from operations before restructuring,
             integration and other non-recurring charges, non-cash purchase accounting
             charges and depreciation and amortization. Adjusted EBITDA does not
             represent net income or cash flows from operations, as these terms are
             defined under generally accepted accounting principles, and should not be
             considered as an alternative to net income as an indicator of the
             Company's operating performance or to cash flows as a measure of
             liquidity. ALARIS Medical has included information concerning Adjusted
             EBITDA herein because it understands that such

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             information is used by investors as one measure of an issuer's
             historical ability to service debt. Restructuring and other one-time
             non-recurring charges are excluded from Adjusted EBITDA as ALARIS Medical
             believes that the inclusion of these items would not be helpful to an
             investor's understanding of ALARIS Medical's ability to service debt.
             ALARIS Medical's computation of Adjusted EBITDA may not be comparable to
             similar titled measures of other companies.

  (2)        Amount represents that portion of the purchase accounting adjustments
             made to adjust the acquired IVAC inventory to its estimated fair value on
             the Merger date which was charged to cost of sales during the first
             quarter of 1997.

  (3)        Depreciation and amortization excludes amortization of debt discount and
             issuance costs included in interest expense.

  (4)        Amount represents that portion of the purchase accounting adjustments
             related to the value assigned to the acquired in-process research and
             development of projects acquired from PSI and Caesarea for which
             technological feasibility had not been established and for which there
             was no alternative future use.

  The following table summarizes sales to customers located in the United States
  and international locations:

  <TABLE>
  <CAPTION>

                                                                                     Three Months Ended June 30,            Six Months
  Ended June 30,


                                                                                       1997                1998               1997
  1998


                                                                                         (in millions)                            (in
  millions)
  <S>                                                                           <C>               <C>                 <C>
  <C>

  U.S. sales                                                                     $     55.4          $      57.0        $     106.8
  $ 109.5
  International sales                                                                  32.7                 33.7               63.3
  68.1


         Total sales                                                             $     88.1          $      90.7        $     170.1
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    $ 177 . 6




    </TABLE>

    For purposes of this discussion and analysis, the three months ended June 30,
    1997 and 1998 are referred to as Second Quarter 1997 and Second Quarter 1998,
    respectively, and the six months ended June 30, 1997 and 1998 are referred to as
    1997 and 1998, respectively.

    Three Months Ended June 30, 1997 Compared to Three Months Ended June 30, 1998

    SALES
    Sales increased $2.6 million during Second Quarter 1998 as compared to Second
    Quarter 1997. International sales increased $1.0 million, or 3.2% while United
    States sales increased $1.6 million, or 2.8%. The increase in international
    sales is primarily due to increases in drug infusion disposable administration
    set revenue of $1.0 million. The majority of the Company's international sales
    are denominated in foreign currency. Due to a stronger U.S. dollar in 1998 as
    compared to the actual foreign currency exchange rates in effect during Second
    Quarter 1997, translation of Second Quarter 1998 international sales were
    adversely impacted by $1.2 million. The increase in U.S. sales in Second Quarter
    1998 as compared to Second Quarter 1997 is primarily due to increases in drug
    infusion disposable administration set revenue of $2.0 million and patient
    monitoring revenue of $0.6 million. These increases were offset by a decrease in
    drug infusion instrument revenue of $1.0 million.

    GROSS MARGIN
    The gross margin percentage increased from 46.2% in Second Quarter 1997 to 48.7%
    in Second Quarter 1998 primarily due to increased sales of higher margin
    disposable administration sets as well as stable pricing and continued benefits
    realized from ongoing cost reduction efforts.

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    SELLING AND MARKETING EXPENSES
    Selling and marketing expenses increased $0.7 million, or 4.2%, during Second
    Quarter 1998 as compared to Second Quarter 1997. As a percentage of sales,
    selling and marketing expenses increased from 18.6% in Second Quarter 1997 to
    18.9% in Second Quarter 1998. Domestic expenses decreased by $0.8 million, or
    7.8%, from Second Quarter 1997 due to lower commissions, and personnel costs.
    International expenses increased $1.5 million, or 24.2%, from Second Quarter
    1997. These increases were due to increases in personnel and investment in
    international direct operations in Italy and Norway during the latter part of
    1997.

    GENERAL AND ADMINISTRATIVE EXPENSES
    Second Quarter 1998 general and administrative expenses was consistent with
    Second Quarter 1997. As a percentage of sales, general and administrative
    expenses decreased from 11.0% in 1997 to 10.6% in 1998. Domestic expenses
    decreased $1.4 million due to lower consulting and legal fees. International
    expenses increased by $1.3 million, or 100.0%, primarily as a result of the
    conversion of certain European dealer operations into direct operations,
    expansion of the European headquarters and quality initiatives to obtain
    required CE markings on products.

    RESEARCH AND DEVELOPMENT EXPENSES
    Research and development expenses increased approximately $0.5 million, or
    13.0%, during Second Quarter 1998 as compared to Second Quarter 1997
    primarily due to increased activities associated with the later development
    stages of various domestic and international engineering projects for
  https://www.sec.gov/Archivesfedgar/data/817161/0001047469-98-031228.txt                                                        19/76



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    infusion systems and disposable administration sets.

   INTEGRATION AND OTHER NON-RECURRING CHARGES
    The Company incurred $12.2 million in costs to integrate the IMED and IVAC
   operations during 1997. These costs are in addition to restructuring and
   integration charges of $15.3 million recorded in the fourth quarter of 1996.
   The Second Quarter 1997 expense consists primarily of the write-off of a
   product distribution and license agreement with a third party developer of an
   ambulatory and alternate site infusion pump of $4.5 million, maquiladora
   dispute settlement and related costs of $4.1 million, information systems
   conversion costs of $1.1 million and other integration costs of $2.5 million.
   The Company reviewed its products and related research and development
   activities and market opportunities in order to focus on projects that will
   provide greater competitive advantage and shareholder return. That review
   resulted in the termination of the aforesaid product distribution and license
   agreement. The $4.5 million charge related to such termination includes a
   $4.3 million non-cash charge representing the write-off of the intangible
   asset associated with such agreement.

   PURCHASED IN-PROCESS RESEARCH AND DEVELOPMENT
   In connection with the PSI acquisition and the technology license agreement
   with Caesarea, during the second quarter of 1998 the Company incurred a
   one-time $5.5 million write-off related to the value assigned to the acquired
   in-process research and development of the projects for which technological
   feasibility had not been established and for which there was no alternative
   future use. The Company has continued to invest in the development necessary
   to obtain technological feasibility of these projects.

   INCOME FROM OPERATIONS
   Income from operations increased $9.0 million during Second Quarter 1998 as
   compared to Second Quarter 1997 primarily due to increased sales and gross
   margin in Second Quarter 1998 and to the Second Quarter 1997 operating
   results including significant integration charges, as discussed above which
   were not incurred in Second Quarter 1998.

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   <PAGE>

   ADJUSTED EBITDA

  Adjusted EBITDA increased $1.5 million during Second Quarter 1998 as compared
   to Second Quarter 1997. As a percentage of sales, Adjusted EBITDA increased
   from 23.3%, or $20.6 million, for Second Quarter 1997 to 24.3%, or $22.0
  million, for Second Quarter 1998 due to the reasons discussed above. Adjusted
  EBITDA represents income from operations before non-recurring non-cash
  purchase accounting charges, integration charges and depreciation and
  amortization. Adjusted EBITDA does not represent net income or cash flows
  from operations, as these terms are defined under generally accepted
  accounting principles, and should not be considered as an alternative to net
  income or to cash flows as an indicator of the Company's operating
  performance or to cash flows as a measure of liquidity. The Company has
  included information concerning Adjusted EBITDA herein because it understands
  that such information is used by investors as a measure of an issuer's
  historical ability to service debt. Integration and other one-time
  non-recurring charges are excluded from Adjusted EBITDA as the Company
  believes that the inclusion of these items would not be helpful to an
  investor's understanding of the Company's ability to service debt. The
  Company's computation of Adjusted EBITDA may not be comparable to similar
  titled measures of other companies.

  INTEREST EXPENSE
  Interest expense decreased $0.4 million during Second Quarter 1998 primarily
  due to reduced interest rates on the Company's bank credit facility resulting
  from an amendment to such debt agreement during the Second Quarter of 1998
  (see Liquidity and Capital Resources).


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    SIX MONTHS ENDED JUNE 30, 1997 COMPARED TO SIX MONTHS ENDED JUNE 30, 1998

    SALES
    Sales increased $7.6 million during 1998 as compared to 1997. International
    sales increased $4.8 million, or 7.6% while United States sales increased $2.8
    million, or 2.6%. The increase in international sales is primarily due to
    increases in drug infusion instrument revenue of $1.8 million and drug infusion
    disposable administration set revenue of $2.1 million. The majority of the
    Company's international sales are denominated in foreign currency. Due to a
    stronger U.S. dollar in 1998 as compared to the actual foreign currency exchange
    rates in effect during 1997, translation of 1998 international sales were
    adversely impacted by $2.6 million. The increase in U.S. sales in 1998 as
    compared to 1997 is primarily due to increases in drug infusion disposable
    administration set revenue of $3.3 million and patient monitoring revenue of
    $1.3 million. These increases were offset by a decrease in drug infusion
    instrument revenue of $1.8 million.

    GROSS MARGIN
    The gross margin percentage increased from 44.5% in 1997 to 48.6% in 1998
    primarily due to $4.1 million of non-recurring costs included in 1997 cost of
    sales. Exclusive of $1.6 million of non-recurring purchase accounting inventory
    adjustments and $2.5 million related to a voluntary field correction of certain
    Gemini PC-1 and PC-2 infusion pumps charged to cost of sales during 1997, the
    gross margin percentage for 1997 was 46.9%. The improvement over 1997 is due to
    increased sales of higher margin disposable administration sets as well as the
    benefits realized from ongoing cost reduction efforts and purchasing synergies.

    SELLING AND MARKETING EXPENSES
    Selling and marketing expenses increased $2.3 million, or 7.3%, during 1998 as
    compared to 1997. As a percentage of sales, selling and marketing expenses
    increased from 18.8% in 1997 to 19.3% in 1998. Domestic expenses decreased by
    $0.3 million, or 1.6%, from 1997 due primarily to lower commissions earned on
    instrument sales. International expenses increased $2.6 million, or 20.1%, from
    1997. These increases were due to increases in personnel and investment in
    international direct operations in Italy and Norway during the latter part of
    1997.

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    GENERAL AND ADMINISTRATIVE EXPENSES
    General and administrative expenses increased $0.6 million, or 3.2%, during
    1998 as compared to 1997. As a percentage of sales, general and
    administrative expenses decreased from 11.1% in 1997 to 11.0% in 1998.
    Domestic expenses decreased $1.1 million due to decreases in legal and
    consulting fees. International expenses increased by $1.7 million, or 54.8%,
    primarily as a result of the conversion of certain European dealer operations
    into direct operations, expansion of the European headquarters and quality
    initiatives to obtain required CE markings on products.

    RESEARCH AND DEVELOPMENT EXPENSES
    Research and development expenses increased approximately $0.8 million, or 9.9%,
    during 1998 as compared to 1997 primarily due to increased activities associated
    with the later development stages of various domestic and international
    engineering projects for infusion systems and disposable administration sets.

    INTEGRATION AND OTHER NON-RECURRING CHARGES
    The Company incurred $15.9 million in costs to integrate the IMED and IVAC
    operations during 1997. These costs are in addition to restructuring and
    integration charges of $15.3 million recorded in the fourth quarter of 1996.
    The 1997 expense consists primarily of the write-off of a product
    distribution and license agreement with a third party developer of an
    ambulatory and alternate site infusion pump of $4.5 million, maquiladora
    settlement and related costs of $4.1 million, information systems conversion
    costs of $1.6 million, management consulting fees of $1.4 million, severance
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    of $1.3 million and other integration costs of $3.0 million. The Company
    reviewed its products and related research and development activities and
    market opportunities in order to focus on projects that will provide greater
    competitive advantage and shareholder return. That review resulted in the
    termination of the aforesaid product distribution and license agreement. The
    $4.5 million charge related to such termination includes a $4.3 million
    non-cash charge representing the write-off of the intangible asset associated
    with such agreement.

   PURCHASED IN-PROCESS RESEARCH AND DEVELOPMENT
   In connection with the PSI acquisition and the technology license agreement with
   Caesarea, during the second quarter of 1998 the Company incurred a one-time $5.5
   million write-off related to the value assigned to the acquired in-process
   research and development of the projects for which technological feasibility had
   not been established and for which there was no alternative future use. The
   Company has continued to invest in the development necessary to obtain
   technological feasibility of these projects.

   INCOME FROM OPERATIONS
   Income from operations increased $17.2 million during 1998 as compared to 1997
   primarily due to improved sales and gross margins and to the 1997 operating
   results including significant integration charges and expenses related to the
   field correction on the Gemini pumps as discussed above which were not incurred
   in 1998.

   ADJUSTED EBITDA
   Adjusted EBITDA increased $4.4 million during 1998 as compared to 1997. As a
   percentage of sales, Adjusted EBITDA increased from 22.2%, or $37.8 million, for
   1997 to 23.8%, or $42.2 million, for 1998 due to the reasons discussed above.
   Adjusted EBITDA represents income from operations before non-recurring non-cash
   purchase accounting charges, integration charges and depreciation and
   amortization. Adjusted EBITDA does not represent net income or cash flows from
   operations, as these terms are defined under generally accepted accounting
   principles, and should not be considered as an alternative to net income or to
   cash flows as an indicator of the Company's operating performance or to cash
   flows as a measure of liquidity. The Company has included information concerning
   Adjusted

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  EBITDA herein because it understands that such information is used by investors
  as a measure of an issuer's historical ability to service debt. Integration and
  other one-time non-recurring charges are excluded from Adjusted EBITDA as the
  Company believes that the inclusion of these items would not be helpful to an
  investor's understanding of the Company's ability to service debt. The Company's
  computation of Adjusted EBITDA may not be comparable to similar titled measures
  of other companies.

  INTEREST EXPENSE
  Interest expense increased $0.1 million during 1998 primarily due to a higher
  average balance on the Company's revolving credit facility in the first quarter
  of 1998, partially offset by reduced interest rates on the Company's bank credit
  facility resulting from an amendment to such debt agreement during the Second
  Quarter of 1998. (see Liquidity and Capital Resources).

  LIQUIDITY AND CAPITAL RESOURCES

  The Company's primary sources of liquidity have been cash flow from
  operations and borrowings under the bank facility.  The Company expects to
  continue to meet its liquidity needs including capital expenditure
  requirements with cash flow from the operations of ALARIS Medical Systems and
  remaining cash proceeds from the issuance of the Senior Discount Notes in
  July 1998. In addition to operating expenses, the Company's primary
  historical use of funds has been and its future use of funds will continue to
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    be to fund capital expenditures and strategic acquisitions and to pay debt
    service on outstanding indebtedness.

   At June 30, 1998, the Company's outstanding indebtedness was $432.3 million,
   which includes $192.9 million of bank term debt under the credit facility and
   $200.0 million of Senior Subordinated Notes due 2006 (the "Notes"), which
   were issued in connection with the Merger. The bank debt bears interest at
   floating rates based, at the Company's option, on Eurodollar or prime rates.
   During the second quarter of 1997, the Company entered into an interest rate
   protection agreement covering 50% of its term loan borrowings. Such agreement
   fixed the interest rate charged on such borrowings resulting in a weighted
   average fixed rate of 9.6% on the principal balance covered. As a result, a
   one percent increase in the rate of interest charged on indebtedness
   outstanding under the credit facility at June 30, 1998 would result in
   additional annual interest expense of approximately $1.0 million. During
   March 1998, the bank credit facility was amended and the interest rates on
   the bank debt reduced. As a result, the weighted average interest rate,
   including the effect of the interest rate protection agreement, was reduced
   to 8.5% based on the amounts outstanding at the time of the amendment. The
   Company incurred fees of approximately $0.4 million related to such interest
   rate reductions. Included in total consolidated debt, at June 30, 1998,
   ALARIS Medical had outstanding $16.2 million of 7 1/4% Convertible
   Debentures.

    In connection with obtaining the Merger financing, the Company also obtained
    a $50.0 million revolving credit line as part of the credit facility. At
    June 30, 1998, $20.3 million in borrowings and $0.5 million under letters of
    credit were outstanding under this line of credit and $29.2 million was
    available.

    In July 1998, in connection with the Instromedix acquisition, the Company
    amended its bank credit facility. The amendment provided for the banks'
    consent to the Instromedix acquisition, increased the revolving credit
    facility to $60 million and provided the Company an additional $30 million
    under the Tranche D term debt. The Company used the $30 million term debt
    borrowing, along with approximately $3 million from the revolving credit
    line, to fund the payments required upon closing the Instromedix acquisition.
    Subsequent to closing the Instromedix acquisition, ALARIS Medical completed
    the sale of $109.9 million of 11-1/8% Senior Discount Notes, due 2008,
    receiving net proceeds of approximately $106.3 million. Interest accruing on
    these notes is added to the outstanding principal balance through July 31,
    2003. Interest accruing subsequent to July 31, 2003 is payable in cash
    semi-annually in arrears

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    on February 1 and August 1. Upon receipt of the net proceeds from the Senior
    Discount Notes, ALARIS Medical paid its remaining obligations to the
    Instromedix shareholders and contributed the remaining proceeds to ALARIS
    Medical Systems, as required under the amended bank credit agreement. ALARIS
    Medical Systems then repaid the amount outstanding under its revolving credit
    line.

    In connection with the Merger, the Company assumed IVAC's obligations to
    Siemens Infusion Systems Ltd. ("SIS"). These obligations relate to the
    payment of additional purchase consideration related to the acquisition of
    the MiniMed product line (the predecessor product line to MS III). The
    Company's remaining obligation to SIS is the greater of $3.0 million or 8% of
    the prior year's MS III sales in 1999. The Company made the minimum 1998
    payment of $3.0 million during the first quarter of 1998.

    As a result of the Company's significant indebtedness, the Company expects to
    incur significant interest expense in future periods. The Company believes
    that cash provided by operations will be sufficient to meet its interest
    expense obligations.
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    Annual amortization of the Company's indebtedness is $6.0 million for the
    remaining six months of 1998 and $15.8 million and $14.0 million for 1999 and
    2000, respectively.

   The Convertible Debentures provide for semi-annual interest payments of
   approximately $0.6 million and mature on January 15, 2002. The Notes and the
   credit facility permit ALARIS Medical Systems to fund interest payments on
   the Convertible Debentures and to make limited distributions to ALARIS
   Medical to fund operating expenses and to pay income taxes; provided that,
   with respect to the credit facility, there exists no default or event of
   default under the credit facility. The Notes and the credit facility,
   however, restrict distributions to ALARIS Medical to fund the repayment of
   the Convertible Debentures at maturity.

   During Second Quarter 1998, the Company made cash payments of approximately
   $0.5 million related to merger and integration costs accrued at December 31,
   1997. During the quarter ended June 30, 1997 the Company made cash payments
   of approximately $2.5 million related to merger and integration costs accrued
   at December 31, 1996, as well as payments of approximately $5.8 million for
   integration costs expensed during the second quarter of 1997.

   During the Second Quarter of 1998 the Company made capital expenditures of
   approximately $5.4 million and anticipates it will make capital expenditures
   of approximately $30.0 million for the full year.

   During the first quarter of 1998, the Company created a corporate development
   function to assess product and company acquisitions, distribution alliances
   and joint ventures which would expand Company technologies into unserved
   markets. While there can be no assurances that the Company will complete
   additional acquisitions, depending on the value of potential acquisitions,
   the Company might fund such transactions through a variety of sources,
   including existing or new debt facilities or through the sale of equity
   securities.

  The Company believes that, based on current levels of performance, it will
  generate cash flow from operations, together with the remaining net proceeds
  from the Senior Discount Notes, sufficient at least through the next twelve
  months to fund its operations, make planned capital expenditures and make
  required payments of principal and interest under its credit facility and
  interest on the Notes; however, the Company may not generate sufficient cash
  flow from operations to repay the Notes at maturity, to make scheduled
  payments on the Senior Discount Notes or to repay the Senior Discount Notes
  at maturity. Accordingly, the Company may have to refinance the Notes and the
  Senior Discount Notes at or prior to maturity or sell assets or raise equity
  capital to repay such debt. In addition, the Company's ability to fund

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  its operations, to make planned capital expenditures and to make scheduled
  principal and interest payments will be dependent on the Company's future
  operating performance, which is itself dependent on a number of factors, many
  of which the Company cannot control, including conditions affecting the
  Company's foreign operations, prevailing economic conditions, availability of
  other sources of liquidity, and financial, business, regulatory and other
  factors affecting the Company's business and operations.

  YEAR 2000
  In addition to routine capital expenditures, and in connection with the
  Merger, the Company has made significant expenditures for the acquisition of
  enterprise-wide information system software and hardware and the related
  design, testing and implementation. The new system is year 2000 compliant
  while the Company's existing information system for its domestic operations
  does not properly recognize and process transactions dated in the year 2000.
  Additionally, certain aspects of the Company's domestic information system
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    can not properly associate with transactions and activities dated subsequent
    to 1998. The Company successfully implemented certain financial applications
    of the new system and began utilizing such applications at the beginning of
    1998. The Company is in the final phase of testing its new system for the
    remainder of it domestic business processes and expects to complete the
    conversion to the new system by the end of the third quarter of 1998. The
    Company believes the primary information system for its international
    operations is not directly affected by the year 2000. However, due to the
    increased significance of its international operations, the Company is also
    converting the international information systems to a system common with the
    domestic operations. The international project is scheduled for completion
    in 1999. The international system is also designed to properly process
    transactions denominated in euro currency. Euro currency is a new monetary
    unit which certain European countries can begin using in 1999.

    In order to successfully provide product to its customers, the Company is
    dependent upon the timely fulfillment of its supply orders from its chosen
    vendors. The Company has identified potentially critical suppliers and
    attempted to determine if such suppliers have identified and/or addressed
    their own year 2000 issues by means of questionnaires. At this time, the
    Company has not identified or been informed of any significant suppliers that
    will not be able to fulfill the Company's orders. However, many of the
    Company's key suppliers have acknowledged that they must make improvements to
    their systems to properly deal with year 2000 orders and issues. As a
    result, there can be no assurances that key suppliers will be able to timely
    fill the Company's future orders. The Company is in the process of
    evaluating what alternatives are available if key suppliers could not provide
    required materials and supplies to the Company when ordered. While a formal
    contingency plan related to this risk has not yet been completed by the
    Company, alternatives would be to increase inventory levels of key supplies
    and seek supplies from other vendors.

    Due to the inherent complexities in converting enterprise-wide information
    systems, there can be no assurance that the Company's domestic information
    system conversion will be completed in the planned time frame. If the
    Company were not able to successfully implement the new system prior to 1999,
    the Company's ability to take orders, ship product, invoice for shipments and
    collect cash would be adversely impacted. This could result in a material
    adverse impact on the Company's financial condition, results of operations
    and cash flows. Additionally, there can be no assurance that all significant
    primary and back-up suppliers will be able to fill the Company's orders due
    to their own year 2000 issues. Such supplier failures could have a material
    adverse impact on the Company's financial condition, results of operations
    and cash flows.

    During fiscal year 1997 and the six months ended June 30, 1998, the Company
    made combined capital and operating expenditures of approximately $6.0
    million and $2.3 million, respectively, related to the new enterprise-wide
    information system. To complete the identified phases of the project, the
    Company

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    anticipates additional expenditures for the remainder of 1998 and for
    1999 of approximately $4.4 million and $3.5 million, respectively.

    SEASONALITY
    Infusion instrument sales are typically higher in the fourth quarter due to
    sales compensation plans which reward the achievement of annual quotas and
    the seasonal characteristics of the industry, including hospital purchasing
    patterns. First quarter sales are traditionally not as strong as the fourth
    quarter. The Company anticipates that this trend will continue but is unable
    to predict the effect, if any, from health care reform and increased
    competitive pressures.

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    BACK LOG
    The backlog of orders, believed to be firm, at June 30, 1997 and 1998 was
    $7.8 million and $5.5 million, respectively.

   FOREIGN OPERATIONS
   As a result of the Merger, the Company has significant foreign operations.
   Accordingly, the Company is subject to various risks, including without
   limitation, foreign currency risks. Historically, the Company has not entered
   into foreign currency contracts to hedge such exposure and such risk. Due to
   changes in foreign currency exchange rates during 1998, primarily a
   strengthening of the U.S. dollar against many European currencies, the
   Company recognized a foreign currency transaction loss of approximately $0.2
   million during Second Quarter 1998. The Company will evaluate hedging
   programs during 1998 to limit the exposure to the Company resulting from
   changes in foreign currency exchange rates.

   HEALTH CARE REFORM
   Heightened public awareness and concerns regarding the growth in overall
   health care expenditures in the United States may result in the enactment of
   legislation affecting payment mechanisms and health care delivery.
   Legislation which imposes limits on the number and type of medical procedures
   which may be performed or which has the effect of restricting a provider's
   ability to select specific devices or products for use in administrating
   medical care may adversely impact the demand for the Company's products. In
   addition, legislation which imposes restrictions on the price which may be
   charged for medical products may adversely affect the Company's results of
   operations. It is not possible to predict the extent to which the Company or
   the health care industry in general may be adversely affected by the
   aforementioned in the future.

   FORWARD-LOOKING STATEMENTS
   Forward-Looking Statements in this report are made pursuant to the Safe
   Harbor Provisions of the Private Securities Litigation Reform Act of 1995.
   Persons reading this report are cautioned that such forward-looking
   statements involve risks and uncertainties, including, without limitation,
   the effect of legislative and regulatory changes effecting the health care
   industry; the potential of increased levels of competition; technological
   changes; the dependence of the Company upon the success of new products and
   ongoing research and development efforts; restrictions contained in the
   instruments governing the Company's indebtedness; the significant leverage to
   which the Company is subject; and other matters referred to in this report.

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                                            PART II
                                      OTHER INFORMATION




  ITEM 1.      LEGAL PROCEEDINGS

  See Note 7 to the Condensed Consolidated Financial Statements.


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  ITEM 6.      EXHIBITS AND REPORTS ON FORM 8-K

  (a)      Exhibits

  2.1(a)      --   Agreement to Purchase Selected Assets dated May 18, 1998 among
                   ALARIS Medical Systems, Inc., Invacare Corporation and Patient
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                        Solutions, Inc.

    2.1(b)             Agreement to furnish to the Securities and Exchange Commission, upon
                       request, omitted exhibits from the Agreement to Purchase Selected
                       Assets dated May 18, 1998.

    2.2        --      Agreement and Plan of Merger dated June 24, 1998 by and among ALARIS
                       Medical, Inc., ALARIS Medical Systems, Inc., Herbert J. and Shirley
                       L. Semler, Instromedix, Inc. and the shareholders of Instromedix,
                       Inc. (Incorporated by reference to Exhibit 2 to ALARIS Medical,
                       Inc.'s report on Form 8-K dated July 30, 1998.)

    10.1(a)             Agreement dated May 7, 1998 among ALARIS Medical Systems, Inc. and
                        Caesarea Medical Electronics Limited.

    10.1(b)            Agreement to furnish to the Securities and Exchange Commission, upon
                       request, omitted exhibits and schedules from the Agreement dated
                       May 7, 1998.

    27                  Financial Data Schedule




    (b)         Reports on Form 8-K

    None.


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                                                     SIGNATURES



            Pursuant to the requirements of the Securities Exchange Act of 1934,
    the registrant has duly caused this report to be signed on its behalf by the
    undersigned, thereunto duly authorized.


                                                                       ALARIS MEDICAL, INC.

                                                                       (REGISTRANT)



                    Date:   August 11, 1998                      By: /s/ DOUGLAS C. JEFFRIES

                                                                       Douglas C. Jeffries
                                                                       Vice President and Chief
                                                                             Financial Officer


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                                                   EXHIBIT INDEX




    Exhibit
         No.


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                    request, omitted exhibits and schedules from the Agreement dated May
                    7, 1998.

   27          --   Financial Data Schedule

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                                                                                           EXHIBIT 2.1(a)


                                AGREEMENT TO PURCHASE SELECTED ASSETS

          This AGREEMENT TO PURCHASE SELECTED ASSETS (this "Agreement") is
  effective as of May 18, 1998 (the "Effective Date"), by and among ALARIS
  Medical Systems, Inc., a Delaware corporation ("Buyer"), Invacare Corporation,
  an Ohio corporation ("Parent") and Patient Solutions Inc., d/b/a Invacare
  Infusion Systems, a Delaware corporation and a wholly-owned subsidiary of
  Parent ("Seller"), with reference to the following facts:

         WHEREAS, Buyer desires to purchase from Seller and Seller desires to
  sell to Buyer, on the terms and subject to the conditions of this Agreement,
  certain selected assets of Seller.

         NOW, THEREFORE, in consideration of the foregoing premise and the
  representations, warranties, covenants and agreements contained below, the
  parties agree as follows:

                                                   ARTICLE 1

                                 PURCHASE AND SALE OF SELECTED ASSETS

          1.1    PURCHASE AND SALE.  On the Closing Date (as defined in Section 2
  below), Seller agrees to sell, transfer, assign and deliver to Buyer and Buyer
  agrees to purchase, accept and acquire from Seller, all of Seller's right,
  title and interest in and to the assets (the "Assets") of Seller described in
  the Bill of Sale and the Patent Assignment Agreement and the 51O(k) Assignment
  Agreement attached as EXHIBITS A, B and C (collectively, the "Conveyance
  Documents"). On the Closing Date, Seller shall deliver executed Conveyance
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    Documents to Buyer and shall simultaneously take all additional steps and
    execute all additional documents and instruments as may be necessary to put
    Buyer in possession and complete operating control of the Assets and to
    transfer all Seller's right, title and interest in and to the Assets to Buyer.
    Seller agrees that Buyer shall also have the right to contact and retain
    certain employees, contractors and consultants of Seller including those
    persons whose names are set forth on EXHIBIT D, attached hereto.

           1.2    PURCHASE PRICE. Upon the terms and subject to the conditions
    contained herein, the purchase price to be paid by Buyer to Seller for the
    sale, transfer, assignment and delivery of the Assets (the "Purchase Price")
    shall be as follows:

              (a)   $4,750,000 in cash at the Closing, subject to Section 1.3.

           (b)    the cancellation of that certain Promissory Note for $375,000
    dated March 31, 1998 issued pursuant to that certain No-Shop Agreement dated
    March 31, 1998 (the "No-Shop Agreement") at the Closing.

           (c)    $125,000 in cash previously paid to Seller on March 31, 1998
    pursuant to the No-Shop Agreement.

              1.3   CLOSING BALANCE SHEET ADJUSTMENT.

                  (a)    Within thirty (30) days after the Closing Date, Seller
    shall cause to be prepared and shall deliver to Buyer a balance sheet of Seller
    as of the close of business on the Closing Date, which balance sheet shall
    reflect, among other things, total Current Assets, total Current Liabilities
    and Net Plant and Equipment ("Closing Date Balance Sheet"). The Closing Date
    Balance Sheet shall be prepared in accordance with GAAP applied in a manner
    consistent with that utilized in preparing the Financial Statements (as defined
    in Section 3.6).

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                  (b)    If Buyer does not dispute the amounts set forth in the
    Closing Date Balance Sheet, the Closing Date Balance Sheet shall be conclusive.
    If Buyer disputes any amount set forth in the Closing Date Balance Sheet,
    Buyer shall so notify Seller in writing (specifying his objections and the
    reasons therefor in reasonable detail) within thirty (30) days following
    receipt thereof and the parties will use all reasonable efforts to resolve any
    such disputes. If any such dispute cannot promptly be resolved (but in any
    event within thirty (30) days after submission of the written objections of
    Buyer, the parties agree that they will submit the matter to the office of
    JAMS/ENdispute located in San Diego, California (or, if none, then the office
    of JAMS/Endispute located closest to San Diego, California) to be arbitrated by
    a single arbitrator to be mutually selected by the parties. The resolution of
    the dispute by JAMS/Endispute will be conclusive and binding upon the parties.
    The fees and expenses of JAMS/ENdispute will be paid one-half by Seller and
    one-half by Buyer. The Closing Date Balance Sheet and the information set
    forth thereon, as finally determined pursuant to this Section 1.3(b), is
    hereinafter referred to as the "Final Closing Balance Sheet."

                  (c)     In the event the Current Assets and Net Plant and
    Equipment less Current Liabilities set forth in the Final Closing Balance Sheet
    is less than the Current Assets and Net Plant and Equipment less Current
    Liabilities set forth in the December 31, 1997 Balance Sheet contained in
    Schedule 3.6 (the "Assets Shortfall"), then the Seller and Parent, jointly and
    severally, shall be liable to pay over to Buyer an amount in cash equal to the
    Assets Shortfall.

                  (d)    Any payment required to be made under Section 1.3(c) shall
    be made within five (5) business days after the determination thereof ("Due
    Date"), without setoff for any other matter, by wire transfer to an account
    designated by Buyer and shall, in addition to such amount, include interest on
    the amount required to be paid calculated from the Closing Date through the Due
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   Date at a rate of twelve percent (12%) per annum. Any payment to be made
   pursuant to Section 1.3(c) which is not made on the Due Date shall bear
   interest at the rate of fifteen percent (15%) per annum from the Due Date until
   the date paid; provided that no interest shall accrue on any payment due under
   Section 1.3(c) for so long as a dispute exists under Section 1.3(b) unless the
   final determination of such dispute requires a payment by the Seller or Parent
   under Section 1.3(c) of more than $50,000.

          1.4    ASSUMED LIABILITIES. Upon the terms and subject to the
   conditions contained herein, Buyer shall assume all of the current obligations
   and liabilities of Seller set forth on attached EXHIBIT E (the "Assumed
   Liabilities"), which shall set forth the obligations and liabilities being
   assumed as of April 30, 1998. Buyer shall also assume the liabilities of
   Seller incurred in the ordinary course of Seller's business between April 30,
   1998 and the Closing Date; provided, however, that no liabilities or
   obligations relating to obsolete inventory, or unrecorded or unwritten
   commitments to customers or distributors shall be assumed by Buyer. Buyer
   shall not assume and shall under no circumstances be responsible for, and
   Seller shall retain and be responsible for, any liabilities or obligations of
   Seller related to the Assets of Seller or Parent whatsoever, regardless of
   amount, character or description, or whether accrued, contingent, determined,
   undetermined, known or unknown or otherwise, including (without limitation) any
  obligation or liability whatsoever arising from the conduct of Seller's
   business or Parent's business at or prior to the Closing Date other than the
  Assumed Liabilities. Furthermore, and without limiting in any way the
  foregoing, Buyer shall not assume and shall under no circumstances be
  responsible for, and Seller shall retain and be responsible for, any
  liabilities or obligations of Seller related to the employees, consultants and
  contractors of Seller or Parent whatsoever, regardless of amount, character or
  description, or whether accrued, contingent, determined, undetermined, known or
  unknown or otherwise, including (without limitation) any obligation or
  liability whatsoever arising from any employment event or from any employment,
  consulting or contracting agreement related to the periods or entered into
  prior to the Closing. Without limiting the breadth of the foregoing
  provisions, Seller shall retain and be responsible for, any liabilities or
  obligations of Seller arising from any representation by Seller or Parent
  concerning payment of any salary continuation, any representation by Seller or
  Parent concerning extension of any termination date, any representation by
  Seller or Parent concerning payment of any termination allowance, any
  representation by Seller or Parent concerning payment of any retention
  allowance, any representation by Seller or Parent concerning payment of any
  accrued benefit and any representation by Seller or Parent concerning any
  continuation of any fringe benefit.


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         1.5    GUARANTY OF PAYMENT OF ACCOUNTS RECEIVABLE AND INTERCOMPANY
  RECEIVABLES. As a material inducement to Buyer's execution of this Agreement,
  and payment of the consideration hereunder, each of Seller and Parent guarantee
  that the accounts receivable as set forth on the 1997 Balance Sheet in Schedule
  3.6 and the Closing Date Balance Sheet (the "Accounts Receivable") will be
  fully and completely paid and discharged as of the date which is seventy-five
  (75) calendar days after the Closing Date (the Receivable Date"). The unpaid
  balance of all Accounts Receivable as of Receivable Date shall be paid by
  Seller, in the form of a certified or cashier's check, on or before the date
  which is ten (10) business days after the Receivable Date. Payments received
  from customers by Buyer after the Closing Date shall be applied to such
  customer's Account Receivable on a first in, first out basis (that is, to the
  oldest unpaid invoice), unless customer indicates payment is to be applied
  otherwise. Following such payment by Seller, Buyer shall assign all unpaid
  Accounts Receivable to Seller. Any amounts received as payments on the
  Accounts Receivable by Buyer on or after the Receivable Date shall be held by
  Buyer as custodian for Seller and, further, shall be paid by Buyer to Seller
  within ten (10) business days of the end of each calendar month, commencing
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    with the first calendar month ending after the Receivable Date. Buyer shall
    make a reasonable effort to collect the Accounts Receivable and shall
    cooperate, at Seller's request and expense, in collecting Receivables assigned
    to Seller.

           1.6    ALLOCATION OF PURCHASE PRICE. The Purchase Price to be paid by
    Buyer to Seller hereunder shall be allocated among the Assets in a manner to be
    mutually agreed upon by the parties. The parties hereto agree to report this
    transaction for federal and state tax purposes in accordance with such
    allocation of Purchase Price.

                                                    ARTICLE 2

                                                     CLOSING

           The closing (the "Closing") shall be consummated at the offices of
    ALARIS Medical Systems, Inc., 10022 Wateridge Circle, San Diego, CA 92121-2733,
    at 10:00 a.m. (Pacific Standard Time) on May 18, 1998. The date of such
    Closing is herein referred to as the "Closing Date." At the Closing, the
    parties to this Agreement will exchange funds, documents, agreements,
    certificates, opinions and other instruments and documents (including without
    limitation the Conveyance Documents) so as to cause the terms and conditions of
    this Agreement to be satisfied. All documents and instruments delivered at the
    Closing pursuant to this Article 2 shall be dated and effective for all
    purposes as of the Closing Date.

                                                    ARTICLE 3

                                     REPRESENTATIONS AND WARRANTIES
                                          OF SELLER AND PARENT

           Except as set forth in the disclosure schedule attached hereto as
    EXHIBIT F and referencing the specific section of this Article 3 (the
    "Disclosure Schedule"), the Seller and Parent, jointly and severally, hereby
    represent and warrant to Buyer as follows:

           3.1    CORPORATE ORGANIZATION AND CAPITALIZATION. Seller and Parent are
    corporations duly organized, validly existing and in good standing under the
    laws of the State of Ohio, and have full power and authority to carry on their
    respective businesses as now being conducted. The authorized capital stock of
    the Seller consists solely of 15,000,000 shares of Common Stock, $.001 par
    value per share, of which 3,284,102 shares of Common Stock are issued and
    outstanding. There are no outstanding options, warrants, rights, contracts,
    agreements, commitments, understandings or arrangements by which Seller is or
    may be bound or obligated to issue any additional shares of its respective
    capital stock or any security convertible thereto or exchangeable therefor or
    to repurchase any of the foregoing.


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           3.2    AUTHORIZATION. The execution, delivery and performance by Seller
    and Parent of this Agreement, and all documents and instruments contemplated
    hereby, referenced herein or executed in connection herewith (collectively, the
    "Related Documents"), and the consummation by Seller and Parent of the
    transactions contemplated hereby and therein, have been duly authorized and
    approved by all necessary corporate proceedings of Seller and Parent. This
    Agreement and each of the Related Documents have been duly executed and
    delivered by Seller and Parent and each constitutes a legal, valid and binding
    agreement of Seller and Parent, enforceable against Seller and Parent in
    accordance with their respective terms, except as limited by bankruptcy,
    insolvency or other laws of general application relating to the enforcement of
    creditors' rights.

              3.3      TITLE; CONDITION OF ASSETS.             Except as set forth on the
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    Disclosure Schedule, Seller has good, marketable and insurable title to all of
    the Assets, free and clear of all mortgages, liens (tax or otherwise), pledges,
    charges, leases, encumbrances, claims or restrictions of any kind or character.
     The Assets are in good operating condition with no known defects, excepting
    normal wear and tear, and conform with all applicable laws, regulations,
    ordinances and the like.    The Assets constitute all of the material rights and
    properties, tangible or intangible, real or personal, which are used in the
    conduct of the business of Seller, as such business is presently being
    conducted. No other material properties or rights, whether or not owned by
    Seller, are required for the operation of such business as presently being
    operated. Seller is in possession and operating control of all of its assets,
    properties and rights related to the conduct of its business. The Assets are
    not subject to any liability   or obligation of whatever nature, whether known or
    unknown, absolute, accrued, contingent or otherwise.

           3.4    NO VIOLATION. The execution, delivery and performance of this
   Agreement and the Related Documents by Seller and Parent will not (with notice
   and/or the lapse of time) result in a breach or violation of, or constitute a
   material default under, their respective Articles of Incorporation, Code of
   Regulations or any agreement to which Seller or Parent is a party or by which
   Seller or Parent is bound, and will not be in violation of any constitution,
   statute, judgment, order, rule, regulation or other restriction in effect at
   the Closing Date of any court or federal, state or other Governmental Authority
   having jurisdiction over Seller, Parent or the Assets. Neither Seller or
   Parent is a party to, subject to or bound by any agreement or judgment, order,
   writ, injunction or decree of any court or federal, state or other Governmental
   Authority that prevents or impairs the consummation of the transactions
   contemplated by this Agreement or the Related Documents or the rights of the
   Buyer hereunder and thereunder.

           3.5   GOVERNMENTAL AUTHORITIES. Except as set forth in the Disclosure
   Schedule, neither Seller nor Parent is required to submit any notice, report or
   other filing to any Governmental Authority nor is any consent, approval or
   authorization of any Governmental Authority required to be obtained in
   connection with the consummation of the transactions contemplated hereby or in
   the Related Documents.

          3.6   FINANCIAL STATEMENTS.   The Disclosure Schedule contains an
  unaudited Balance Sheet of Seller ("Balance Sheet") as at December 31, 1997 and
  at April 30, 1998 (the "Balance Sheet Date"), and a Statement of Income and
  Expense of Seller for the four-month period then ended (the "Income
  Statement"), collectively referred to herein as the "Financial Statements."
  The Balance Sheet fairly and accurately represents the financial position of
  Seller as of the Balance Sheet Date and the Income Statement accurately
  represents the results of the operations of Seller for such periods, each of
  which has been prepared in accordance with GAAP. Neither Seller, Seller's
  officers, employees or agents or Parent, Parent's officers, employees or agents
  have employed any broker or finder or incurred any liability for any brokerage
  fees, commissions or finders' fees in connection with the transactions
  contemplated hereby or the Related Documents.

         3.7    INVENTORY. All inventory of Seller reflected on the Balance
  Sheet is (except to the extent of reserves reflected thereon) of a quality and
  quantity usable and salable in the ordinary course of Seller's business as of
  the Balance Sheet Date, and all such inventory is reflected on the Balance
  Sheet with adequate provisions or adjustments for damaged, defective or excess
  inventory, slow-moving inventory and inventory obsolescence and shrinkage at
  the lower of cost or realizable market value using the first-in, first-out
  (FIFO) method of valuation in accordance with GAAP consistently applied.


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         3.8    LITIGATION. Except as set forth in the Disclosure Schedule,
  there are no claims, actions, litigation, suits, proceedings or investigations
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    pending or threatened against or affecting any of the Assets or the
    consummation of the transactions contemplated hereby or the Related Documents,
    at law or in equity or before or by any governmental or regulatory authority,
    agency or instrumentality or before any arbitrator of any kind, and there is no
    valid basis for any such claim, action, litigation, suit, proceeding or
    investigation. The Disclosure Schedule contains a list and brief description of
    all claims, actions, litigation, suits, hearings, proceedings or investigations
    relating to the Assets which resulted in a judgment, settlement, compromise,
    release, payment or award of any nature and which arose within three years
    prior to the Closing Date. No governmental or regulatory authority, agency or
    instrumentality has at any time challenged or questioned the legal right of
    Seller to sell any of its products or to provide any of its services in the
    present manner or as contemplated in the conduct of the Seller's business.

           3.9     CONTRACTS. Seller is not (and, to the best knowledge of Seller
    and Parent no other party is) in breach or default under (with notice and/or
    the lapse of time), and there is no valid basis for a claim of breach or
    default under, any material agreement, instrument, commitment, contract or
    other obligation of any type to which Seller is a party or is bound, or to
    which the Assets are subject, and no event has occurred which constitutes or,
    with the lapse of time and/or the giving of notice, will constitute such a
    breach or default. The Assets are not subject to any agreement, contract,
    commitment or instrument maintained by Seller or Parent, or other obligation,
    whether written or oral and of whatever nature. A true copy of each agreement,
    contract, commitment or instrument of the type set forth above has been
    provided to Buyer's counsel prior to Closing and an accurate listing of same
    has been set forth in the Disclosure Schedule ("Scheduled Contracts"). All
    Scheduled Contracts are in full force and effect and are valid, binding and
    enforceable in accordance with their respective terms; all parties to such
    Scheduled Contracts have complied with the provisions thereof; no such party is
    in default under any of the terms thereof and no event has occurred that (with
    the passage of time and/or the giving of notice) would constitute a default by
    any party under any provision thereof. Seller will continue to be entitled to
    the full benefits thereof after the Closing without the consent of or notice to
    any third party and the transactions contemplated hereby and in the Related
    Documents will not create any termination rights in favor of any third party or
    otherwise change the material rights and obligations of the parties thereunder.

           3.10    COMPLIANCE WITH LAW. Seller is, in the conduct of the Seller's
    business and ownership and use of the Assets, in compliance with all applicable
    foreign, federal, state or local laws, statutes, rules, regulations,
    ordinances, codes, orders, licenses, franchises, permits, authorizations and
    concessions (collectively, "Regulations"), as such apply to the Assets,
    including without limitation, any applicable intellectual property law or other
    Regulations in respect of any of Seller's operations related to its business,
    except where its non-compliance could not reasonably be expected to have a
    material adverse effect on the Assets or the transactions contemplated by this
    Agreement.

           3.11    LICENSES, PERMITS AND AUTHORIZATIONS. The Disclosure Schedule
    contains a list of all approvals, authorizations, consents, licenses,
    franchises, orders and other permits of, and filings with, any governmental
    authority, whether foreign, federal, state or local ("Permits"), which are
    required for or benefit the Assets or the conduct of Seller's business. All
    Permits are in full force and effect.

              3.12     ENVIRONMENTAL MATTERS.

                  (a)    The operations of Seller are currently and have at all
    times been in compliance in all material respects with all applicable
    Environmental Laws.

                  (b)    There are not currently nor have there even been any
    underground storage tanks on any real property owned, operated or leased by
    Seller. No Hazardous Material has been stored, generated, treated, discharged
    or released in or upon any real property owned, operated or leased by Seller
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    during the period of such ownership or before the period of Seller's or a
    predecessor of Seller's ownership, lease or operation in violation of, or in a
    quantity reportable under, any Environmental Law or that is reasonably likely
    to result in any material Environmental Costs and Liabilities.


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                  (c)    Seller is not subject to any Environmental Costs and
    Liabilities, and, to Seller's and Parent's knowledge, no facts or circumstances
    exist which could give rise to any Environmental Costs and Liabilities.

                  (d)    The Disclosure Schedule lists all Environmental Permits
   maintained by Seller. Such Environmental Permits are all Environmental Permits
   necessary for Seller's operations and (i) Seller is in compliance in all
   respects with such Environmental Permits, (ii) there are no Legal Proceedings
   pending nor, to Seller's and Parent's knowledge, threatened to revoke such
   Environmental Permits, (iii)  Seller and Parent have not received any notice
   from any Governmental Authority to the effect that there is lacking any
   Environmental Permit required for the current use or operation of any property
   owned, operated or leased by Seller or any of its Affiliates and (iv) the
   consummation of the transactions contemplated hereby will not constitute a
   transfer or assignment of any such Environmental Permits nor will such
   consummation require any filing or registration with or notice to any
   governmental authority and all such Environmental Permits shall remain in full
   force after the Closing Date.

                    (e)     Neither Seller nor any of its Affiliates nor, to Seller's
   and Parent's knowledge, any predecessor of Seller or such Affiliates, are
   subject to any outstanding written Order of any Governmental Authority or other
   Person, or, to the knowledge of Seller or Parent, any federal, state, local or
   foreign investigation respecting (i) actual or alleged violations of
   Environmental Laws, (ii) any Remedial Action or (iii)      any Environmental costs
   and liabilities.     Neither Seller nor any of its Affiliates, nor to Seller's and
   Parent's knowledge, any predecessor of Seller or its Affiliates have received
   any written notice from any Governmental Authority respecting any violation of
   Environmental Laws.

                 (f)    There are no Legal Proceedings pending or, to the Seller's
   and Parent's knowledge, threatened against Seller or any of its Affiliates,
   alleging the violation of any Environmental Law or Environmental Permit.

                (g)    Neither Seller nor any of its Affiliates nor, to the
  Seller's and Parent's knowledge, any predecessor of Seller or any of its
  Affiliates, has filed any notice under federal, state or local law indicating
  past or present treatment, storage or disposal of or reporting a Release of any
  Hazardous Material.

                 (h)   None of the operations of Seller nor any of its Affiliates
  or, to Seller's and Parent's knowledge, of any predecessor of Seller; or any of
  its Affiliates involves or previously involved the generation, transportation,
  treatment, storage or disposal of Hazardous Waste, as defined under 40 C.F.R.
  Parts 260-270 or any state, local or foreign equivalent.

                  (i)  Seller and Parent have not received notice of liability  or
  potential liability at, nor are there any pending or threatened legal
  proceedings with respect to, any facility at which Seller or its Affiliates, or
  to Seller's and Parent's knowledge, any predecessor of Seller or such
  Affiliates, has transported, disposed of, or arranged for the transportation at
  or disposal of any Hazardous Material. There has been no environmental
  investigation, study, audit, test, review or other analysis conducted in
  relation to the current or prior business of the Seller or any of its
  Affiliates, nor to Seller's and Parent's knowledge, any predecessor of Seller
  or its Affiliates or any property or facility now or previously owned or leased
  by any Principal Shareholder, Seller or any of their respective Affiliates,
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    other than those listed on the Disclosure Schedule, copies of which have been
    delivered to Buyer.

                  (j)    There is no asbestos, asbestos-containing building
    materials, polychlorinated biphenyls, or urea formaldehyde presently in use or
    otherwise located at any real property currently owned, operated or leased by
    Seller.

              3.13     TAX MATTERS.       Except as set forth on the Disclosure Schedule:


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                  (a)    All Tax Returns that were or will be required to be filed
    by, or with respect to, Seller on or before the Closing Date have been or will
    be filed on a timely basis in accordance with the laws, regulations and
    administrative requirements of the appropriate Taxing Authority in all
    jurisdictions in which such Tax Returns were or will be required to be filed.
    All such Tax Returns that have been filed were, when filed, and continue to be,
    true, correct and complete.

                  (b)    All Taxes due and payable on or before the Closing Date
    that are either (i) required to be shown on any Tax Return filed by, or with
    respect to, Seller or (ii) which were not required to be shown on any Tax
    Return but which were or will be required to be paid by or with respect to
    Seller, have been or will be timely paid on or before the Closing Date. All
    Taxes that Seller was or will be required by law to withhold or collect have
    been (in the case of those that were already required to be withheld or
    collected) or will be duly withheld or collected and, to the extent required,
    have been (in the case of those that were already required to be paid) or will
    be paid to the appropriate Taxing Authority. There are no Tax Liens, and will
    be no Tax Liens on the Closing Date, with respect to Taxes upon any of the
    properties or assets, real or personal, tangible or intangible, of Seller. Any
    liability of Seller for Taxes not yet due and payable has adequately been
    provided for by Seller on its Financial Statements (whether or not required to
    be disclosed under GAAP).

                  (c)    There is no action, dispute, suit, proceeding,
    investigation, assessment, audit or claim now pending against, or with respect
    to, Seller in respect of any Tax nor is any action, dispute, suit, procedure,
    investigation, assessment, audit or claim for additional Tax expected by Seller
    to be asserted by any Taxing Authority. No Taxing Authority has proposed any
    adjustment with respect to any action, dispute, suit, proceeding,
    investigation, assessment, audit or claim against or with respect to Seller.
    All deficiencies proposed (plus any interest, penalties and additions to Tax
    that were or are proposed to be assessed thereon, if any) with respect to
    Seller have been paid. There are no outstanding waiver or extensions of any
    statute of limitations relating to either the filing of any Tax Return or the
    payment of any Tax for which Seller may be labile and no Taxing Authority has
    either formally or informally requested such a waiver or extension.

                  (d)    No claim has ever been made by any Taxing Authority in any
    jurisdiction in which no Tax Return is filed by, or with respect to, Seller
    that Seller may be subject to taxation by that jurisdiction.

                  (e)    Seller has never been included in a consolidated, combined
    or unitary Tax Return nor has Seller ever been a party to any tax sharing or
    similar agreement or arrangement.

                  (f)    Seller does not have any liability (whether contingent or
    otherwise) for Taxes of any other Person (i) under Treasury Regulations Section
    1.1502-6 (or any successor provision thereto or any similar provision under
    state, local or foreign law); (ii) as a successor or transferee or (iii) by
    contract (whether written or unwritten).


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                  (g)    No consent to the application of Section 341(f)(2) of the
    Code has been filed with respect to any property or assets held or acquired (or
    to be acquired) by Seller.

                  (h)    No property owned by Seller is property that Buyer or
    Seller will be required to treat as being owned by another person pursuant to
    the provisions of Section 168(f)(8) of the Internal Revenue Code of 1954, as
    amended and in effect immediately before the enactment of the Tax Reform Act of
    1986, or is "tax-exempt use property" within the meaning of Section 168(h)(1)
    of the Code.

                  (i)    Seller is neither subject to an adjustment under Section
    481 of the Code nor has been required by, nor has requested or received the
    permission of, any Taxing Authority to change its methods of accounting.


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                 (j)    Seller is not a foreign person within the meaning of
   Section 1445 of the Code and Seller is not and has not been a United States
   real property holding corporation within the meaning of Section 897(c)(2) of
   the Code during the applicable period specified in Section 897(c)(1)(A)(ii) of
   the Code.

                 (k)    Seller does not have in effect any tax elections for
   Federal income tax purposes under Sections 108, 168, 338, 441, 471, 1017, 1033
   or 4977 of the Code.

                 (1)    There is no contract, agreement, plan or arrangement
   covering any Person that, individually or collectively, could give rise to the
   payment of any amount that would not be deductible by Buyer or Seller by reason
   of Sections 162(m) or 28OG of the Code or as excessive or unreasonable
   compensation.

                 (m)    Seller is not a party (other than as an investor) to any
   industrial development bond.

                 (n)    Since May 25, 1995, Seller has never engaged in any
   exchange under which the gain realized on such exchange was not recognized due
   to Section 1031 of the Code.

          3.14   INTANGIBLE PROPERTY RIGHTS. The Disclosure Schedule lists all
   patents, patent applications, inventions, licenses, trade names, trademarks,
   service marks, brandmarks, copyrights or registrations or applications
  therefor, franchises and other assets of like kind (such assets and rights
   herein called "Rights"), used in Seller's business, which are registered in the
   name of Seller or which affect the Assets in any manner whatsoever (including
  any such rights held by Parent), the ownership of all the foregoing being
  separately stated. The expiration dates, if any, of each of the Rights are set
  forth in the Disclosure Schedule by product. Seller or Parent owns and
  possesses all Rights used in the conduct of Seller's business; such Rights are
  adequate for the conduct of Seller's business and the ownership and development
  of the Assets, and will not be adversely affected by the transactions
  contemplated hereby and in the Related Documents; and are not being infringed
  or violated by any other person or entity. All Rights are, and upon the
  consummation of the transactions contemplated by this Agreement and the Related
  Documents will be, vested in Buyer free of any equities, claims, liens,
  encumbrances or restrictions of whatever nature and Seller has not granted any
  license or right thereto to others. No products sold or services provided by
  Seller infringe the rights of others. All licenses granted to Seller by others
  with respect to the business of Seller are set forth in the Disclosure
  Schedule, and all such licenses are freely assignable. No director, officer,
  employee, agent or affiliate of Seller or Parent owns, directly or indirectly,
  in whole or in part, any Rights which the business of Seller has used, or the
  use of which is necessary for or in furtherance of the business of Seller as
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   now conducted or which affect the Assets in any manner whatsoever. All
   technology, data, processes, formulas, trade secrets and the like used in the
   operation of Seller's business (herein called "Know-How") are owned exclusively
   by Seller, free of any equities, claims, liens, encumbrances or restrictions of
   whatever nature and Seller has not granted any license or right thereto to
   others. Upon consummation of the transactions contemplated by this Agreement
   and the Related Documents, Buyer shall have all rights and interest in and to
   such Know-How and Seller shall maintain such in strict confidence, which
   obligation of confidentiality shall survive the Closing hereunder.

           3.15   INSURANCE. The Disclosure Schedule contains a list and brief
    description of each insurance policy to which Seller or Parent has been a
    party, a named insured or otherwise the beneficiary of coverage at any time in
    the past three years in connection with the Assets or Seller's business and of
    individual claims in excess of $50,000, and similar claims in excess, in the
    aggregate, of $200,000 during any 12-month period, made by Seller or Parent
    within three years prior to the date hereof, under any insurance policies.
    Such insurance is adequate in kind and amount to cover known insurable risks of
    Seller and is, and will continue to be, in full force and effect for the
    benefit of the Buyer and the Assets.

           3.16   EMPLOYEE RELATIONS. Seller is in material compliance with all
    applicable laws respecting employment and employment practices, terms and
    conditions of employment, and wages and hours, and there are no arrears in the
    payment of wages or social security taxes. Seller has no continuing obligation
    for health, life, medical insurance or other similar fringe benefits to any
    former employee of the Seller. Seller has no accrued or unfunded liabilities
    with respect to employees who have been terminated or given notice of
    termination prior to the Closing Date. Seller has provided to Buyer a true,
    correct and complete list of the payroll of Seller as at the Closing


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    Date, including the job descriptions and salary or wage rates of, and bonuses
    payable to, each of its employees. The Disclosure Schedule sets forth a list
    of all employment or compensation agreements with each officer and employee of
    Seller (including all severance, "stay-put" and similar agreements and all
    agreements which result in the creation or occurrence of any right, duty or
    obligation based upon, or as a result of, any change of control of Seller or
    its assets. To Seller's knowledge, no executive, key employee or group of
    employees has any plans to terminate employment with Seller.

          3.17   LABOR MATTERS. Seller has not experienced any labor disputes or
   any work stoppages due to labor disagreements and there is no such dispute or
   work stoppage threatened against Seller. No employee of Seller is represented
   by any union or collective bargaining agent and to the knowledge of Parent and
   Seller, there has been no union organizational effort in respect of any
   employees of Seller since December 31, 1996. There are no pending or, to the
   knowledge of Parent and Seller, threatened Legal Proceedings by any Person or
   Governmental Authority against Seller with respect to any violation or alleged
   violation of any applicable federal, state or local laws, rules or regulations
   (a)prohibiting discrimination on any basis, including, without limitation, on
   the basis of race, color, religion, sex, disability, national origin or age or
   (b)relating to employment or labor, including, without limitation, those
   related to immigration, wages, hours or plant closing.

              3.18     BENEFIT PLANS.

                  (a)    The Disclosure Schedule sets forth a complete and correct
    list of all "employee benefit plans," as defined in Section 3(3) of ERISA, and
    all plans, programs, policies, arrangements or agreement with respect to
    employment, termination, severance pay, vacation pay, company awards, salary
    continuation, disability, sick leave, retirement, deferred compensation, bonus
    or other incentive compensation, stock purchase, stock option or other
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   equity-based compensation, hospitalization, medical insurance, life insurance,
   educational assistance, arrangements or other employee benefit arrangements
   (whether written or oral) covering employees or former employees of Seller, or
   with respect to which Seller has any obligation or liability ("Benefit Plans").

                 (b)    True, correct and complete copies of the following
   documents, with respect to each of the Benefit Plans, have been delivered to
   Buyer: (i) any plans and related trust documents, including all amendments
   thereto, (ii) the three most recent annual reports (Forms 5500) and schedules
   thereto, (iii) the most recent financial statements and actuarial valuations if
   any, (iv) the most recent IRS determination letter, (v) the most recent summary
   plan descriptions, and (vi) the premium expenses and claims experience for each
   Benefit Plan which is a welfare benefit plan for the period from January 1,
   1996 to the last day of the month preceding the date hereof.

                 (c)    Each of the Benefit Plans intended to quality under
   Section 401 of the Code has been so qualified since its inception and has
   received a favorable determination letter from the IRS as to such qualified
   status, and nothing has occurred with respect to the operation of any such plan
   which could cause the loss of such qualification or the imposition of any
   material liability, penalty or tax under ERISA or the Code.

                 (d)    Each of the Benefit Plans has been administered in
   accordance with its terms and has been maintained in compliance, in form and
   operation, with all applicable laws, including, without limitation, ERISA and
   the Code. Neither the Seller nor any "party in interest" or "disqualified
   person" with respect to the Benefit Plans has engage in a non-exempt prohibited
   transaction within the meaning of Section 4975 of the Code or Section 406 of
   ERISA.

                (e)    All contributions and premiums required to be made by law
  or by the terms of any Benefit Plan or any agreement related thereto have been
  timely made, and no accumulated funding deficiency (as defined in Section 412
  of the Code) exists with respect to any of the Benefit Plans subject to Section
  412 of the Code. With respect to the Benefit Plans, individually and in the
  aggregate, there are no funded benefit obligations for which contributions are
  due and have not been made or for which contributions are due and have not been
  made or for which contributions have not been properly accrued as required by
  GAAP and there are no unfunded benefit


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  obligations which have not been (i) accounted for by reserves (if required by
  GAAP) or (ii) if required (and to the extent required, if any), properly
  disclosed in accordance with GAAP, in the Balance Sheet.

                (f)    Seller does not currently maintain, sponsor or contribute
  to (nor is it required to contribute to) any "defined benefit plan" as defined
  in Section 3(35) of ERISA, any "multiemployer plan" as defined in Section 3(37)
  of ERISA or any "multiple employer plan" within the meaning of Sections 4063 or
  4064 of ERISA. With respect to any "employee benefit plan" (as defined in
  Section 3(3) of ERISA), or any similar plan maintained outside of the United
  States, whether or not terminated currently or formerly maintained or
  contributed by Seller or any entity which was at any time treated as a single
  employer, determined under Section 414(b), (c), (m) or (o) of, the Code, with
  Seller, no liability currently exists and no event has occurred and no
  condition exists, which could subject Seller, Parent or Buyer directly or
  indirectly (through an indemnification agreement or otherwise) to any
  liability, including without limitation, any liability under Title IV of ERISA,
  including without limitation Sections 4064, 4069 or 4204 of ERISA, or Section
  412, 4971, 4975 or 4980B of the Code. Seller has not engaged in, or is a
  successor or parent corporation to an entity that has engaged in, a transaction
  described in Section 4069 of ERISA.


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                  (g)    There have been no Legal Proceedings instituted or claims
    asserted against any of the Benefit Plans, the assets of any such plans or
    Seller, or the plan administrator or any fiduciary of the Benefit Plans with
    respect to the operation of such plans (other than routine benefit claims), and
    there are no facts or circumstances which are reasonably likely to form the
    basis for any such Legal Proceeding or claims.

                  (h)    Neither the execution and delivery of this Agreement nor
    the consummation of the transactions contemplated hereby will (i) result in any
    payment becoming due to or increase any compensation of any current or former
    director, officer or employee of Seller, (ii) increase any benefits otherwise
    payable under any Benefit Plan, or (iii) result in the acceleration of the time
    of payment or vesting of any such compensation or benefits.

                  (i)    Seller does not provide, and is not obligated to provide,
    medical, hospital, dental, life or other similar benefits to any current or
    former employee after his or her termination of employment with Seller, except
    as may be required under Section 498OB of the Code and Part 6 of Subtitle B of
    Title I of ERISA.

                  (j)    Except as set forth on the Disclosure Schedule, there is
    no contract, agreement, plan or arrangement, covering any employee of Seller
    that, individually or collectively, could give rise to the payment of any
    amount that would not be deductible by virtue of Section 28OG of the Code.

           3.19   BANKS. The Disclosure Schedule sets forth: (i) the name of
    every bank in which Seller has an account or safe deposit box; (ii) the
    identifying numbers of all such accounts and safe deposit boxes and (iii) the
    names of all persons having power to borrow, discount debt obligations, cash or
    draw checks or otherwise act on behalf of Seller in any dealings with such
    banks.

          3.20   CAPITAL EXPENDITURES. The Disclosure Schedule sets forth a list
   of each of Seller's approved capital expenditure projects (including without
   limitation, each construction project) involving in excess of $50,000
   including: (i) projects which have been commenced but are not yet completed;
   (ii) projects which have not been commenced and (iii) projects which have been
   completed in respect of which payment has been made, within the past twelve
   (12) months.

           3.21   PRODUCTS LIABILITY AND PERSONAL INJURY CLAIMS. The Disclosure
    Schedule sets forth a list of all claims for products liability or personal
    injury due to, resulting from or associated with, any product manufactured or
    supplied by Seller now pending against Seller or which have been pending
    against Seller at any time during the past three years.


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           3.22   POWERS OF ATTORNEY. The Disclosure Schedule sets forth a list of
    the names of all persons holding powers of attorney from Seller or authorized
    to act as agents for Seller.

           3.23   PRODUCT WARRANTIES. The Disclosure Schedule sets forth the forms
    of Seller's product warranties that are currently applicable to products sold
    by Seller or in respect of which Seller is obligated.

           3.24   ABSENCE OF CERTAIN CHANGES. Except as set forth in the
    Disclosure Schedule, since the Balance Sheet Date, Seller has operated its
    business in the ordinary and usual course and in a manner consistent with past
    practice, and without limiting the generality of the foregoing, there has not
    been:

                  (a)    any change or any event, occurrence, development or fact
    that alone or in the aggregate has had, or would reasonably be expected to
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    have, a Material Adverse Effect with respect to Seller;

                         (b)       any amendment to Seller's articles of incorporation or
    bylaws;

                   (c)    any employment contract or collective bargaining
    agreement, written or oral, entered into or materially modified by Seller, any
    increase in or agreement to increase the base compensation payable to (except
    such increases which are in the ordinary course of Seller's business,
    consistent with past practice, or as otherwise disclosed herein) or any other
    material change in employment or compensation or benefits with respect to any
    director, officer or employee, or adoption, repeal, amendment or modification
    of any bonus, profit-sharing, retirement deferred compensation, incentive,
    severance or other Benefit Plan, contract or commitment by Seller;

                        (d)       any incurrence or assumption by Seller of any material
    Indebtedness;

                  (e)    the imposition of any material Encumbrance upon any of the
    assets, tangible or intangible, of Seller;

                 (f)    any material damage, destruction or loss with respect to
   the properties or assets of Seller, whether or not covered by insurance;

                 (g)    any payment, loan or advance of any amount to, or sale,
   transfer or lease of any of Seller's assets to, or any agreement or arrangement
   with, any shareholder of Seller or any of their respective Affiliates;

                 (h)    any change in the Tax or accounting principles, methods,
   practices or procedures followed by Seller or any change in the depreciation or
   amortization policies or rates theretofore adopted by Seller, except as
   required by GAAP and disclosed to Buyer;

                 (i)     any change or revocation by Seller of any Tax election or
   any agreement or settlement with any Taxing Authority;

                 (j)     any acquisition by Seller by merging or consolidating
   with, or by purchasing a substantial portion of the assets of, or by any other
   manner, any business or corporation, partnership, association or other business
   organization or division thereof;

                  (k)   any sale, lease or other transfer or disposition by Seller
   of a material amount of its assets, tangible or intangible, other than for fair
   consideration in the ordinary course of business in a manner consistent with
   past practice;

                 (1)    any contract (or series of related contracts) entered into
   by Seller either involving more than $25,000 individually (or $50,000 in the
   aggregate) or outside the ordinary course of business;


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                (m)    any acceleration, termination, material modification or
  cancellation of any contract involving more than $25,000 individually (or
  $50,000 in the aggregate) to which Seller is a party or by which it or its
  properties is bound;

                (n)    any capital expenditure (or series of related capital
  expenditures) by Seller either involving more than $25,000 individually (or
  $50,000 in the aggregate) or outside the ordinary course of business;

                (o)    any capital investment in, any loan to or any acquisition
  of the securities or assets of, any other person;


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                  (p)    any material delay or postponement of payment of accounts
    payable or other liabilities of Seller outside the ordinary course of business
    consistent with past practice;

                      (q)        any cancellation, compromise, waiver or release of any
    material right or claim of Seller outside the ordinary course of business;

                  (r)    any license or sublicense of any rights of Seller under or
    with respect to its intellectual property Rights; or

                  (s)    any agreement, undertaking or legal obligation, whether in
    writing or otherwise, by Seller to do any of the foregoing.

              3.25     TITLE TO PROPERTY; LEASES; ENCUMBRANCES.

                  (a)    Except as set forth on the Disclosure Schedule, Seller has
    good and valid title to all assets (other than real property or interests in
    real property) reflected on the Balance Sheet or thereafter acquired, except
    for those since sold or otherwise transferred or disposed of in the ordinary
    course of business consistent with past practice, in each cash free and clear
    of Encumbrances except Permitted Liens.

                  (b)    Seller does not own and has never owned any fee interest
    in any real property. The Disclosure Schedule sets forth a complete list of
    all real property and interests in real property leased by Seller ("Leased Real
    Property"). Seller has a good and valid and binding leasehold interest in the
    Leased Real Property, free and clear of all Encumbrances except Permitted
    Liens. Seller has no obligations to perform any capital improvements and all
    capital improvements required to be made by Seller under the leases are fully
    paid for.

                 (c)    The plants, buildings, structures and equipment of Seller
   are substantially free of defects, are in good operating condition and repair
   and have been reasonably maintained consistent with standards generally
   followed in the industry (giving due account to the age and length of use of
   same, ordinary wear and tear excepted), are substantially suitable for their
   present uses and, in the case of plants, buildings and other structures
   (including, without limitation, the roofs thereof), are structurally sound.

           3.26 PRODUCTS. Set forth on the Disclosure Schedule is a list of all of
    Seller's products. Each of the products sold by Seller: (a) is, and at all
    times up to and including the sale thereof has been, in compliance in all
    material respects with all applicable federal, state,local and foreign laws and
    regulations and (b) is, and at all relevant times has been, fit for the ordinary
    purposes for which it is intended to be used and conforms in all material
    respects to any promises or affirmations of fact made in all regulatory filings
    pertaining thereto and made on the container or label for such product or in
    connection with its sale. There is no design or manufacturing defect with
    respect to any of such products. Seller has not received written notice of any
    product warranty claims other than such claims as do not exceed, in the
    aggregate, the applicable reserve therefor reflected on the Balance Sheet.
    Warranty reserves are established and reflected on the Financial Statements to
    insure that the estimated costs of


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    providing warranty services or upgrades, improvements and extended service
    pursuant to contractual obligations are recognized in the period in which the
    sale of products is recorded prior to and as of the Closing Date.

           3.27   FDC/FDA COMPLIANCE. Seller warrants that it is in compliance
    with the provisions of the Federal Food, Drug and Cosmetic Act ("FDC Act")
    relating to medical devices. Specifically, Seller warrants and represents that
    each device that it manufactures or distributes is the subject of a 51O(k)
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    premarket notification which resulted in a finding of substantial equivalence
    by the FDA. Seller warrants that none of the devices found substantially
   equivalent by FDA have been modified in such a manner as to require the
    submission of a new 51O(k) premarket notification, and that none of the devices
   have been labeled or promoted in such a manner as to require the submission of
   a new 51O(k) notification.   Seller warrants that all the devices that it
   distributes are listed with the FDA, and that Seller has registered with FDA.
   Seller warrants that all devices are manufactured in accordance with the
   current Good Manufacturing Practices regulations. 21 C.F.R. Part 820. Seller
   warrants that it has submitted all reports necessary to be submitted in
   accordance with the Medical Device Reporting regulations. 21 C.F.R. Part 803.
   Seller warrants that it has labeled and promoted its devices in accordance with
   the provisions of the FDC Act and FDA's implementing regulations. Seller
   further represents and warrants that its devices are not misbranded,
   adulterated, or otherwise in violation of the FDC Act or FDA's regulations.

           3.28        GUARANTIES. Seller is not a guarantor or otherwise is liable for
   any liability       or obligation (including indebtedness) of any other Person.

           3.29  NOTES AND ACCOUNTS RECEIVABLE. All notes and accounts receivable
   of Seller are reflected properly on their books and records, are valid
   receivables subject (to Seller's knowledge after due inquiry) to no setoff or
   counterclaims, are current and collectible, and will be collected in accordance
   with their terms at their recorded amounts, subject only to the reserve for bad
   debts set forth on the Balance Sheet as adjusted for the passage of time
   through the Closing Date in accordance with the past custom and practice of
   Seller.

          3.30   PAYMENTS. Neither Seller, nor any of its officers, directors,
   employees or, to the best knowledge of Seller, agents, has, directly or
   indirectly, within three years prior to the date hereof, given or made or
   agreed to give or make any material political contribution or any material
   questionable, improper or illegal commission, payment, gratuity, gift, or
   similar benefit to any customer, supplier, governmental employee or other
   person (foreign or domestic) who is or may be in a position to help or hinder
   Seller's business (or assist Seller in connection with any actual or proposed
   transaction). Seller, has not participated, during such period, directly or
   indirectly, in any boycotts or similar practices in connection with the Assets.

          3.31  CUSTOMERS AND SUPPLIERS. The Disclosure Schedule hereto contains
  a list of Seller's ten largest customers and suppliers (measured by dollar
  volume in each case) during the calendar year 1997 and during the first three
  months of 1998, showing with respect to each, the name and address, dollar
  volume and nature of the relationship (including the principal categories of
  products bought or sold). Seller is not required to provide any bonding or
  other financial security arrangements in connection with any of the
  transactions with any of its customers or suppliers in the ordinary course of
  Seller's business. Seller has not received any direct communication (whether
  oral or written) of any intention of any customer identified on the Disclosure
  Schedule to discontinue its relationship as a customer of, or materially reduce
  its purchases from Seller (or, post-Closing, from Buyer).

          3.32  NO MISSTATEMENTS. Neither this Agreement or the Related
  Documents, nor any other document, certificate or written statement prepared or
  furnished by Seller, Parent or their respective representatives and furnished
  to Buyer or Buyer's representatives in connection herewith or therewith,
  contain any untrue statement of material fact or omits to state a material fact
  necessary in order to make the statements contained herein and therein not
  misleading as of the date hereof or thereof. There is no fact known to Seller
  or Parent that adversely affects the value of the Assets or the Seller's
  business, prospects, financial condition or operations which has not been set
  forth in this Agreement or the Disclosure Schedule.

                                                  ARTICLE 4



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                           REPRESENTATIONS AND WARRANTIES OF BUYER

              Buyer hereby represents and warrants to the Seller as follows:

           4.1    ORGANIZATION; AUTHORITY. Buyer is a corporation duly organized,
    validly existing and in good standing under the laws of the State of Delaware,
    and has all requisite power and authority to enter into this Agreement and
    perform its obligations hereunder.

           4.2    AUTHORITY RELATIVE TO AGREEMENT. The execution, delivery and
    performance of this Agreement and the Related Agreements by Buyer and the
    consummation of the transactions contemplated hereby and therein, have been
    duly and validly authorized by all necessary corporate action of Buyer. This
    Agreement and the Related Agreements have been duly executed and delivered and
    constitute the legal, valid and binding obligations of Buyer, each enforceable
    in accordance with their respective terms, except as limited by bankruptcy,
    insolvency, or other laws of general application relating to the enforcement of
    creditor's rights.

           4.3    NO CONFLICT WITH OTHER INSTRUMENTS OR AGREEMENTS. The execution,
    delivery and performance of this Agreement or the Related Agreements by Buyer
    will not result in a material breach or violation of, or constitute a material
    default under, Buyer's Articles of Incorporation, Bylaws or any agreement to
    which Buyer is a party or by which Buyer is bound or to which any of Buyer's
    property is subject and, to the best of Buyer's knowledge, will not be in
    violation of any statute, judgment, order, rule or regulation in effect at the
    date hereof of any court or federal, state or other regulatory authority or
    governmental body having jurisdiction over Buyer.

                                             ARTICLE 5

                       CONDITIONS PRECEDENT TO THE OBLIGATIONS OF BUYER

           Each and every obligation of Buyer under this Agreement to be performed
    on or before the Closing Date shall be subject to the satisfaction, on or
    before the Closing Date, of the following conditions precedent, except to the
    extent that Buyer shall have waived such satisfaction in writing:

           5.1     PERFORMANCE. Each of Seller and Parent shall have performed and
    complied with all agreements, covenants and conditions required by this
    Agreement to be performed and complied with by Seller and/or Parent on or
    before the Closing Date. Buyer shall have received a certificate of each of
    the President or Chief Financial Officer of the Seller and Parent dated as of
    the Closing Date and certifying to the fulfillment of the foregoing conditions
    and the absence of any material adverse change, in a form reasonably acceptable
    to Buyer and its counsel.

           5.2    NON-COMPETITION AGREEMENTS.   Parent and Buyer shall have each
    entered into a Non-Competition Agreement ("Non-Competition Agreement") in
    substantially the same form as attached EXHIBIT G.

           5.3    CERTAIN AGREEMENTS. Seller and Buyer shall have entered into the
    Bill of Sale, Patent Assignment Agreement, 51O(k) Assignment Agreement and the
    Assignment of Lease Agreement attached hereto as EXHIBITS A, B, C and H.

           5.4    OPINION OF SELLER'S COUNSEL. Buyer shall receive an opinion of
    the Seller's counsel, dated the Closing Date, in form and substance reasonably
    satisfactory to Buyer and its counsel.

           5.5    RELEASE OF CLAIMS. Seller shall deliver a release ("Release") to
    Buyer of all claims or rights of Seller with respect to the Assets or against
    Buyer in connection with the transactions contemplated by this Agreement and
    the Related Documents, in substantially the same form as attached EXHIBIT I.
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           5.6    APPROVAL. This Agreement and the Related Documents and the
    transactions contemplated hereby and thereby shall have been approved by
    Seller's Board of Directors and by Buyer's Board of Directors.

           5.7    GOVERNMENTAL APPROVALS. As of the Closing, all authorizations,
    approvals or permits of or filings with any governmental authority that were
    required by law prior to and in connection with the transfer of the Assets or
    the transactions contemplated by this Agreement or the Related Documents shall
    have been duly obtained or made and shall be effective as of the Closing.

          5.8    BULK SALES COMPLIANCE. Seller shall have complied with any
   applicable bulk sales laws and regulations, or provided its indemnity for any
   Claims and Losses (as defined in Section 7.1) resulting from failure to so
   comply in lieu thereof

          5.9     DUE DILIGENCE. Buyer shall have completed financial, business
   and legal due diligence reviews satisfactory to Buyer and its agents and
   representatives, including: (i) review of financial statements and accounting
   and legal records; (ii) completion of an operational review and evaluation,
   including review for compliance with Regulatory Requirements; and (iii)
   completion of satisfactory physical inspections with respect to certain
   equipment and other tangible assets.

          5.10   THIRD PARTY ARRANGEMENTS AND APPROVALS. Seller shall have
   confirmed to Buyer's satisfaction the continuation of all Seller's key
   employees and the receipt of any required third party approvals to the
   transactions contemplated herein such that all material contract rights of
   Seller remain in full force and effect after the Closing.

          5.11   HIRING OF CERTAIN EMPLOYEES. As of the Closing, Buyer shall have
   had the opportunity to hire the employees and retain the contractors and
   consultants of Seller designated on attached EXHIBIT D, and Seller shall not
   have prevented or impeded such hiring or retention. Any such employees,
   contractors or consultants actually hired or retained by Buyer shall have
   executed the Proprietary Information and Inventions Agreement in the form
   provided by Buyer and its counsel.

                                                    ARTICLE 6

                                       CONDITIONS PRECEDENT TO THE
                                     OBLIGATIONS OF SELLER AND PARENT

          Each and every obligation of Seller and/or Parent under this Agreement
  to be performed on or before the Closing Date shall be subject to the
  satisfaction, on or before the Closing Date, of each of the following
  conditions precedent, except to the extent that the Seller and/or Parent, as
  appropriate, shall have waived in writing such satisfaction.

         6.1    PERFORMANCE. Buyer shall have performed and complied with all
  agreements, covenants and conditions required by this Agreement to be performed
  and complied with by Buyer on or before the Closing Date. Seller shall have
  received a certificate of the President or Chief Financial Officer of the Buyer
  dated as of the Closing Date and certifying to the fulfillment of the
  foregoing, in a form reasonably acceptable to Seller, Parent and their counsel.

         6.2    APPROVAL. This Agreement and the Related Documents and the
  transactions contemplated hereby and thereby shall have been approved by
  Seller's Board of Directors and by Buyer's Board of Directors.

         6.3    GOVERNMENTAL APPROVALS. As of the Closing, all authorizations,
  approvals or permits of or filings with any governmental authority that were
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    required by law prior to and in connection with the transfer of the Assets or
    the transactions contemplated by this Agreement or the Related Documents shall
    have been duly obtained or made and shall be effective as of the Closing.


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           6.4    RESALE CERTIFICATE. Buyer shall have delivered to Seller a valid
    California Resale Certificate with respect to that portion of the Assets
    consisting of inventory.

                                               ARTICLE 7

                                           INDEMNIFICATION

              7.1    GRANT OF INDEMNITY.

                  (a)    INDEMNIFICATION BY SELLER. As an inducement to Buyer to
    enter into this Agreement and the Related Documents, and acknowledging that
    Buyer is relying on the indemnification provided in this Section 7 in entering
    into this Agreement and the Related Documents, Seller and Parent, jointly and
    severally, agree, to indemnify, defend and hold harmless Buyer and its
    affiliates, parent corporation and subsidiaries, and their respective
    employees, officers, directors, representatives, agents, counsel, successors
    and assigns (collectively, "Buyer Affiliates"), from and against any claims,
    losses, liability, obligations, lawsuits, judgments, settlements, governmental
    investigations, deficiencies, damages, costs or expenses of whatever nature,
    whether known or unknown, accrued, absolute, contingent or otherwise including,
    without limitation, interest, penalties, attorneys' fees, costs of
    investigation and all amounts paid in defense or settlement of the foregoing,
    reduced by and to the extent of any insurance proceeds received with respect to
    any of the foregoing (collectively "Claims and Losses"), suffered or incurred
    by Buyer or Buyer Affiliates as a result of or in connection with the
    following: (i) any and all debts, liabilities and obligations of Seller or
    related to the Assets (other than the Assumed Liabilities), whether known or
    unknown, accrued, absolute, contingent or otherwise, arising out of or relating
    to the business and operations of Seller or related to the Assets prior to or
    on the Closing Date or which arise after the Closing Date but which are based
    upon or arise out of any act, transaction, circumstance, state of facts or
    other condition which occurred or existed on or before the Closing Date,
    whether or not then known, accrued, due or payable; (ii) a breach of any
    obligation, representation, warranty, covenant or agreement of Seller or Parent
    in this Agreement or any Related Document, or because any representation or
    warranty by Seller and Parent contained in this Agreement or any Related
    Document, in any document furnished or required to be furnished pursuant to
    this Agreement by Seller or Parent to Buyer or any of its representatives, or
    any documents furnished to Buyer in connection with the Closing hereunder,
    shall be false; (iii) any litigation arising out of or based upon events or
    operative facts occurring prior to or on the Closing Date, in connection with
    the Seller or the Assets, whether or not disclosed on the Disclosure Schedule,
    including claims, without limitation, made by employees or former employees of
    Seller or Parent; (iv) any and all claims, including legal, administrative or
    creditor claims or actions, in connection with the Seller or the Assets or the
    transfer of Assets hereunder, if any fact material to any such claim or cause
    of action pleaded or stated there occurred prior to or on the Closing Date; and
    (v) costs and expenses (including reasonable attorneys' fees) incurred by Buyer
    in connection with any demand, action, suit, proceeding, demand, assessment or
    judgment incident to any of the foregoing (collectively, "Buyer's Damages").

                  (b)    INDEMNIFICATION BY BUYER. As an inducement to Seller to
    enter into this Agreement and the Related.Documents, and acknowledging that
    Seller and Parent are relying on the indemnification provided in this Section 7
    in entering into this Agreement and the Related Documents, Buyer agrees to
    indemnify, defend and hold harmless Seller, Parent and their respective
    affiliates, agents, successors and assigns (collectively, "Seller/Parent
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   Affiliates"),  from and against any Claims and Losses suffered or incurred by
   Seller or Parent as a result of or in connection with the following: (i) a
   breach of any obligation, representation, warranty, covenant or agreement of
   Buyer in this Agreement or any Related Document, or because any representation
   or warranty by Buyer contained in this Agreement or any Related Document, in
   any document furnished or required to be furnished pursuant to this Agreement
   by Buyer to Seller and/or Parent, or any of their representatives, or any
   documents furnished to Seller and/or Parent in connection with the Closing
   hereunder, shall be false; (ii) any and all liabilities  of Seller or Parent of
   any nature arising solely out of the Assets after the Closing Date except for
   matters which are the subject of indemnification pursuant to Section 7.1(a);
   and (iii)  costs and expenses (including reasonable attorneys' fees) incurred by
   Seller or Parent in connection with any action, suit, proceeding, demand,
   assessment or judgment incident to any of the foregoing (collectively,
   "Seller/Parent Damages").


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                   (c)   DEFENSE AND SETTLEMENT. Buyer shall have the right to
   defend a claim of infringement or misappropriation asserted by a third party
   with litigation counsel of its choice and shall instruct said counsel to
   diligently and energetically defend. Buyer shall keep Seller apprised of the
   developments in the action. Seller shall cooperate in the defense of each and
   every claim. Without limitation, the cooperation shall include making available
   documents and or witnesses as may be within the control of Seller, cooperating
   in assisting Buyer to determine all particulars of operation of the accused
   product or method, and in identifying and proving counterclaims against the
   third party. Buyer shall retain control of the litigation and shall therefore,
   have the right to make the final decision with respect to defenses,
   counterclaims and strategy. Seller shall strictly observe all conduct and
   communication rules that litigation counsel shall impose with respect to the
   claim or litigation,  including, but not limited to, issuance of press releases,
   public statements and even to statements to individuals within the employ of
   Seller who either do not have a strict need to know, or, to whom communication
   would be restricted by reason of any protective order in effect. Buyer shall
   be entitled to settle any third party claim in any manner which, in Buyer's
   sole judgment, is appropriate, and Seller shall cooperate and comply with such
   acts as shall be required to accomplish settlement.

              7.2   REPRESENTATION, COOPERATION AND SETTLEMENT.

                (a)    Each party agrees to give prompt notice to the other, of
  any claim against the other, which might give rise to a claim based on the
  indemnity contained in Sections 7.1 and 7.2, stating the nature and basis of
  the claim and the amount thereof.

                 (b)     In the event any claims, action, suit or proceeding is
  brought against a party (the "Indemnified Party") with respect to which the
  other party (the "Indemnifying Party") may have liability   under the indemnity
  contained in Sections 7.1 and 7.2 hereof, the Indemnified Party shall permit
  the Indemnifying Party to assume the defense of any such claim or any
  litigation resulting from such claim, provided that Buyer shall not be required
  to permit Seller or Parent to assume the defense of any third party claim which
  if not first paid, discharged, or otherwise complied with would result in a
  material interruption or cessation of the conduct of Buyer's business or any
  material part thereof or materially impair the value of the Assets. Failure by
  the Indemnifying Party to notify the Indemnified Party of its election to
  defend any such claim or action by a third party within thirty (30) days after
  notice thereof shall have been given by the Indemnified Party, shall be deemed
  a waiver of any such election. If the Indemnifying Party assumes the defense of
  such claim or litigation resulting therefrom, the obligations of the
  Indemnifying Party hereunder as to such claim shall include taking all steps
  reasonably necessary in the defense or settlement of such claim or litigation
  resulting therefrom, including the retention of competent counsel satisfactory
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    to the Indemnified Party, and holding the Indemnified Party harmless from and
    against any and all damage resulting from, arising out of, or incurred with
    respect to any settlement approved by the Indemnifying Party or any judgment in
    connection with such claim or litigation resulting therefrom. The Indemnifying
    Party shall not, in the defense of such claim or litigation, consent to the
    entry of any judgment (other than a judgment of dismissal on the merits without
    costs) except with the written consent of the Indemnified Party nor enter into
    any settlement (except with the written consent of the Indemnified Party) which
    does not include as an unconditional term thereof the giving by the claimant or
    the plaintiff to the Indemnified Party a release from all liability in respect
    to such claim or litigation.

                  (c)    If the Indemnifying Party shall not assume the defense of
    any such claim by a third party or litigation resulting therefrom, the
    Indemnified Party may defend against such claim or litigation in such manner as
    it deems appropriate. The Indemnifying Party shall, in accordance with the
    provisions hereof, promptly reimburse the Indemnified Party for the amount of
    any settlement reasonably entered into by the Indemnified Party and for all
    damage incurred by the Indemnified Party in connection with the defense against
    or settlement of such claim or litigation.

           7.3 INTEREST. In the case of payments to third parties (including
    federal, state, local or other tax authorities) which are indemnifiable
    hereunder, the amount of the indemnifying party's liability under this Article 7
    with respect thereto shall include interest on the amount of such payment from
    the effective date of the indemnified party's notice of such payment to the
    indemnifying party or the date on which such payment is made (whichever is
    later) through the date on which the indemnified party shall have been
    indemnified therefor, at a simple rate of


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    interest equal to eight percent (8%) per annum; provided, in no event shall
    such rate exceed the maximum rate permitted by law.

           7.4    SURVIVAL OF REPRESENTATIONS AND WARRANTIES. All the
    representations and warranties of the Seller and Parent contained in Article 3
    and of the Buyer in Article 4 above shall survive the Closing hereunder and
    shall continue in full force and effect after such Closing for a period of
    thirty (30) months after the Closing Date; provided, however, that (i) the
    representations and warranties in Sections 3.12, 3.13 and 3.18 shall continue
    to survive after the Closing Date until the expiration of all applicable
    statutes of limitations, and (ii) the representations and warranties in Section
    3.14 shall continue to survive after the Closing Date for a period of five (5)
    years.

              7.5      LIMITATIONS ON INDEMNIFICATION.

                  7.5.1 Notwithstanding the other provisions of Section 7 hereof,
    the Buyer agrees that with respect to demands by Buyer for indemnification for
    Claims and Losses relating to breaches of representations or warranties by the
    Seller:

                         (a) The Seller shall indemnify Buyer only for the amount
    by which the aggregate of all Claims actually suffered exceeds Fifty Thousand
    Dollars ($50,000.00) (this sum being referred to hereafter as the "Deductible").

                         (b) No demand for indemnification under Section 7 shall
    be made with respect to any Claim that is not for an amount at least equal to
    One Thousand Dollars ($1,000.00) (a "De minimis Claim"), and no De minimis
    Claim shall be taken into account for the purpose of determining whether the
    aggregate Claims exceed the Deductible.

                                (c) The maximum total liability for all Claims shall be
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    the total Purchase Price.

                  7.5.2 Notwithstanding the other provisions of Section 7 hereof,
    the Buyer agrees that with respect to demands by Buyer for indemnification for
    any Claims hereunder against the Seller:

                        (a) No demand for indemnification under Section 7 shall
   be made with respect to any claim to the extent the Claim arises wholly as a
   result of the passing or amending after the Closing Date of a statute, rule or
   other government regulation with retroactive effect.

                        (b) The amount of any Claim subject to indemnification
   shall be determined after taking into account the present value of any tax
   benefits (net of tax detriments) accruing to Buyer (or any member of its
   consolidated group) as a result of such Claim, but only to the extent that the
   present value of the tax benefits can be estimated based upon assumptions
   reasonable under the circumstances.

                                                   ARTICLE 8

                            TRANSACTIONS SUBSEQUENT TO THE CLOSING DATE

          8.1    FURTHER ASSURANCES. From time to time after the Closing Date,
   the parties shall execute, deliver and acknowledge all such further instruments
   of transfer and conveyance and shall perform all such other acts as any other
   party may reasonably request to more effectively transfer the Assets and to
   otherwise carry out the transactions contemplated by this Agreement and the
   Related Documents.

          8.2 SALES AND USE TAXES. Any sales, use or other transfer tax which is
   payable as the result of the transactions contemplated by this Agreement shall
   be paid by Seller in full compliance with applicable law.


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         8.3    CONTINUED COOPERATION. Each of the parties hereto shall continue
  to cooperate after the Closing to effect the substance and intent of the
  transactions described in this Agreement.

         8.4    FULL ACCESS. Subsequent to the Closing, each of Seller and
  Parent shall, upon request, provide Buyer and Buyer's representatives with any
  information as Buyer may reasonably request in order to verify performance of
  and compliance with the representations, warranties, covenants and conditions
  applicable to Seller and Parent hereunder or the Related Documents.

                                                  ARTICLE 9

                                         MISCELLANEOUS PROVISIONS

         9.1    INVESTIGATIONS AND SURVIVAL. The respective representations,
  warranties, covenants and agreements of Seller, Parent and Buyer herein and in
  the Related Documents, or in any certificates or other documents delivered
  prior to or at the Closing, shall not be deemed modified, waived or otherwise
  affected by any investigation made by any party or its representatives hereto.

         9.2    SUCCESSORS AND ASSIGNS. This Agreement may not be assigned by a
  party without the prior written consent of the parties hereto which consent
  shall not be unreasonably withheld or delayed; provided, however, this
  Agreement may be assigned and the obligations hereunder delegated by the Buyer
  to a purchaser or acquiror of all or substantially all of the business, stock
  or assets of Buyer in whatever form of corporate transaction or to any other
  corporation or entity that, directly or indirectly, through one or more
  intermediaries, controls, is controlled by or under common control with Buyer
  without the consent of Seller or Parent. Except as otherwise provided herein,
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    the terms and conditions of this Agreement shall inure to the benefit of and be
    binding upon the respective successors, assigns, heirs, legatees, executors and
    administrators of the parties.

           9.3    GOVERNING LAW; JURISDICTION AND VENUE; SEVERABILITY. This
    Agreement shall be governed by and construed in accordance with the laws of the
    State of California, without regard to principles of conflicts of law. The
    parties agree that any dispute regarding the interpretation or validity of this
    Agreement shall be subject to the exclusive jurisdiction of the state and
    federal courts in and for the County of San Diego, California, and each party
    hereby agrees to submit to the personal and exclusive jurisdiction and venue of
    such courts. If any term, covenant or condition of this Agreement is held to
    be to any extent invalid, void, or otherwise unenforceable by any court or
    arbitrator, the remainder of this Agreement shall not be affected thereby and
    each term, covenant and condition of this Agreement shall be valid and
    enforceable to the fullest extent permitted by law.

           9.4    ENTIRE AGREEMENT; MODIFICATION AND WAIVER. This Agreement,
    together with the agreements and documents referred to herein, constitute the
    entire agreement between the parties hereto with respect to the subject matter
    hereof and supersede all prior and contemporaneous agreements and
    understandings. All Exhibits and Schedules attached hereto are incorporated
    herein by this reference. This Agreement may be modified, amended or
    supplemented only by a written instrument duly executed by all parties hereto.
    No covenant, term or condition or the breach thereof shall be deemed waived,
    unless it is waived in writing and signed by the party against whom the waiver
    is claimed. Any waiver of breach of any covenant, term or condition shall not
    be deemed to be a waiver of any preceding or succeeding breach of the same or
    any other covenant, term or condition. The failure of any party to insist upon
    strict performance of any covenant, term or condition hereunder shall not
    constitute a waiver of such party's right to demand strict compliance therewith
    in the future. Time is of the essence for purposes of each and every provision
    of this Agreement.

           9.5    NOTICES. All payments, notices, requests, demands and other
    communications required or permitted hereunder shall be in writing and shall be
    delivered personally (which shall include delivery by courier or overnight
    delivery service) or sent by certified or registered mail postage prepaid,
    certified or return receipt requested, or sent by facsimile transmission, to
    the parties at their respective address set forth below or at such other
    address as shall be given in writing by a party to the other party. Items
    delivered personally or by facsimile


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    transmission shall be deemed delivered on the date of actual delivery; items
    sent by certified or regular mail shall be deemed delivered three (3) days
    after mailing.

              If to Buyer:            ALARIS Medical Systems, Inc.
                                      10221 Wateridge Circle
                                      San Diego, CA 92121-2733
                                      Attn: Legal Department
                                      Facsimile: (619) 458-6156

               If to Parent:          Invacare Corporation
                                      One Invacare Way
                                      Elyria, Ohio 44036-2125
                                      Attn: Chief Financial Officer
                                      Facsimile:

               If to Seller:          Invacare Infusion Systems
                                      One Invacare Way
                                      Elyria, Ohio 44036-2125
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                                       Attn:  Chief Financial Officer
                                       Facsimile:

          9.6 PAYMENT OF FEES AND EXPENSES. Each party to this Agreement shall
   be responsible for, and shall pay, all of its own legal, accounting and other
   transactional fees and expenses incurred in the negotiation and preparation of
   this Agreement and the Related Documents and the transactions contemplated
   herein and therein.

          9.7    DRAFTING PARTY. The provisions of this Agreement, and the
   documents and instruments referred to herein, have been examined, negotiated,
   drafted and revised by counsel for each party hereto and no implication shall
   be drawn nor made against any party hereto by virtue of the drafting of this
   Agreement.

          9.8    COUNTERPARTS. This Agreement may be executed in multiple copies,
   each of which shall be deemed an original and all of which shall constitute a
   single agreement binding on all parties.

                                                     ARTICLE 10

                                              CERTAIN DEFINITIONS

          10.1   DEFINITIONS. The following terms as used in this Agreement shall
   have the meaning indicated below:

                 "AFFILIATE" means, with respect to any Person, any other person
   controlling, controlled by or under common control with, such Person.

                 "AFFILIATED GROUP" means any affiliated group within the meaning
   of Section 1504 of the Code (or any similar group defined under a similar
   provision of state, local or foreign law).

                 "APPROVALS" means, collectively, permits, approvals,
   authorizations, consents, clearances, licenses, franchises, concessions,
   orders, exemptions or other permits of all governmental or regulatory agencies,
   whether federal, state, local or foreign.

                 "CERCLA" means the Comprehensive Environmental Response,
   Compensation and Liability Act of 1980.


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                      "CODE" means the Internal Revenue Code of 1986, as amended.

                "ENCUMBRANCES" means all mortgages, deeds of trust, claims,
  security interests, liens, pledges, leases, subleases, charges, escrows,
  options, proxies, rights of occupancy, rights of first refusal, preemptive
  rights, covenants, conditional limitations, hypothecations, prior assignments,
  easements, title retention agreements, indentures, security agreements or other
  encumbrances of any kind.

                "ENVIRONMENTAL COSTS AND LIABILITIES" means any and all
  liabilities, obligations, damages, deficiencies, losses, fines, penalties,
  judgments, assessments, costs and expenses (including, without limitation,
  reasonable fees, costs and disbursements of legal counsel, experts, engineers
  and consultants): (a) any violation by Seller of Environmental Laws; (b) any
  Remedial Action with respect to any property currently or formerly owned by
  Seller that is required under Environmental Laws or pursuant to the
  requirements of any governmental agency charged with the enforcement of
  Environmental Laws; (c) damages to property or natural resources resulting from
  the Release by Seller of Hazardous Materials at any property currently or
  formerly owned by Seller; (d) human exposure to Hazardous Materials in
  connection with Seller's operations; and (e) the Release of Hazardous Materials
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    at any property at which any Hazardous Material generated by Seller was
    disposed of.

                  "ENVIRONMENTAL LAW" means any and all federal, state and local
    statutes, ordinances, regulations and rules relating to environmental quality,
    pollution control, natural resources, health, safety, the handling and disposal
    of Hazardous Materials, contamination and clean-up, including, without
    limitation, the Clean Air Act, 42 U.S.C. Section 7401 ET SEQ.; the Clean Water
    Act, 33 U.S.C. Section 1251 ET SEQ., and the Water Quality Act of 1987; the
    Federal Insecticide, Fungicide, and Rodenticide Act, 7 U.S.C. Section 136 ET
    SEQ.; the Marine Protection, Research and Sanctuaries Act, 33 U.S.C. Section
    1401 SET SEQ.; the National Environmental Policy Act, 42 U.S.C. Section 4321 ET
    SEQ.; the Noise Control Act, 42 U.S.C. Section 4901 ET SEQ.; the Occupational
    Safety and Health Act, 29 U.S.C. Section 651 ET SEQ.; the Resource Conservation
    and Recovery Act, 42 U.S.C. Section 6901 ET SEQ., as amended by the Hazardous
    and Solid Waste Amendments of 1984; the Safe Drinking Water Act, 42 U.S.C.
    Section 3OOf ET SEQ.; the Comprehensive Environmental Response, Compensation
    and Liability Act, 42 U.S.C. Section 9601 ET SEQ., as amended by the Superfund
    Amendments and Reauthorization Act, the Emergency Planning and Community
    Right-to-Know Act and the Radon Gas and Indoor Air Quality Research Act; the
    Toxic Substances Control Act, 15 U.S.C. Section 2601 ET SEQ.; the Atomic Energy
    Act, 42 U.S.C. Section 2011 ET SEQ., and the Nuclear Waste Policy Act of 1982,
    42 U.S.C. Section 10101 ET SEQ.; and state and local environmental statutes and
    ordinances with implementing regulations and rules.

                  "ENVIRONMENTAL PERMITS" means any permit, Approval,
    authorization, license, variance, registration or permission required under any
    applicable Environmental Law.

                  "ERISA" means the Employee Retirement Income Security Act of
    1974, as amended, and the applicable regulations promulgated thereunder.

                       "FDA" means the United States Food and Drug Administration.

                       "FEDERAL TAX" means any tax imposed under the Code.

                  "GOVERNMENTAL AUTHORITY" means any foreign, United States,
    Federal, State, municipal or other governmental or regulatory department,
    commission, administration, board, bureau, agency or instrumentality.

                       "GAAP" means generally accepted accounting principles.

                  "HAZARDOUS MATERIAL" means any of the following, including
    mixtures thereof: any substance, pollutant, contaminant, waste, by-product or
    constituent regulated under the Comprehensive Environmental Response,
    Compensation and Liability Act, 42 U.S.C. Section 9601 ET SEQ.; oil and
    petroleum products and natural gas, natural gas liquids, liquified natural gas
    and synthetic gas usable for fuel; pesticides regulated under the Federal
    Insecticide, Fungicide, and Rodenticide Act, 7 U.S.C. Section 136 ET SEQ.;
    asbestos and asbestos-containing materials, PCB's, urea formaldehyde foam
    insulation and other substances regulated under the Toxic Substances


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    Control Act, 15 U.S.C. Section 2601 ET SEQ.; source material, special nuclear
    material, by-product material and any other radioactive materials or
    radioactive wastes, however produced, regulated under the Atomic Energy Act or
    the Nuclear Waste Policy Act of 1982; chemicals subject to the OSHA Hazard
    Communication Standard, 29 C.F.R. Section 1910.1200 ET SEQ.; industrial
    process and pollution control wastes, whether or not hazardous within the
    meaning of the Resource Conservation and Recovery Act, 42 U.S.C. Section 6901
    ET SEQ.; medical waste and special waste; and any other substance defined in or
    regulated under Environmental Laws.

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                   "INDEBTEDNESS" means, with respect to any Person, any
    indebtedness, secured or unsecured, (a) in respect of borrowed money (whether
    or not the recourse of the lender is to the whole of the assets of such Person
    or only to a portion thereof), and evidenced by bonds, notes, debentures or
    similar instruments or letters of credit, to the extent of the face value
    thereof (or, in the case of evidence of indebtedness issued at a discount, the
    current accredet value thereof) or (b) representing the balance deferred and
    unpaid of the purchase price of property or services (other than accounts
    payable (including trade payables) in the ordinary course of business) and
    shall also include, to the extent not otherwise included, (i) any capitalized
    lease obligations and (ii) the face value of guaranties of items of other
    Persons which would be included within this definition for such other Persons
    (whether or not such items would appear upon the balance sheet of the
    guarantor).

                       "IRS" means the United States Internal Revenue Service.

                 "LEGAL PROCEEDING" means any judicial, administrative or arbitral
   actions, suits, investigations, proceedings (public or private) or governmental
   proceedings.

                 "MATERIAL ADVERSE EFFECT" means with respect to any Person, any
   change or effect that has or that is reasonably likely to have a material
   adverse effect on the condition (financial or otherwise), results of
   operations, business, prospects or assets of such Person and its Subsidiaries
   taken as a whole (other than as a result of changes in general economic or
   political conditions generally or in general economic or political conditions
   applicable to the health care industry generally).

                 "PERMITTED LIEN" means (i) any encumbrances disclosed on any
   Financial Statement; (ii) Tax Liens which are not yet due and payable or which
   are being contested in good faith and, with respect to which have adequately
   been provided for on applicable financial statements (whether or not required
  to be disclosed under GAAP); (iii)  liens incurred in the ordinary course of
  business in connection with workers compensation, unemployment insurance and
  other types of social security benefits; (iv) mechanics', carriers', workmen's,
  repairmen's or other like liens arising out of or incurred in the ordinary
  course of business; (v) liens arising under original purchase price conditional
  sales contracts and equipment leases with third parties entered into in the
  ordinary course of business; (vi) liens created by or existing from any
  litigation or legal proceeding that is being contested and (vii) with respect
  to real property and interests therein) easements (including, without
  limitation, reciprocal easement agreements and utility  agreements), zoning
  requirements, rights of way, covenants, consents, agreements, reservations,
  encroachments, variances and other similar restrictions, charges or
  encumbrances (whether or not recorded) that do not, individually or in the
  aggregate, impair the continued use and operation of the assets to which they
  relate the applicable business.

                "PERSON" and "PERSON" means any natural person and any
  corporation, trust, partnership, limited liability  partnership, limited
  liability company, limited liability  corporation,venture or business entity.

                "REGULATED ENVIRONMENTAL ACTIVITY" means any emission generation,
  treatment, storage, recycling, discharge transportation or disposal of any
  Hazardous Material.

                "RELEASE" means any discharge, emission, spill, leakage, deposit,
  injection, migration on or into the indoor or outdoor environment or into or
  out of any property, including, but not limited to, a "Release" as defined in
  CERCLA at 42 U.S.C. Section 9601(22).

                "REMEDIAL ACTION" means all actions, including any capital
  expenditures, required by any Governmental Authority or under any Environmental
  Laws or which a reasonable Person would undertake


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    voluntarily to (i) clean up, remove, treat, or in any other way address any
    Hazardous Materials or other substance; (ii) prevent the Release or threat of
    Release, or minimize the further Release of any Hazardous Materials; (iii)
    perform pre-remedial studies and investigations or post-remedial monitoring,
    operations, maintenance and care; or (iv) bring facilities on any property
    owned, operated or leased by Seller and its Affiliates into compliance with all
    Environmental Laws and Environmental Permits.

                  "SUBSIDIARY" means with respect to any Person, (a) each
    corporation, partnership, joint venture or other legal entity of which such
    Person owns, either directly or indirectly, more than 5O% of the stock or other
    equity interests the holders of which are generally entitled to vote for the
    election of the board of directors or similar governing body of such
    corporation, partnership, joint venture or other legal entity, (b) each
    partnership in which such Person or another Subsidiary of such Person is the
    general or managing partner and (c) each limited liability company in which
    such Person or another Subsidiary of such Person is the managing member or
    otherwise controls (by contract, through ownership of membership interests or
    otherwise).

                  "TAX" or "TAXES" means all taxes, charges, fees, imposts, duties,
    levies or other assessments by any Taxing Authority, including (without
    limitation), all net income, alternative or add-on minimum, gross receipts,
    capital, sales, use, ad valorem, value added, transfer, franchise, profits,
    inventory, capital stock, license, withholding, payroll, employment, social
    security, unemployment, excise, severance, stamp, occupation, property,
    estimated, together with any interest and any penalties, fines, additions to
    tax or additional amounts (whether disputed or not) imposed by any Taxing
    Authority (domestic or foreign) and shall include any transferee liability in
    respect of Taxes.

                  "TAX ASSET" means any net operating loss, net capital loss,
    investment tax credit or tax attribute which could reduce Taxes (including,
    without limitation, deductions and credits related to alternative minimum
    Taxes).

                       "TAX AUTHORITY" means any governmental authority.

                  "TAX LIEN" or "TAX LIENS" means any Encumbrance relating to
    Taxes, other than a lien of the type described in clause (ii) of the definition
    of Permitted Liens.

                  "TAX RETURN" or "TAX RETURNS" means any United States Federal,
    state, local and/or foreign return, declaration, report, claim for refund, or
    information return or statement relating to Taxes, including all schedules and
    attachments thereto, and including any amendment thereof.

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           IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be
    duly executed as of the day and year first above written.

    "Buyer"                                              "Seller"

    ALARIS MEDICAL SYSTEMS, INC., a                       PATIENT SOLUTIONS INC. D/B/A
    Delaware corporation                                  INVACARE INFUSION SYSTEMS, INC., a
    Delaware corporation

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    By:                                                      By:


    Its:                                                     Its:




    "Parent"

    INVACARE CORPORATION, an Ohio
    corporation



    By:


   Its:




                                    [COUNTERPART SIGNATURE PAGE TO
                                AGREEMENT TO PURCHASE SELECTED ASSETS]

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                                                      EXHIBIT A


                                                    BILL OF SALE

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                                                    EXHIBIT "B"


                                        PATENT ASSIGNMENT AGREEMENT

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                                        51O(K) ASSIGNMENT AGREEMENT

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                                                   EXHIBIT "D"


                                         LIST OF ELIGIBLE EMPLOYEES

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                                                   EXHIBIT "E"


                            LIST OF CURRENT OBLIGATIONS AND LIABILITIES

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                                                   EXHIBIT "F"


                                             DISCLOSURE SCHEDULE
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                                                  EXHIBIT "G"



                                   FORM OF NON-COMPETITION AGREEMENT

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                                                  EXHIBIT "H"



                                      ASSIGNMENT OF LEASE AGREEMENT

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                                                  EXHIBIT "I"

                                                     RELEASE

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    <TYPE>EX-2.1(B)
    <SEQUENCE>3
    <DESCRIPTION>EX-2.1(B)
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                                                                                             EXHIBIT 2.1(b)




    ALARIS Medical, Inc. hereby agrees to furnish to the Securities and Exchange
    Commission, upon its request, the exhibits to the Agreement to Purchase
    Selected Assets dated May 18, 1998 by and among ALARIS Medical Systems, Inc.,
    Invacare Corporation and Patient Solutions, Inc. filed as Exhibit 2.1(a) to
    ALARIS Medical, Inc.'s Form 10-Q dated August 11, 1998.



                                                                      ALARIS MEDICAL, INC.

                                                                      (REGISTRANT)




    Date:      August 11, 1998                                  By: /s/     DOUGLAS C. JEFFRIES

                                                                      Douglas C. Jeffries
                                                                      Vice President and Chief
                                                                        Financial Officer
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    <DESCRIPTION>EX-1O.1(A)
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                                                                                              EXHIBIT 10 .1(a)
                                                      AGREEMENT

         AGREEMENT, dated as of May 7, 1998, by and between ALARIS Medical Systems,
    Inc., a Delaware corporation ("Alaris"), having an address at 10221 Wateridge
    Circle, San Diego, CA 92121 and Caesarea Medical Electronics Limited, a private
    limited company organized under the Israeli Companies Ordinance ("Caesarea"),
    having an address at 5 Rakefet Street, P.O. Box 1166, Caesarea, 38900, Israel.

                                            W I    T N E S S E T H:

        WHEREAS, Caesarea has developed certain volumetric infusion pump
   technology, including the NIKI Technology (as hereinafter defined) and desires
   to transfer the same to Alaris on the terms set forth herein; and

        WHEREAS, Caesarea transferred technology to Clintec Nutrition Company
   ("Clintec") pursuant to the terms of an Agreement on the Transfer of
   Intellectual Property dated July 14, 1996 (the "Transfer Agreement"), by and
   between Caesarea and Clintec, as amended by letter agreement dated November 6,
   1997, between Caesarea and Nestle Clinical Nutrition ("Nestle"), as
   successor-in-interest to Clintec; and

        WHEREAS, pursuant to the Transfer Agreement, Clintec granted to Caesarea
   an exclusive, royalty-free license for unrestricted parenteral use of specified
   technology (the "License") for a period of 20 years•from July 14, 1996; and

        WHEREAS, Caesarea desires to transfer the License to Alaris and, in
   connection therewith, Alaris, Caesarea and Nestec, S.A., as
   successor-in-interest to Nestle, have entered into a letter agreement dated as
   of May 6, 1998 in the form of Exhibit A hereto.

        NOW, THEREFORE, in consideration of the mutual covenants and agreements
   herein contained, and for other good and valuable consideration, the receipt
   and sufficiency of which are hereby acknowledged, the parties hereto hereby
   agree as follows:

        1.   DEFINITIONS. Capitalized terms used in this Agreement and not
   otherwise defined shall have the meanings set forth below:

       "ACT" means The Food, Drug and Cosmetic Act (21 U.S.C. Sections 310 ET.
  SEQ.), as amended from time to time, and the regulations promulgated thereunder.

       "BANKRUPTCY" means, with respect to Caesarea: (A) that Caesarea shall
  have: (i) made an assignment for the benefit of creditors; (ii) filed a
  voluntary petition in bankruptcy; (iii) been adjudicated bankrupt or insolvent,
  or had entered against it an order for relief, in any bankruptcy or insolvency
  proceeding; (iv) filed a petition or answer seeking for itself any
  reorganization, arrangement, composition, readjustment, liquidation,
  dissolution or similar relief under any statute, law or regulation; (v) filed
  an answer or other pleading admitting or failing to contest the material
  allegations of a petition filed against it in any proceeding set forth in (iv)
  above; (vi) sought, consented to, or acquiesced in the appointment of a
  trustee, receiver, or liquidator of all or any

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  substantial part of its properties; or: (B) if: (i) 120 days after the
  commencement of any proceeding against it seeking reorganization, arrangement,
  composition, readjustment, liquidation, dissolution or similar relief under any
  statute, law or regulation, the proceeding has not been dismissed; or (ii)
  within 90 days after the appointment, without Caesarea's consent or
  acquiescence, of a trustee, receiver, or liquidator of it or all or any
  substantial part of its properties, the appointment is not vacated or stayed,
  or within 90 days after the expiration of any such stay, the appointment is not
  vacated.


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         "BUSINESS DAY" means any weekday on which commercial banks in both New
    York, New York and Caesarea, Israel are not required or authorized by law to
    close.

         "DIRECT COST" shall mean and be calculated in the manner specified on
    Schedule 1(a) hereto.

         "DOCUMENTS" shall mean all of the documents, plans, drawings,
    documentation, marketing materials and service materials related to the NIKI
    Technology, including, without limitation, those listed on Schedule 1(b) hereto.

           "EU" means the European Union.

         "EXISTING DISTRIBUTION AGREEMENTS" means the distribution, license or
    transfer agreements listed on Schedule 1(c) hereto.

         "EXISTING RIGHTS" means the patents, patent applications, trademarks,
    trade names and other Intellectual Property listed on Schedule 1(d) hereto.

         "FDA" means the United States Food and Drug Administration, or any
    successor agency.

         "FIELD" means the field of parenteral infusion through the use of a
    volumetric infusion pump and all complementary, related and associated
    activities.

         "F.O.B." means Free on Board, as such term is defined in the International
    Chamber of Commerce publication "International Incoterms 1990."

          "GOOD MANUFACTURING PRACTICES" means: (A) the applicable current quality
    system (good manufacturing practice) regulations promulgated from time to time
    by (i) the FDA in accordance with the Act and (ii) to the extent applicable,
    European regulatory agencies; and (B) directives of the International Standards
    Organization, all for subcontractors.

         "IMPROVEMENT" means any enhancement or modification of the NIKI
    Technology, the NIKI Pump or the I.V. Valve that permits the NIKI Technology or
    products based thereon, the NIKI Pump, or the I.V. Valve, as the case may be,
    to perform its function in a better or more useful way.

          "INTELLECTUAL PROPERTY" means all intellectual property, including, but
    not limited to, inventions, all patent and patent applications and all
    divisions, continuations, continuations-in-part, re-examinations and reissues
    of any of the foregoing, copyrights, trademarks, trade names, copyright


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    applications, trade secrets, know-how, formulas, compositions of matter,
    software, algorithms, designs, manufacturing technology and other intellectual
    property and rights (including, without limitation, any intellectual property
    rights related thereto), including any foreign counterparts to any of the above.

              "I.V. VALVE" means the device described on Schedule 1(e) hereto.

         "MANUFACTURING ASSEMBLY KITS" means a complete set of all of the items
    forth on Schedule 1(f), which constitute all of the components necessary to
    assemble a Phase 1 NIKI Pump.

         "MANUFACTURING DOCUMENTATION PACKAGE" means the items set forth on
    Schedule 1(g) Part 1 (Phase I NIKI Pump); Part 2 (Phase 2 NIKI Pump) and Part 3
    (Phase 3 NIKI Pump) hereto.

         "MILESTONE" means a Phase 1 Milestone, a Phase 2 Milestone or a Phase 3
    Milestone, as the case may be.
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         "NIKI PUMP" means a volumetric infusion pump incorporating some or all of
    the NIKI Technology including, without limitation, the Phase 1 NIKI Pump; the
    Phase 2 NIKI Pump; and the Phase 3 NIKI Pump, including any Improvements to the
    NIKI Pump.

        "NIKI TECHNOLOGY" means: (A) all Intellectual Property included or
   utilized in, by or with respect to, the following inventions: (i) the
   Peristaltic Pump; (ii) the I.V. Valve; (iii) the Pump System with Error
   Detection; (iv) the System and Method; (B) the Existing Rights; and (C) any
   other Intellectual Property having any application in the Field at any time
   licensed to, owned, developed, created or reduced to practice by or on behalf
   of Caesarea, its employees or officers; provided, however, that NIKI Technology
   shall not include Intellectual Property transferred in accordance with the
   Transfer Agreement except to the extent that such Intellectual Property forms
   part of the technology subject to the License. The parties acknowledge and
   agree that any valve, other than the I.V. Valve, and any syringe pump at any
   time licensed to, owned, developed, created or reduced to practice by or on
   behalf of Caesarea, its employees or officers, shall not be deemed part of the
   NIKI Technology.

          "PERISTALTIC PUMP" means the device described in Schedule 1(h) hereto.

        "PERSON" means any individual, corporation, association, partnership,
   limited liability company, joint venture, trust or other entity or organization.

        "PHASE 1 MILESTONES" means all of the sequential steps specified in
   Sections 6(a)(i) through 6(a) (iv) hereof.

        "PHASE 1 NIKI PUMP" means the NIKI Pump having the specifications set
   forth on Schedule 1(i) Part 1 hereto.

        "PHASE 2 MILESTONES" means all of the sequential steps specified in
   Sections 6(b)(i) through 6(b) (iii) hereof.


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       "PHASE 2 NIKI PUMP" means the NIKI Pump having the specifications set
  forth on Schedule 1(i) Part 2 hereto.

       "PHASE 3 MILESTONES" means all of the sequential steps specified in
  Sections 6(c)(i) through 6(c) (iii) hereof.

       "PHASE 3 NIKI PUMP" means the NIKI Pump having the specifications set
  forth on Schedule 1(i) Part 3 hereto.

      "PUMP SYSTEM WITH ERROR DETECTION" means the device described on Schedule
  1(j) hereto.

       SPECIFIED LOCATION" means such location or locations as may, from time to
  time, be specified by Alaris by notice to Caesarea as the location or locations
  at which Alaris intends to take receipt of any NIKI Pump, Manufacturing
  Assembly Kit or any other device, good, document or product to be delivered by
  Caesarea hereunder.

      "SYSTEM AND METHOD" means the systems and methods described on Schedule
  1(k) hereto

       "TEST DISPOSABLES" shall mean the disposables listed in Part 1 of Schedule
  1(i) as the same are hereafter delivered by Alaris to Caesarea.

         "US" means the United States of America.

         2.     SALE.    Caesarea hereby sells, assigns, transfers, conveys and
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    delivers (the "Sale") to Alaris, its successors, assigns and sublicensees, on
    an exclusive, worldwide, royalty free basis, all of Caesarea's right, title and
    interest in and to the License and the NIKI Technology, including, without
    limitation, all rights, powers and privileges to: (i) conduct research and
    development with respect to the NIKI Technology; and (ii) make, have made, use,
    lease, sell, offer to sell and import the NIKI Pump, the I.V. Valve and any and
    all other products, goods or devices incorporating the NIKI Technology. Alaris
    is not assuming any of Caesarea's obligations under the Transfer Agreement.

           3.     IMPROVEMENTS.

         (a) In addition to the Sale (and not in limitation thereof), Caesarea and
    Swi Barak hereby grant (and shall cause each of their respective affiliates,
    employees and officers to grant) to Alaris, during the period commencing on the
    date hereof and ending on the seventh anniversary of the date of first
    commercial sale by Alaris of a NIKI Pump, the exclusive, worldwide right and
    royalty-free license to use and exploit any Improvements made by or on behalf
    of Caesarea, its affiliates or any of their respective employees and officers,
    or in which any such person has any direct or indirect ownership, interest,
    right or participation, for any purpose, including, without limitation, the
    right to make, have made, use lease, sell, offer to sell and import any product
    incorporating any Improvements.


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         (b) Caesarea acknowledges and agrees that Alaris shall have the right to
    make or have made Improvements and that any Improvements made by or on behalf
    of Alaris shall be the sole and exclusive property of Alaris. Caesarea shall
    cooperate fully with Alaris in effecting any patent and/or copyright coverage
    with respect to the Improvements made by or on behalf of Alaris.

         (c) Except as otherwise provided in Section 6 hereto, the parties
    acknowledge and agree that nothing contained herein shall obligate Caesarea to
    make any Improvements.

         4.   SALE OF ASSETS. Caesarea hereby sells, assigns, transfers, conveys
    and delivers to Alaris, and Alaris hereby purchases from Caesarea, all of
    Caesarea's right, title and interest in and to the assets listed on Schedule 4
    hereto, which constitute all of the assets used by Caesarea and necessary to
    manufacture the NIKI Pump (the "Assets"), and the Documents. Caesarea shall
    retain the Assets which shall be used by Caesarea solely to manufacture the
    Manufacturing Assembly Kits for delivery to Alaris; provided, however, that
    unless the parties otherwise agree in writing, the Assets shall be delivered to
    Alaris no later than October 31, 1998.

         5.   PURCHASE PRICE. Alaris shall pay to Caesarea, and Caesarea shall
    accept from Alaris, the sum of one million ($1,000,000) dollars (the "Purchase
    Price"), to be paid as follows:

         (a) $120,000 of the Purchase Price (the "Advance") has been previously
    paid by Alaris to Caesarea as an option payment and shall not be refundable to
    Alaris under any circumstances; and

           (b) $880,000 shall be paid upon execution of this Agreement.

         In addition, upon execution of this Agreement, Caesarea shall establish a
    standby letter of credit (the "LOC"), in the form of Exhibit B hereto, in the
    amount of $380,000 for the benefit of Alaris. The LOC shall be maintained by
    Caesarea until completion of the Phase 1 Milestones in accordance with the
    provisions of Section 6(a) hereof. In the event Alaris terminates this
    Agreement in accordance with the provisions of Section 6(a) hereof, Alaris
    shall be entitled to draw down the full amount of the LOC.

           6.     ADDITIONAL PAYMENTS.          In addition to the Purchase Price, Alaris shall
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    pay to Caesarea the amounts set forth in subsections (a), (b) and (c) below
    (the "Additional Payments") with respect to the development and release of the
    Phase 1 NIKI Pump, the Phase 2 NIKI Pump and the Phase 3 NIKI Pump. The
    parties acknowledge and agree that the failure to achieve any of the Phase 1
    Milestones, Phase 2 Milestones or Phase 3 Milestones shall not be considered a
    breach of this Agreement and the sole remedy of Alaris with respect to any such
    failure shall be as specified in this Section 6.

         (a) PHASE 1 NIKI PUMP. Upon completion of each of the Phase 1 Milestones
    set forth below, Alaris will make the following payments (the "Phase 1
    Payments") to Caesarea:

                  (1)      $500,000 shall be paid to Caesarea upon Acceptance (as
                           hereinafter defined) by Alaris of the final design (the "First
                           Final Design") of the Phase 1 NIKI Pump and receipt by Alaris
                           at the Specified Location, on or before July 1,


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                           1998, of 20 Phase 1 NIKI Pumps meeting the requirements of the
                           First Final Design (the "Initial Phase 1 Pumps");

                  (ii)    $250,000 shall be paid to Caesarea upon receipt by Alaris at the
                          Specified Location, on or before July 1, 1998, and Acceptance by
                          Alaris of a complete Manufacturing Documentation Package for the
                          Phase 1 NIKI Pump;

                  (iii)    $750,000 shall be paid to Caesarea upon receipt by Alaris at the
                          Specified Location, on or before September 15, 1998, and
                          Acceptance by Alaris, on or before October 1, 1998, of, at the
                          option of Alaris, either 500 Phase 1 NIKI Pumps meeting all of
                          the specifications set forth on Schedule 1(i) Part 1 hereto
                          (including when used with the Test Disposables) and which meet
                          the requirements of the First Final Design (the "Final Phase 1
                          Pumps") or 500 Manufacturing Assembly Kits sufficient to permit
                          Alaris to manufacture the Final Phase 1 NIKI Pump; provided,
                          that prior to delivery of the Final Phase 1 Pumps or
                          Manufacturing Assembly Kits, Alaris shall have first Accepted
                          the First Final Design, the Initial Phase 1 Pumps and the
                          Manufacturing Documentation Package on or prior to August 15,
                          1998; and

                 (iv)     $500,000 shall be paid to Caesarea upon receipt by Alaris at the
                          Specified Location, on or before October 15, 1998, and
                          Acceptance by Alaris, on or before November 15, 1998, of 500
                          Manufacturing Assembly Kits sufficient to permit Alaris to
                          manufacture an additional 500 Final Phase 1 NIKI Pumps.

        In the event that Caesarea fails to meet any of the Phase 1 Milestones set
  forth in subparagraphs (a)(i) through (a)(iv) above by the applicable dates,
  Alaris may require Caesarea to refund to Alaris the Purchase Price (less an
  amount equal to two times the Advance and any amounts paid to Alaris under the
  LOC) and all Phase 1 Payments made to Caesarea by Alaris hereunder and Alaris
  shall be under no further obligation to make any payments to Caesarea under
  this Agreement. In such event, this Agreement shall terminate and (i) Alaris
  shall return to Caesarea (a) all right, title and interest in and to the
  License, the NIKI Technology and the Assets and (b) all Documents, physical
  property and Intellectual Property previously delivered by Caesarea to Alaris.
  In addition, (i) Alaris shall not be liable to Caesarea for any loss of profits
  or prospective profits or any other losses or damages of any kind sustained or
  arising out of such termination and Caesarea hereby irrevocably waives any such
  rights to the fullest extent permitted under the laws of the State of Israel
  and further agrees that it shall not bring any action or proceeding of any
  nature whatsoever in any court, before any tribunal, or under any arbitration
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    proceeding, seeking or claiming any such damage or loss; and (ii) Caesarea
    shall not be liable to Alaris for any loss of profits or prospective profits or
    any other losses or damages of any kind sustained or arising out of such
    termination and Alaris hereby irrevocably waives any such rights to the fullest
    extent permitted under the laws of the State of Israel and further agrees that
    it shall not bring any action or proceeding of any nature whatsoever in any
    court, before any tribunal, or under any arbitration proceeding, seeking or
    claiming any such damage or loss.

         (b) PHASE 2 NIKI PUMP. Upon completion of each of the Phase 2 Milestones
    set forth below, Alaris will make the following payments (the "Phase 2
    Payments") to Caesarea:


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                  (i) $250,000 shall be paid to Caesarea upon Acceptance by Alaris of
                      the final design (the "Second Final Design") of the Phase 2 NIKI
                      Pump, and receipt by Alaris at the Specified Location, on or
                      before December 31, 1998, and Acceptance by Alaris, on or before
                      February 15, 1999, of 20 Phase 2 NIKI Pumps meeting the
                      requirements of the Second Final Design;

                  (ii) $500,000 shall be paid to Caesarea upon receipt by Alaris at the
                       Specified Location, on or before December 31, 1998, and
                       Acceptance by Alaris, on or before February 15, 1999, of 20
                       Manufacturing Assembly Kits and a complete Manufacturing
                       Documentation Package for the Phase 2 NIKI Pump sufficient to
                       permit Alaris to manufacture the Phase 2 NIKI Pump; and

                  (iii)$250,000 shall be paid to Caesarea upon CE approval of the Phase
                       2 NIKI Pump, which approval shall be obtained by Alaris (at its
                       sole cost and expense).

         (c) PHASE 3 NIKI PUMP. Upon completion of each of the Phase 3 Milestones
    set forth below, Alaris will make the following payments (the "Phase 3
    Payments") to Caesarea:

                  (i) $250,000 shall be paid to Caesarea upon Acceptance by Alaris of
                      the final design (the "Third Final Design") of the Phase 3 NIKI
                      Pump, and receipt by Alaris at the Specified Location, on or
                      before March 1, 1999, and Acceptance by Alaris, on or before
                      April 15, 1999, of 20 Phase 3 NIKI Pumps meeting the
                      requirements of the Third Final Design;

                  (ii) $500,000 shall be paid to Caesarea upon receipt by Alaris at the
                       Specified Location, on or before March 1, 1999, and Acceptance
                       by Alaris, on or before April 15, 1999, of 20 Manufacturing
                       Assembly Kits and a complete Manufacturing Documentation Package
                       for the Phase 3 NIKI Pump sufficient to permit Alaris to
                       manufacture the Phase 3 NIKI Pump; and

                  (iii)$250,000 shall be paid to Caesarea upon FDA 510(k) approval of
                       the Phase 3 NIKI Pump.

         (d) Other than as set forth in subsection (a) above, this Agreement may
    not be terminated due to the failure of Caesarea to meet any Phase 1 Milestone,
    Phase 2 Milestone or Phase 3 Milestone. Notwithstanding the failure of
    Caesarea to meet any of such Milestones and provided that this Agreement is not
    terminated as provided in Section 6(a) above, Alaris shall make Additional
    Payments to Caesarea as follows:

                  (i)      in the event the Phase 1 NIKI Pump is sold by Alaris on a
                           commercial basis in any country other than the US or any country
                           located in the EU, Alaris shall pay to Caesarea an amount equal
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                          to the aggregate amount of the Phase 1 Payments less an amount
                          equal to any Phase 1 Payments previously made to Caesarea.


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                  (ii)    in the event the Phase 2 NIKI Pump is sold by Alaris on a
                          commercial basis in any country located in the EU, Alaris shall
                          pay to Caesarea an amount equal to the aggregate amount of the
                          Phase 2 Payments less an amount equal to the sum of (i) any
                          Phase 2 Payments previously made to Caesarea and (ii) all direct
                          costs and expenses incurred by Alaris to develop the Phase 2
                          NIKI Pump.

                 (iii)    in the event the Phase 3 NIKI Pump is sold by Alaris on a
                          commercial basis in the US, Alaris shall pay to Caesarea an
                          amount equal to the aggregate amount of the Phase 3 Payments
                          less an amount equal to the sum of (i) any Phase 3 Payments
                          previously made to Caesarea and (ii) all direct costs and
                          expenses incurred by Alaris to develop the Phase 3 NIKI Pump.

         7.  ACCEPTANCE CERTIFICATE. "Acceptance" by Alaris of any matter,
   device, design, document, kit or product specified in Section 6 hereof as
   requiring the Acceptance of Alaris shall mean and be evidenced only by a
   written certificate (an "Acceptance Certificate") delivered by Alaris to
   Caesarea, on or before the date specified for Acceptance, specifying that the
   matter, device, design, document, kit or product has been delivered by Caesarea
   to Alaris, and that the matter, device, design, document, kit or product has
   been completed and presented in a form and manner which is satisfactory to
   Alaris. In the event that the matter, device, design, document, kit or product
   has been completed and presented in a form and manner which is not satisfactory
   to Alaris, Alaris shall deliver a written certificate (a "Rejection
   Certificate") to Caesarea, on or before the date specified for Acceptance,
   containing a general description of the relevant items which require correction
   for an Acceptance by Alaris to take place. Caesarea shall be granted an
  extension of 30 days from the date of receipt of such Rejection Certificate
   (the "Correction Period") to correct the items which are required for an
  Acceptance by Alaris to take place (the "Correction Items") and Alaris shall
   (at the sole cost and expense of Caesarea), upon the reasonable request of
  Caesarea, meet or engage in communications with Caesarea in order to assist
  Caesarea in understanding the reason that Alaris has delivered the Rejection
  Certificate. If the Correction Items are corrected within the Correction
  Period in a manner satisfactory to Alaris, Alaris shall deliver an Acceptance
  Certificate to Caesarea. In such event, Acceptance will be deemed to have
  taken place within the time period specified in Section 6 and any additional
  payment which is conditioned upon such Acceptance shall be made. If the
  Correction Items are not corrected in a manner satisfactory to Alaris within
  the Correction Period, the applicable additional payment shall not be made.

       8.    PURCHASE OF NIKI PUMPS. In addition to the Additional Payments, for
  each NIKI Pump delivered to Alaris pursuant to and in accordance with Section 6
  hereof, Alaris shall pay to Caesarea the sum of three hundred fifty ($350)
  dollars within 30 days from the later of (i) receipt by Alaris of Caesarea's
  invoice issued upon shipment of the NIKI Pumps or (ii) delivery of the NIKI
  Pumps to the Specified Location.

       9.   MANNER OF DELIVERY. All NIKI Pumps, Manufacturing Assembly Kits,
  Assets and all other devices, goods, documents and products to be delivered by
  Caesarea under this Agreement shall be delivered by Caesarea to Alaris F.O.B.,
  Israel. NIKI Pumps and Manufacturing Assembly Kits are supplied by Caesarea as
  a sub-contractor of Alaris.


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          10.    PUMP PAYMENT.

         (a) In consideration of the Sale and the other undertakings of Caesarea
    hereunder, Alaris shall pay to Caesarea, in accordance with the provisions of
    subsection (b) below, $25.00 (the "Payment Amount") for each NIKI Pump which is
    manufactured and sold by Alaris or by any third party under agreement with or
    with the consent of Alaris, other than any sale by or to Caesarea, during the
    period commencing on the date of first commercial sale by Alaris of a NIKI Pump
    and ending on the seventh anniversary of said date (the "Payment Period"). For
    purposes of this Agreement, the assembly of a NIKI Pump using a Manufacturing
    Assembly Kit shall be considered the manufacture of a NIKI Pump. The parties
    acknowledge and agree that Caesarea shall only be entitled to payment of the
    Payment Amount upon the first commercial sale of a NIKI Pump.

         (b) Within 45 days after the end of each calendar quarter during the
    Payment Period, Alaris shall pay to Caesarea an amount equal to the number of
    NIKI Pumps in respect of which the Pump Payment is required to be made pursuant
    to subsection (a) above (less the number of NIKI Pumps returned or recalled
    during the quarter or any prior quarter in accordance with the provisions of
    subparagraph (c) below) multiplied by the Payment Amount. All payments shall
    be accompanied by a statement, certified by an officer of Alaris, setting forth
    the number of NIKI Pumps sold, returned and recalled during the quarter. In
    the event any NIKI Pump which had previously been returned or recalled is
    redelivered to the customer or end-user returning same, such redelivery shall
    be deemed a sale of such NIKI Pump (for which a Pump Payment shall be required
    to be made) in the quarter in which such NIKI Pump is redelivered.

         (c) In the event that the number of NIKI Pumps returned or recalled
    during any quarter exceeds the number of NIKI Pumps in respect of which the
    Pump Payment is required to be made during such quarter pursuant to subsection
    (a) above (the "Excess Amount"), the number of NIKI Pumps in respect of which
    the Pump Payment is required to be made pursuant to subsection (a) above during
    the immediately succeeding quarter shall be reduced (in addition to any
    reduction based upon the number of NIKI Pumps returned or recalled during such
    quarter pursuant to subsection (b) above) by the Excess Amount.

           11.   PURCHASE OF MANUFACTURING ASSEMBLY KITS.

         (a) Upon the terms and subject to the conditions herein contained,
    Caesarea agrees to manufacture and sell to Alaris and Alaris may purchase from
    Caesarea, Manufacturing Assembly Kits for the NIKI Pump.

         (b) For each Manufacturing Assembly Kit purchased by Alaris, Alaris
    agrees to pay Caesarea a price equal to Caesarea's Direct Costs plus ten (10%)
    percent, which shall not exceed an aggregate of $170 for each Phase 1 NIKI Pump
    during the period commencing on the date hereof and ending on the first
    anniversary of the date of completion of the Phase 1 Milestones. Payment for
    the Manufacturing Assembly Kits purchased from Caesarea shall be made within 30
    days from the later of (i) receipt of Caesarea's invoice issued upon shipment
    of the Manufacturing Assembly Kits or (ii) delivery of the Manufacturing
    Assembly Kits to the Specified Location.


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         (c) On the first Business Day of each month following completion of the
    Phase 1 Milestones (each, a "Specified Date"), Alaris shall provide Caesarea
    with a forecast of its requirements of Manufacturing Assembly Kits covering the
    next 180 days deliveries at a minimum and indicating the requested delivery
    dates and Specified Location for delivery. On the first Business Day following
    a Specified Date, the immediately following 90 days of the forecast shall be
    considered a firm and binding order for the number of Manufacturing Assembly
    Kits specified therein and any forecasts covering more than 90 days from such
    Specified Date (the "Extended Forecast Period") shall be considered non-binding
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    and subject to change, modification and cancellation by Alaris; provided,
    however, that the number of Manufacturing Assembly Kits specified for delivery
    during the Extended Forecast Period in any forecast delivered by Alaris to
    Caesarea may not, without the consent of Caesarea, which consent shall not be
    unreasonably withheld, be increased by more than 50% from the number of
    Manufacturing Assembly Kits specified for delivery during the Extended Forecast
    Period in the immediately preceding forecast delivered by Alaris to Caesarea.
    At the request of Caesarea, or at the option of Alaris, Alaris will provide
    non-binding forecasts covering a period from six (6) months to twelve (12)
    months from a Specified Date.

        (d) If Caesarea determines that it will be unable to timely deliver
   Manufacturing Assembly Kits in accordance with Alaris' orders issued in
   accordance with the provisions of Section 11(c) hereof, then Caesarea shall
   give Alaris prompt notice thereof and shall indicate the anticipated length of
   the delay. If the delay will exceed 15 days from the date specified by Alaris
   for delivery, Alaris shall have the right at any time prior to delivery to
   cancel its order for such Manufacturing Assembly Kits; provided, however, that
   if the delay in delivery is a result of force majeure (as set forth in Section
   28(o) hereof) Alaris shall only have the right to cancel such order if the
   delay will exceed 30 days from the date specified by Alaris for delivery.

       12. ENGAGEMENT OF SUBCONTRACTORS. Caesarea may sub-contract the
  manufacture of NIKI Pumps and Manufacturing Assembly Kits only with the prior
  written consent of Alaris, which consent shall not be unreasonably withheld;
  provided, however, that the subcontracting by Caesarea of the NIKI Pumps and
  Manufacturing Assembly Kits shall not relieve Caesarea of any of its
  obligations hereunder and Caesarea shall remain responsible for all NIKI Pumps
  and Manufacturing Assembly Kits subcontracted as if Caesarea had manufactured
  the NIKI Pumps and Manufacturing Assembly Kits itself. The parties acknowledge
  and agree that in the event Caesarea elects to sub-contract the manufacture of
  the NIKI Pumps and/or Manufacturing Assembly Kits, Alaris shall have the right
  to require that any sub-contractor selected by Caesarea submit to a Good
  Manufacturing Practice audit by Alaris. If any such sub-contractor does not
  meet (i) all applicable regulatory requirements relating to the manufacturing
  of the NIKI Pumps or Manufacturing Assembly Kits, as the case may be, including
  Good Manufacturing Practices and other requirements of the FDA and applicable
  US and EU regulatory agencies, including, without limitation, the European
  Medical Device Directives and EN 46001 or EN 46002, as applicable, and (ii) any
  additional requirements which Alaris may reasonably require of its own
  subcontractors, Alaris may withhold its consent to the engagement of such
  subcontractor.


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       13. MOLDS AND TOOLS. Caesarea hereby grants to Alaris the right and
  option to purchase from Caesarea the molds and tooling utilized by Caesarea to
  manufacture the NIKI Pump at a purchase price equal to Caesarea's direct costs
  for such molds and tooling, excluding Caesarea's engineering costs related
  thereto, all of which costs are set forth on Schedule 13 hereto. In the event
  Alaris purchases such molds and tooling, Caesarea shall no longer be obligated
  to supply Manufacturing Assembly Kits to Alaris pursuant to Section 11 hereof;
  provided, however, that if there are any outstanding orders for Manufacturing
  Assembly Kits, Caesarea shall have the option to fulfill such orders prior to
  delivery to Alaris of the molds and tooling.

       14. TECHNICAL ASSISTANCE. Upon execution of this Agreement, Caesarea
  shall deliver to Alaris all technical information and written manifestations of
  Intellectual Property with respect to the NIKI Technology. Caesarea shall
  provide Alaris, at Caesarea's expense, with such technical assistance as may be
  reasonably necessary to inform Alaris fully about the NIKI Technology. In
  addition, Caesarea shall, at Caesarea's sole cost and expense, (i) provide to
  Alaris, upon reasonable request from Alaris from time to time, progress reports
  and updates regarding the status of development of the Phase 1 NIKI Pump, the
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   Phase 2 NIKI Pump, and the Phase 3 NIKI Pump, (ii) provide to Alaris, upon
   reasonable request from Alaris from time to time, such development,
   manufacturing and other resources and efforts as shall be reasonably necessary
   or appropriate to ensure the satisfaction of the Phase 1 Milestones, the Phase
   2 Milestones and the Phase 3 Milestones and (iii)  upon reasonable notice by
   Alaris and at reasonable times, but not more often than 60 days per year (the
   "Annual Assistance Days"), make all appropriate technical, production,
   engineering and marketing personnel available to Alaris, in order to permit
   Alaris to establish its own manufacturing capability for the NIKI Pump, the
   I.V. Valve and the I.V. administration sets to be used by Alaris with the NIKI
   Pump; provided, however, that reasonable direct out-of-pocket expenses, if any,
   incurred by Caesarea in providing such assistance to Alaris outside of Israel
   shall be borne by Alaris. In the event Alaris requests Caesarea to provide
   assistance in excess of the number of Annual Assistance Days, Alaris shall be
   responsible for payment of all reasonable direct out-of-pocket expenses, if
   any, incurred by Caesarea in providing such additional assistance.

          15.    REGULATORY RESPONSIBILITY.

         (a) Alaris shall comply with all FDA and EU labeling requirements with
    respect to the NIKI Pump.

          (b) Caesarea shall (i) be responsible for complying with all applicable
    regulatory requirements relating to the manufacturing and design activities of
    Caesarea contemplated herein, including Good Manufacturing Practices and other
    requirements of the FDA and applicable US and EU regulatory agencies,
    including, without limitation, the European Medical Device Directives and EN
    46001 or EN 46002, as applicable; and (ii) use its best efforts to obtain, at
    its sole cost and expense, the CE mark for the Phase 1 NIKI Pump on or prior to
    September 1, 1998. In addition to the foregoing, Caesarea shall (i) submit to
    Good Manufacturing Practices audits by Alaris upon reasonable notice and (ii)
    provide Alaris with a written failure analysis and corrective action plan
    relating to all complaints regarding Caesarea or the NIKI Pump within 30
    Business Days of receiving documentation or samples.


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         (c) Alaris shall be responsible for obtaining, at its sole cost and
    expense, all other regulatory authorizations, approvals, permits and licenses
    (collectively, "Approvals") necessary to sell and distribute the NIKI Pump in
    the US, the EU and any other country in which it desires to sell the NIKI Pump,
    including, without limitation, FDA approval. Caesarea agrees that to the
    extent it currently has obtained or made any of such Approvals, it will assign
    them to Alaris at no cost to Alaris and cooperate with Alaris to permit Alaris
    to complete such assignment or otherwise obtain or complete such Approvals.

         (d) Alaris and Caesarea shall each notify the other in writing within one
    Business Day of their respective knowledge of a death involving the NIKI Pump
    and within three Business Days of their respective knowledge of the occurrence
    of any safety alert, significant customer complaint or any other event which
    would require the filing of a Medical Device Report.

         (e) Alaris and Caesarea shall each keep the other fully informed with
    respect to any information, inquiry or correspondence from any government
    agency or authority (a "Governmental Inquiry") relating to the investigation or
    review of the compliance of the NIKI Pump with applicable legal, health or
    safety requirements. Alaris and Caesarea shall each notify the other of its
    receipt of any Governmental Inquiry within three Business Days following the
    date of such receipt.

         16. QUALITY CONTROL. Caesarea shall comply with all applicable quality
    control standards and procedures of Alaris and those required by all applicable
    regulatory authorities. Upon reasonable prior notice, Caesarea shall permit
    Alaris to review periodically Caesarea's production and quality control
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   procedures and records and to visit Caesarea's facilities, at reasonable times
   with a representative of Caesarea present, in order to assure satisfaction of
   the requirements of this Section 16.

         17. PRODUCT WARRANTY. Caesarea warrants to Alaris that for a period
    commencing on the date of delivery to Alaris and ending on the eighteen (18)
    month anniversary of the date of first shipment to the end-user or customer
    (the "Warranty Period"), each NIKI Pump and each Manufacturing Assembly Kit
    will: (i) conform to the specifications set forth on Parts 1, 2 and 3 of
    Schedule 1(h) hereto and to the First, Second and Third Final Design, as
    applicable; (ii) be free from manufacturing defects; (iii) not be "adulterated"
   or "misbranded" as such terms are defined in the Act; and (iv) be in
   merchantable condition and fit and safe for its intended use. Subject to the
   provisions of Section 27 hereof, Caesarea's sole obligation under this product
   warranty shall be, at the option of Alaris, either to repair or replace, at
   Caesarea's sole cost and expense, or, if repair or replacement is not feasible
   or is not made by Caesarea, to refund the purchase price of, any NIKI Pump or
   Manufacturing Assembly Kit returned within the Warranty Period that Alaris
   reasonably determines fails to meet any of the conditions of (i), (ii),   (iii)
   or (iv) above. This warranty shall not apply to any NIKI Pump or Manufacturing
   Assembly Kit that has been damaged by accident or has been misused, abused,
   altered or repaired by anyone other than Caesarea or its representatives. In
   the case of a standard part supplied to Caesarea by a subcontractor engaged by
   Caesarea and approved by Alaris pursuant to the provisions of Section 12
   hereof, Caesarea shall grant to Alaris the benefit of any product warranty
   provided to Caesarea by such subcontractor and Caesarea will not bear any
   further liability  to Alaris for such part under this Section 17; provided, that
   Alaris shall


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  have first approved in writing the terms of the sub-contractor's product
  warranty for such part prior to the use thereof by Caesarea.

       18. SALES AND MARKETING. Caesarea acknowledges and agrees that Alaris
  will have the right to exploit the License, the NIKI Technology and the Assets
  and market and sell any product incorporating all or any portion of the same,
  upon such terms and in such manner as Alaris, in its sole and absolute
  discretion, shall determine; provided, that Alaris shall not promote the sale
  in the enteral market of any products utilizing the NIKI Technology.

       19. PRODUCT RECALL. In the event Alaris believes, in its sole and
  absolute discretion, that the NIKI Pump, the I.V. Value or any other product or
  device violates any provision of applicable law, should be recalled due to
  health or safety considerations or should otherwise be subject to alert or
  other appropriate treatment, Alaris shall have the sole authority to control
  all such actions and to determine the necessity for implementing any corrective
  action and the means of implementing the same. Caesarea shall cooperate fully
  with Alaris in effecting any recall or any other type of corrective action,
  including, without limitation, communications to or with any purchasers,
  customers or other users of such product or device.

       20. INSURANCE. Alaris and Caesarea each agree to obtain and keep in
  force, for a period of ten (10) years from the date hereof, from an insurance
  carrier satisfactory to the other party, product liability insurance in an
  amount of not less than $1,000,000. Each such insurance policy shall: (a) be
  endorsed to provide for written notification by the insurer to each of Alaris
  and Caesarea not less than 30 days prior to modification, expiration or
  cancellation thereof; (b) permit the other party to make payments to effect the
  continuation of such insurance coverage upon notice of cancellation due to
  nonpayment of premiums thereon; and (c) name the other party as an additional
  insured. A certificate of insurance evidencing compliance with this paragraph
  and referencing this Agreement shall be furnished to the other party on the
  date hereof.
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         21. REPRESENTATIONS AND WARRANTIES OF ALARIS.                        Alaris hereby represents
    and warrants to Caesarea that:

         (a) It is duly organized, validly existing and in good standing under the
    laws of the State of Delaware and has full corporate power and authority to own
    or hold under lease the assets and properties which it owns or holds under
    lease and to enter into this Agreement and perform its obligations hereunder.

          (b) The execution and delivery of this Agreement by it, the performance
    by it of its obligations hereunder and the consummation by it of the
    transactions contemplated hereby have been duly authorized by all necessary
    corporate action. When executed and delivered by it this Agreement shall
    constitute its valid and legally binding agreement enforceable against it in
    accordance with the terms hereof, except as may be limited by bankruptcy,
    insolvency or other laws affecting generally the enforceability of creditors'
    rights and by limitations of the availability of equitable remedies.


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         (c) Neither the execution and delivery of this Agreement nor the
    consummation of the transactions contemplated herein will violate any provision
    of the certificate of incorporation or by-laws of Alaris or any law, rule
    regulations, writ, judgment, injunction, decree, determination, award, or other
    order of any court, government or governmental agency or instrumentality,
    domestic or foreign, binding upon Alaris, or conflict with or result in any
    breach of or event of termination under any of the terms of, or constitute a
    default under or result in the termination of or the creation or imposition of
    any mortgage, deed of trust, pledge, lien, security interest or other charge or
    encumbrance of any nature pursuant to, the terms of any contract or agreement
    to which Alaris is a party or by which Alaris or any of its assets and
    properties is bound.

         22. REPRESENTATIONS AND WARRANTIES OF CAESAREA.                        Caesarea hereby
    represents and warrants to Alaris that:

         (a) It is duly organized, validly existing and in good standing under the
    laws of the State of Israel and has full corporate power and authority to own
    or hold under lease the assets and properties which it owns or holds under
    lease and to enter into this Agreement and perform its obligations hereunder.

          (b) The execution and delivery of this Agreement by it, the performance
    by it of its obligations hereunder and the consummation by it of the
    transactions contemplated hereby have been duly authorized by all necessary
    corporate action. When executed and delivered by it, this Agreement shall
    constitute its valid and legally binding agreement enforceable in accordance
    with the terms hereof, except as may be limited by bankruptcy, insolvency or
    other laws affecting generally the enforceability of creditors' rights and by
    limitations on the availability of equitable remedies.

         (c) Neither the execution and delivery of this Agreement nor the
    consummation of the transactions contemplated herein will violate any provision
    of the certificate of incorporation or by-laws of Caesarea or any law, rule,
    regulation, writ, judgment, injunction, decree, determination, award, or other
    order of any court, government or governmental agency or instrumentality,
    domestic or foreign, binding upon Caesarea, or conflict with or result in any
    breach of or event of termination under any of the terms of, or constitute a
    default under or result in the termination of or the creation or imposition of
    any mortgage, deed of trust, pledge, lien, security interest or other charge or
    encumbrance of any nature pursuant to, the terms of any contract or agreement
    to which Caesarea is a party or by which Caesarea or any of its assets and
    properties is bound.

           (d)    Except as set forth on Schedule 22(d) hereof and the Transfer
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    Agreement, Caesarea owns all right, title and interest in the Assets, the
    Documents, the NIKI Technology and all Improvements for all purposes, in each
    case on an unrestricted basis, free and clear of all liens, claims,
    restrictions, limitations and encumbrances.

        (e) There are no claims, disputes, actions, suits or proceedings,
   including, without limitation, suits for patent infringement, pending or, to
   the knowledge of Caesarea, threatened against or affecting the NIKI Technology,
   or the use thereof by Caesarea or Alaris. To the knowledge of Caesarea, after
   reasonable inquiry, neither the NIKI Technology, nor the use thereof


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   by Alaris under this Agreement, does or will infringe or conflict with any
   patents, patent applications, know-how, processes, trade secrets, techniques,
   procedures or other proprietary property rights or Intellectual Property, of or
   held by, any Person.

        (f)  The Assets are all of the tangible assets used by Caesarea and
   necessary to manufacture the NIKI Pump in its present form.

        (g) Except for the Existing Distribution Agreements, Caesarea is not a
   party to any distribution, license or transfer agreement with respect to the
   NIKI Technology.

          23.    NON-COMPETITION.

       (a) Caesarea agrees that for a period of seven (7) years following the
  date hereof, neither Caesarea, Swi Barak, nor any affiliate of either of them
  will (and Caesarea and Swi Barak agree not to and to cause all such Persons not
  to), directly or indirectly, either for itself or himself, or any other person,
  firm, partnership, corporation or other business venture, own, manage, operate,
  control, or participate in, permit its or his name, as the case may be, to be
  used by, consult with, be employed by, render services for or otherwise assist
  in any manner, any Person that is engaged in the research, acquisition,
  manufacture, promotion, sale or marketing of a volumetric infusion pump or
  technology related thereto having its primary application in the Field, other
  than for the purpose of performing the obligations of Caesarea under this
  Agreement. The parties acknowledge and agree that the development by Caesarea,
  Swi Barak, or any affiliate of either of them, of a valve, other than the I.V.
  Valve, or a syringe pump shall not be deemed a violation of this Section 23.

       (b) The parties hereto acknowledge that it is impossible to measure in
  money the damages that will accrue to Alaris in the event of the breach of any
  of the covenants in (a) above and, if Alaris shall institute any action or
  proceeding to enforce those covenants, Caesarea and Swi Barak hereby waive and
  agree not to assert the claim or defense that Alaris has an adequate remedy at
  law or for damages. The foregoing shall not prejudice Alaris' right to seek
  money damages from Caesarea or Swi Barak with respect to any such breach.

        (c) If the provisions of Section 23(a) are determined by any court of
  competent jurisdiction to be unenforceable by reason of its extending for too
  long a period of time or over too large a geographic area or by reason of its
  being too extensive in any other respect or for any other reason it will be
  interpreted to extend only over the longest period of time for which it may be
  enforceable and/or over the largest geographical area as to which it may be
  enforceable and/or to the maximum extent in all other aspects as to which it
  may be enforceable, all as determined by such court and in such court.

       24. TERMINATION OF EXISTING DISTRIBUTION AGREEMENTS. Caesarea shall, as
  promptly as practicable after execution of this Agreement, but in any event not
  later than November 30, 1998, terminate, in a manner reasonably satisfactory to
  Alaris, the Existing Distribution Agreements, other than its Existing
  Distribution Agreement with its Israeli distributor.  Upon the request of
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    Alaris at any time after December 31, 1998, Caesarea and Alaris shall cooperate
    in dealing with Caesarea's Israeli distributor and shall endeavor to reach an
    agreement, upon terms and conditions mutually


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    agreeable to Alaris and Caesarea, on the termination or renegotiation of the
    Existing Distribution Agreement with Caesarea's Israeli distributor. All costs
    associated with the termination or renegotiation of Caesarea's Existing
    Distribution Agreement shall be borne exclusively by Caesarea, and Alaris shall
    cooperate fully with Caesarea in effecting any such termination or
    renegotiation. In the event Caesarea fails to terminate or, in the case of
    Caesarea's Israeli distributor terminate or renegotiate to Alaris'
    satisfaction, the Existing Distribution Agreements, as provided for in this
    Section 24, Alaris shall only pay to Caesarea one-half of the Additional
    Payments until such time as Caesarea terminates or renegotiates to Alaris'
    satisfaction, as the case may be, the Existing Distribution Agreements. Upon
    termination, or renegotiation to Alaris' satisfaction, of such Existing
    Distribution Agreements, Alaris shall pay to Caesarea any Additional Payments
    required to have been made and not so made due to the failure of Caesarea to
    terminate or renegotiate such Existing Distribution Agreements.

         25. BANKRUPTCY OF CAESAREA. In the event of the Bankruptcy of Caesarea,
    or the impairment or interruption of Caesarea's business, Alaris shall be under
    no further obligation to make payments to Caesarea under this Agreement other
    than the payments provided for in Sections 6(d) and 10 hereof.

         26. DISTRIBUTION AGREEMENT. Following the date hereof Caesarea and
    Alaris shall enter into negotiations for a distribution agreement generally
    upon the terms set forth on Schedule 26 hereto and otherwise upon terms and
    conditions mutually agreeable to Alaris and Caesarea.

           27. INDEMNIFICATION.

         (a) Caesarea shall indemnify, defend and hold harmless Alaris, its
    directors, officers, employees, agents, and their respective legal
    representatives, successors and assigns (individually, an "Indemnified Party")
    from and against any and all direct or consequential damages, costs, expenses,
    losses, claims, demands, liabilities and/or obligations, including, without
    limitation, reasonable counsel fees (collectively, "Losses"), incurred by an
    Indemnified Party arising out of, resulting from or based upon: (i) any
    negligence or wilful misconduct of Caesarea or its affiliates; (ii) any product
    liability, warranty or other claims resulting from the sale, lease, license or
    use of the NIKI Pump to the extent caused by any defect in the design of the
    NIKI Pump, any defect in the manufacture of the NIKI Pump or Manufacturing
    Assembly Kits manufactured by or on behalf of Caesarea or any other defect,
    nonconformity or deficiency attributable to any action or activity by or on
    behalf of Caesarea; and (iii) any action or claim that the NIKI Technology or
    the use thereof infringes upon the rights, power or privileges of any Person,
    including, without limitation, any such claim brought against Alaris or any
    other Person as a result of the exercise of its rights under this Agreement.

         (b) Notwithstanding the provisions of subparagraph (a) above, Caesarea
    shall not be liable to indemnify an Indemnified Party for any Losses incurred
    by such Indemnified Party if such Losses arise out of, result from or are based
    upon the sale or use of the NIKI Technology or the NIKI Pump where the NIKI
    Technology or the NIKI Pump, as the case may be, has been modified by any
    Person other than Caesarea and such Losses arise out of or result from such
    modification.


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         (c) If the facts giving rise to any such indemnification pursuant to this
    Section 27 shall involve any actual claim or demand by any third party against
    an Indemnified Party (a "Third Party Claim"), Caesarea shall be entitled to
    written notice of and entitled (without prejudice to the right of any
    Indemnified Party to participate at its own cost and expense through counsel of
    its own choosing) to defend such Third Party Claim at its expense and through
    counsel of its own choosing (which counsel shall be reasonably satisfactory to
   the Indemnified Party); if it gives written notice (a "Defense Notice") of its
   intention to do so no later than the 15th day following receipt of such written
    notice; PROVIDED, HOWEVER, that if the defendants in any action shall include
   both Caesarea and an Indemnified Party and the Indemnified Party shall have
   been advised by its counsel that the counsel selected by Caesarea has a
   conflict of interest because of the availability of different or additional
   defenses to the Indemnified Party, the Indemnified Party shall have the right
   to select separate counsel to participate in the defense of such action on its
   behalf, at the expense of Caesarea. The failure of an Indemnified Party so to
   notify Caesarea shall not relieve Caesarea of any liability which it may have
   to any Indemnified Party except to the extent to which such liability may have
   been mitigated as a result of the timely receipt of such notice. The
   Indemnified Party shall cooperate fully in the defense of such Third Party
   Claim and shall make available to Caesarea pertinent information under its
   control relating thereto, but shall be entitled to be reimbursed, as provided
   in this Section 27, for all out-of-pocket costs and expenses payable to third
   parties incurred by it in connection therewith, including, without limitation,
   reasonable fees and disbursements of counsel. If Caesarea assumes the defense
   of any Third Party Claim, it will not, without the prior written consent of the
   Indemnified Party, which consent shall not be unreasonably withheld, settle or
   compromise any Third Party Claim, or permit a default or consent to the entry
   of a judgement in respect thereof.

        (d) If Caesarea elects to defend a Third Party Claim, an Indemnified
   Party shall have the right, notwithstanding the provisions of Section 27(a)
   hereof, to control, at its own cost and expense, the defense of any Third
   Party Claim with respect to such Indemnified Party and such costs and expenses
   shall not constitute Losses.

       (e) Caesarea shall reimburse an Indemnified Party for all Losses incurred
  by the Indemnified Party within 30 days of the Indemnified Party's demand
  therefor. In the event Caesarea fails to reimburse the Indemnified Party
  within such 30 day period, Caesarea shall pay to the Indemnified Party interest
  on such unpaid Losses, at the rate of nine (9%) per annum, from the date the
  Indemnified Party incurred such Loss through the date of payment by Caesarea.

       (f) In the event an Indemnified Party elects to defend a Third Party
  Claim, or if Alaris elects to initiate proceedings to enforce its rights in or
  with respect to the NIKI Technology, including, without limitation, as a result
  of any infringement thereof, Caesarea shall cooperate fully in the defense or
  prosecution thereof, as the case may be, including, without limitation, making
  available to Alaris or the Indemnified Party, as the case may be, all pertinent
  technical and other information under its control relating thereto and making
  appropriate employees officers of Caesarea available as witnesses for Alaris or
  the Indemnified Party. Alaris or the Indemnified Party, as the case may be,
  shall reimburse Caesarea for all out-of-pocket costs incurred by it in
  connection therewith except to the extent the same constitutes Losses subject
  to indemnity hereunder.


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       (g) Under no circumstances shall the total liability of Caesarea for any
  Losses arising out of, resulting from or based upon any claim under Section
  27(a)(iii) hereof exceed sixty (60%) percent of the aggregate amount of all
  payments received by Caesarea hereunder (excluding amounts received by Caesarea
  under Sections 8 and 11 hereof) and under the distribution agreement referred
  to in Section 26.
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           28     GENERAL.

          (a) CHOICE OF LAW. This Agreement and all purchase orders issued
    hereunder shall be governed and interpreted, and all rights and obligations of
    the parties hereunder shall be governed and determined in accordance with the
    laws of the State of Israel, without regard to its conflict of laws rules. The
    courts of Jerusalem, Israel shall have exclusive jurisdiction concerning any
    dispute relating to or arising out of this Agreement and Alaris and Caesarea
    hereby submit to the exclusive jurisdiction of such courts. In connection with
    any litigation hereunder, no party shall be required to deposit any security
    for costs, and each party hereby irrevocably waives any right that it might
    otherwise have to require declarations (or exhibits thereto) to be translated
    from English into Hebrew.

         (b) NOTICES. All notices, requests, demands, waivers, consents,
    approvals or other communications to any party hereunder shall be in writing
    and shall be deemed to have been duly given if delivered personally to such
    party or sent to such party by telegram or telex or by international overnight
    courier, as follows:


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           If   to Alaris:

                      Alaris Medical Systems, Inc.
                      10221 Wateridge Circle
                      San Diego, California 92121
                      Attention: John A. de Groot, Vice President and General Counsel
                      Telephone: (619) 458-7508
                      Facsimile: (619) 458-6217

           With a copy (which shall not constitute notice) to:

                      Gordon Altman Butowsky Weitzen Shalov & Wein
                      114 West 47th Street
                      New York, New York 10036
                      Attention: Keith L. Schaitkin, Esq.
                      Telephone: (212) 626-0838
                      Facsimile: (212) 626-0799

                      and

                      Yigal Arnon & Co.
                      3 Daniel Frisch Street
                      Tel Aviv, Israel 64731
                      Attention: David Osborne, Adv.
                      Telephone: 972-3-692-6868
                      Facsimile: 972-3-696-4770

           If   to Caesarea:

                      Caesarea Medical Electronics Limited
                      5 Rakefet Street
                      Caesarea, Israel 38900
                      Telephone: 972-6-326-131
                      Facsimile: 972-6-326-125

           With a copy (which shall not constitute notice) to:

                      Elchanan Landau Law Office
                      8 Keren Hayessod Street
                      Jerusalem, Israel 92101
                      Attention: Zvi Nixon, Adv.
  https://www.sec.gov/Archiv esledgarida ta/817161/0001047469-98-031228.txt                                                       71/76


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                      Telephone: 972-2-561-8845
                      Facsimile: 972-2-561-8847


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   or such other address as the addressee may have specified in notice duly given
   to the sender as provided herein. All notices and communications given
   hereunder shall be deemed received upon (i) actual receipt thereof by the
   addressee, (ii) actual delivery thereof to the appropriate address, or (iii) in
   the case of a facsimile transmission, upon transmission thereof by the sender
   and the issuance by the transmitting machine of a confirmation slip confirming
   that the number of pages constituting the notice have been transmitted without
   error. In the case of notices sent by facsimile transmission, the sender shall
   contemporaneously mail a copy of the notice to the addressee by international
   overnight courier service. However, such mailing shall in no way alter the
   time at which the notice sent by facsimile transmission is deemed received

        (c) ENGLISH LANGUAGE. If this Agreement is translated into any language,
   the English language version shall govern in the event of any conflict or
   question of construction or interpretation.

        (d) SEVERABILITY. In the event that any provision of this Agreement
   shall be found in any jurisdiction to be in violation of public policy or
   illegal or unenforceable in law or equity, such finding shall in no event
   invalidate any other provision of this Agreement in that jurisdiction, and this
   Agreement shall be deemed amended to the minimum extent required to comply with
   the law of such jurisdiction.

        (e) ENTIRE AGREEMENT. This Agreement and the other documents referred to
   herein state the entire agreement reached between the parties hereto with
   respect to the transactions contemplated hereby and may not be amended or
   modified except by written instrument duly executed by the parties hereto. Any
   and all previous agreements and understandings between the parties regarding
   the subject matter hereof, whether written or oral, including, without
   limitation, the Term Sheet dated March 11, 1998, between Alaris and Caesarea,
   are superseded by this Agreement.

       (f) NO WAIVER. The failure of either party hereto to enforce at any time
  or for any period of time, any provision of this Agreement shall not be
  construed as a waiver of such provision or of the right of such party
  thereafter to enforce each and every provision.

       (g) ASSIGNMENT, BINDING EFFECT. Caesarea shall not assign this Agreement
  nor any of its rights or obligations hereunder without the prior written
  consent of Alaris, which consent shall not be withheld unreasonably and any
  such attempted assignment without such consent shall be void. This Agreement
  and the rights herein granted shall be binding upon and shall inure to the
  benefit of Alaris and its successors, assigns and transferees.

       (h) INDEPENDENT CONTRACTOR. Each party shall act as the independent
  contractor of the other party. Neither party shall be the legal agent of the
  other for any purpose whatsoever and therefore has no right or authority to
  make or underwrite any promise, warranty or representation, to execute any
  contract or otherwise to assume any obligation or responsibility in the name of
  or in behalf of the other party, except to the extent hereafter specifically
  authorized in writing by the other party. None of the parties hereto shall be
  bound by or liable to any third persons for any act or for any obligation or
  debt incurred by the other toward such third party, except to the extent
  hereafter specifically agreed to in writing by the party so to be bound.


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         (1) HEADINGS. All section headings contained in this Agreement are for
    convenience of reference only, do not form a part of this Agreement and shall
    not affect in any way the meaning or interpretation of this Agreement.

         (j)  NUMBER AND GENDER. The definitions in this Agreement shall apply
    equally to both the singular and plural form of the terms defined. Whenever
    the context may require, any pronoun shall include the corresponding masculine,
    feminine and neuter form. The words "include," "includes," and "including"
    shall be deemed to be followed by the phrase "without limitation."

         (k) COUNTERPARTS. This Agreement may be executed in one or more
    counterparts, each of which when executed and delivered shall be deemed to be
    an original and all of which counterparts, when taken together, shall
    constitute one and the same instrument.

         (1) FURTHER ASSURANCES. The parties and Swi Barak shall, from time to
    time, execute all such documents and do all such things as any of the other
    parties hereto may reasonably require for perfecting the transactions intended
    to be effected under or pursuant to this Agreement.

         (m) SALES AND TRANSFER TAXES. Except as otherwise provided in Section 9
    hereof, all taxes, levies, impositions, deductions, charges, withholdings,
    premiums, custom duties and other governmental fees, like assessments or
    charges of any kind whatsoever including, without limitation, all transfer,
    documentary, sales, ad valorem, value added, use and other such taxes, any
    penalties, interest and additions to tax, imposed as a result of the
    transactions contemplated hereunder (including, without limitation, the Sale,
    the sale of the Assets, the payments provided in Sections 5, 6 and 10, and the
    purchases pursuant to Sections 8, 11 and 13) shall be borne by Caesarea (but
    excluding any taxes imposed on the net income of Alaris). Caesarea and Alaris
    shall cooperate in the timely making of all filings, returns, reports and forms
    as may be required in connection therewith.

         (n) OFFSET. Alaris shall have the right to offset against any amount
    otherwise payable by Alaris to Caesarea hereunder, any and all amounts payable
    by Caesarea to Alaris hereunder. Caesarea shall have the right to offset
    against any amount otherwise payable by Caesarea to Alaris hereunder, any and
    all amounts payable by Alaris to Caesarea hereunder.

          (o) FORCE MAJEURE. In no event will either party be liable for any
    delays or failure to perform hereunder when the same are caused, directly or
    indirectly by, or in any way arise as a result of, fire, floods, civil or
    military unrest, terrorist activities, acts of god, war, governmental
    interference, legal restrictions applicable in any relevant jurisdiction,
    embargoes, shortages of raw materials (including components, assembled parts,
    etc.) or labor, strikes (whether or not authorized by law). Any party
    experiencing such an event shall advise the other promptly, explaining the
    nature of the event and the anticipated duration.

         (p) CONFLICTING COMMERCIAL FORMS. The terms and conditions of this
    Agreement shall supersede and control over any conflicting or additional terms
    or conditions of any purchase orders,


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    acknowledgments, invoices or other commercial forms exchanged between the
    parties concerning the subject matter hereof.

         (q) PAYMENTS. All payments required to be made hereunder shall be in
    United States Dollars.

         (r)   LIMITATION OF LIABILITY. Caesarea shall not be liable to Alaris for
    any special, indirect or consequential damages arising out of this Agreement,
    its performance or termination.
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         IN WITNESS WHEREOF, the undersigned have executed this Agreement as of the
    day and year first above written


                                                           ALARIS MEDICAL SYSTEMS, INC.

                                                           By:

                                                                 Name:
                                                                 Title:


                                                           CAESAREA MEDICAL ELECTRONICS LIMITED

                                                           By:

                                                                 Name: Swi Barak
                                                                 Title: General Manager


   ACCEPTED AND AGREED TO
   (solely with respect to Sections
   3(a), 23 and 28(1) hereof)


   SWI BARAK


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                                    LIST OF SCHEDULE AND EXHIBITS

   EXHIBIT                DESCRIPTION

   A.                     Agreement with Nestec, S.A.
   B.                     Form of Standby Letter of Credit

   SCHEDULE               DESCRIPTION

  1(a)                    Calculation of Direct Costs
  1(b)                    Documents related to NIKI Technology
  1(c)                    Existing Distribution Agreements
  1(d)                    Existing Intellectual Property
  1(e)                    Description of I.V. Valve
  1(f)                    Manufacturing Assembly Kit specifications for Phase 1 NIKI Pump
  1(g)Part 1              Manufacturing Documentation Package - Phase 1 NIKI Pump
  1(g) Part 2             Manufacturing Documentation Package - Phase 2 NIKI Pump
  1(g) Part 3             Manufacturing Documentation Package - Phase 3 NIKI Pump
  1(h)                    Description of Peristaltic Pump
  1(i)Part 1              Specifications for Phase 1 NIKI Pump
  1(i) Part 2             Specifications for Phase 2 NIKI Pump
  1(i) Part 3             Specifications for Phase 3 NIKI Pump
  1(j)                    Description of Pump System with Error Detection
  1(k)                    Description of System and Method
  4                       List of Assets
  13                      Engineering Costs
  22                      Rights to Intellectual Property
  26                      Terms of Distribution Agreements


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  </TEXT>
  </DOCUMENT>
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    <TYP E> EX-10.1(B)
    <SEQUENCE>5
    <DESCRIPTION>EX-10.1(B)
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                                                                                               EXHIBIT 10.1(b)



    ALARIS Medical, Inc. hereby agrees to furnish to the Securities and Exchange
    Commission, upon its request, the schedules and exhibits to the Agreement
    dated May 7, 1998 among ALARIS Medical Systems, Inc. and Caesarea Medical
    Electronics Limited filed as Exhibit 10.1(a) to ALARIS Medical, Inc.'s Form
    10-Q dated August 11, 1998.

                                                                         ALARIS MEDICAL, INC.

                                                                         (REGISTRANT)




    Date:      August 11, 1998                                     By: /s/ DOUGLAS C. JEFFRIES

                                                                         Douglas C. Jeffries
                                                                         Vice President and Chief
                                                                           Financial Officer
    </TEXT>
    </DOCUMENT>
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    <TYPE>EX-27
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    <DESCRIPTION>EX-27
    <TEXT>

    <TABLE> <S> <C>

    <PAGE>
    <ARTICLE> 5
    <LEGEND>
    THIS SCHEDULE CONTAINS SUMMARY FINANCIAL INFORMATION EXTRACTED FROM THE
    CONDENSED CONSOLIDATED BALANCE SHEET AND CONDENSED CONSOLIDATED STATEMENT OF
    OPERATIONS AND IS QUALIFIED IN ITS ENTIRETY BY REFERENCE TO SUCH FINANCIAL
    STATEMENTS.
    </LEGEND>
    <CIK> 0000817161
    <NAME> ALARIS MEDICAL, INC.
    <MULTIPLIER> 1,000

    <S>                                           <C>
    <PERIOD-TYPE>                                 6-MOS
    <FISCAL-YEAR-END>                                             DEC-31-1997
    <PERIOD-START>                                                JAN-01-1998
    <PERIOD-END>                                                  JUN-30-1998
    <CASH>                                                              2,285
    <SECURITIES>                                                            0
    <RECEIVABLES>                                                      71,397
    <ALLOWANCES>                                                      (3,431)
    <INVENTORY>                                                        65,619
    <CURRENT-ASSETS>                                                  172,530
    <PP&E>                                                             98,554
    <DEPRECIATION>                                                   (41,861)
    <TOTAL-ASSETS>                                                    550,263
  https:l/www.sec.gov/Archiv esle dgar/da ta/817161/0001047469-98-031228.txt                                                        75/76



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4    7/23/2020                                        https://www.sec.gov/Archivesiedgaridata/617161/0001047469-98-031228.bd
       <CURRENT-LIABILITIES>                                               94,950
       <BONDS>                                                            417,277
       <PREFERRED-MANDATORY>                                                    0
       <PREFERRED>                                                              0
       <COMMON>                                                               591
       <OTHER-SE>                                                          29,411
       <TOTAL-LIABILITY-AND-EQUITY>                                       550,263
       <SALES>                                                            177,654
       <TOTAL-REVENUES>                                                   177,654
       <CGS>                                                               91,353
       <TOTAL-COSTS>                                                       91,353
       <OTHER-EXPENSES>                                                    68,155
       <LOSS-PROVISION>                                                       150
       <INTEREST-EXPENSE>                                                  21,795
       <INCOME-PRETAX>                                                    (2,111)
       <INCOME-TAX>                                                         (350)
       <INCOME-CONTINUING>                                                (1,761)
       <DISCONTINUED>                                                           0
       <EXTRAORDINARY>                                                          0
       <CHANGES>                                                                0
       <NET-INCOME>                                                       (1,761)
       <EPS-PRIMARY>                                                        (.03)
       <EPS-DILUTED>                                                        (.03)


       </TABLE>
       </TEXT>
       </DOCUMENT>
       </SEC-DOCUMENT>
            END PRIVACY-ENHANCED MESSAGE




    https:flwww.sec.gov/Archiv esiedga r/da ta/817161/0001047469-98-031228.txt                                                        76/76



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